Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 1 of 158 PageID #: 287




                                  Exhibit D.
                            Farm Bureau Claim File
(Page 1   of   2)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 2 of 158 PageID #: 288
                      Case 5:15-cr-50064-JLV Document 26 Filed 10/28/15 Page 1 of 2 PagelD #: 54



                                          UNITED STATES DISTRICT COURT
                                           DISTRICT OF SOUTH DAKOTA
                                                                                        FILED
                                                WESTERN DNISION                         OCT 28 2015

                     UNITED STATES OF AMERICA,               CR 15-50064
                                                                                       ~~
                                        Plaintiff,           FACTUAL BASIS STATEMENT
                          vs.

                     KARL JAKOB KNUTSON,

                                        Defendant.


                          The undersigned parties stipulate that the following facts are true and

                    establish a factual basis for the plea in the action pursuant to Federal Rules of

                    Criminal Procedure 1 l(b)(3):

                          On May 2, 2014, Karl Jakob Knutson submitted a signed CCC-852,

                    Livestock Indemnity Program application to the Meade County Farm Service

                    Agency office in Sturgis, South Dakota. The Farm Service Agency is an agency

                    of the United States Department of Agriculture, which is an agency of the

                    United States. In the application, Knutson claimed to have lost 129 head of

                    cattle due to the adverse weather conditions caused by winter storm Atlas in

                    October 2013.    The application sought disaster payment which, if paid, was

                    estimated by the Farm Services Agency to amount to $116,845. The Livestock

                    Indemnity Program and the disaster funds dispersible under the program are

                    matters material to the United States Department of Agriculture.

                          When asked to submit documentation in support of his CCC-852

                    application, Knutson submitted to the Farm Services Agency a handwritten



                                                                                                FB0223
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                      Case 5:15-cr-50064-JLV Document 26 Filed 10/28/15 Page 2 of 2 PagelD #: 55



                    invoice showing he had purchased 103 head of cattle from PN Ranch in

                    Broadus, Montana, in January of 2013. Knutson claimed many of these cattle

                    had died along with a number of their calves in the October 2013 storm. At the

                    time Knutson filed his CCC-852 application, he knew the claim was false,

                    fictitious and fraudulent, in that he had actually lost no more than 13 head of

                    cattle during the October 2013 storm.     Knutson also knew at the time he

                    provided the handwritten purchase invoice to the Farm Services Agency, that

                    the invoice was false, fictitious, and fraudulent, in that he had not purchased

                     103 head of cattle from PN Ranch in Broadus, Montana, in January of 2013.

                                                        RANDOLPH J. SEILER
                                                        Acting United States Attorney



                         1D-z::t-ZD1,
                     Date                               BE~ITE~
                                                        Assistant United States Attorney
                                                        515 9th Street #201
                                                        Rapid City, SD 57701
                                                        Telephone: (605)342-7822
                                                        Facsimile: (605)342-1108
                                                        E-Mail: Ben. Patterson@usdoj.gov




                    Date                                KARL JAKOB KNUTSON
                                                        Defendant




                    Date




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                     Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 4 of 158 PageID #: 290
                      Case 5:15-cr-50064-JLV Document 41 Filed 03/04/16 Page 1 of 6 PagelD #: 114




                                            UNITED STATES DISTRICT COURT

                      l1NITSD STATES OP AMBIUCA
                                  v.
                                                                             •Caso Number;       .StlSCl\50064--;J.
                                                                             USM NumlJet:        14431".:211


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                          Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 5 of 158 PageID #: 291
                               Case 5:15-cr-50064-JLV Document 41 Filed 03/04/16 Page 2 of 6 PagelD ~J~ent-Pagelof 6

      AO 245B            (Rev. 09/14) Judgment in Criminal Case
                         Sheet 2- Imprisonment


          DEFENDANT:                          Karl Jakob Knutson
          CASE NUMBER:                        5:15CR50064-1


                                                                               IMPRISONMENT

                ■            The defendat).t is hereby committed to the custody of the United States Bureau of Prisons,to be impdsoned for a
                          total t_erm of:     12 months.


                □            The Court makes the following recommendations to the Bureau of Prisons:




             ■            The defendant is remanded to the custody of the United States Marshal.

             □            The defendant shall surrender to the United States Marshal for this district:

                         □       by                               □     a.m.    □    p.m. _on
                                      --------
                         □       as notified by the United States Marshal.

             □               Or the defendant shall surrender for service of sentence at the insti~tion designated by the Bureau of Prisons:

                         □       before 2 p.m. on _ _ _ _ _ _ _ _ _ _ _ or as notified by the United States M!II'shal.

                         □       as notified by the Probation or Pretrial Services Office.

                                                                                    RETURN
          I have executed this Judgment as follows:




                         Defendant delivered on                                                         to

          at - - - - - - - - - - - - ~ -,with a certified copy of this Judgment.


                                                                                                                  UNITED STATES MARSHAL


                                                                                             By

                                                                                                              DEPUTY UNITED STATES MARSHAL




                                                                                                                                               FB0226
(Page 3    of      6)

                        Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 6 of 158 PageID #: 292
                            Case 5:15-cr-50064-JLV Document 41 Filed 03/04/16 Page 3 of 6 PagelD #.li·ucigment
                                                                                                       116 - Page 3 of 6

      AO 245B           (Rev. 09/14) Judgment in a Criminal Case
                        Sheet 3 - Supervised Release

          DEFENDANT:                        Karl Jakob Knutson
          CASE NUMBER:                      5:1SCR50064-1
                                                                   SUPERVISED RELEASE
          Upon release from imprisonment. the defendant shall be on supervised release for a term of:            3 years.·

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
          custody of the Bureau of Prisons.
          The defendant shall not commit another federal, state, or local crime.
          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from ·any unlawful use of a controlled
          substance. The defendant shall submit io one drug test within 15 days of release from imprisonment and at least two periodic drug tests
          thereafter, as detennined by the Court.
                   The above drug testing condition is suspended based on the Court's determination the defendant poses a low risk of
          ■        future substance abuse. (Check, if applicable.)
          ■        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)

          ■        The defendant shall cooperate in the collection of DNA as required by statnte. (Check, if applicable.)

                   The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act as required by statute.
          □        (Check, ifapplicable.)


          □       The defendant shall participate in an approved program for domestic violence. (Check, Ifapplicable.) .
          If this Judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
          of Payments sheet of this Judgment.
          The defendant must comply with the standard conditions that have been adopted by this Court, as well as with any additional conditions
          on the attached page.
                                                      STANDARD CONDITIONS OF SUPERVISION
              1)    the defendant shall not leave the judicial district without the permission of the Court or probation officer;
            2)      the defendant shall report to the probation officer in a manner and frequency directed by the Court or probation officer;
            3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
            4)      the defendant shall support his or her dependents and meet other family responsibilities;
            5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                    acceptable reasons;
            6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
            7)      the defendant shall refrain from excessive use of alcohol and shall n_ot purchase, possess, use, distribute, or administer any
                    controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
            8)      the defendant shall not frequent places wh~re controlled substances are illegally sold, used, distributed, or administered;
            9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
                    a felony, unless granted permission to do so by the probation officer;
           10)      the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
                    any contraband observed in plain view of the probation officer;                                "
           11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
                    officer;
           12)      the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
                    permission ofthe Court; and
           13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be: occasioned by the defendant's
                    criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
                    confrrm the defendant's compliance with such notification requirement.
                                                                                                                                          FB0227
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                      Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 7 of 158 PageID #: 293
                        Case 5:15-cr-50064-JLV Document 41 Filed 03/04/16 Page 4 of 6 PagelD #; 117 t P                             f
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          AO 245B      (Rev. 09/14)Judgment in a Criminal Case
                       Conditions of Supervision


          DEFENDANT:                   Karl Jakob Knutson
          CASE NUMBER:                 5:15CR50064-l

                                                  SPECIAL CONDITIONS OF SUPERVISION

                1. The defendant shall participate in and complete a cognitive behavioral training program as directed by the
                   probation office.

                2. The defendant shall provide the probation office with access to any requested·financial information.

                3. The defendant shall apply all monies received from income tax refunds, lottery winnings.judgments, and/or
                   any other anticipated cir unexpected financial gains to the outstanding court-ordered financial obligation.

                4. The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
                   probation office unless the defendant is·in compliance with any payment schedule established.




                                                                                                                      FB0228
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                      Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 8 of 158 PageID #: 294
                         Case 5:15-cr-50064-JLV Document 41 Filed 03/04/16 Page 5 of 6 Page ID ~JJJ3ent-Page 5 of 6

      AO 245B         (Rev. 09/14) Judgment in a Criminal Case
                      Sheet S- Criminal Monetary Penalties

          DEFENDANT:                            Karl Jakob Knutson
          CASE NUMBER:                          5:lSCRS0064-l

                                                            CRIMINAL MONETARY PENALTIES
                The defendant must pay the total criminal monetary penalties under the Schedule of Payments ori Sheet 6.

                                   Assessment                        Fine                                           Restitution
          TOTALS
                                   $100                              $7,380.04                                      None


          □       The detennination of restitution is,deferred until
                  An Amended Judgment in a Criminal Case (.40 245C) will be entered after such determination.


          □       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                  If the defendant makes a partial payment, each payee shall. receive an approximately proportioned payment, unless specified
          □       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                  victims must be paid before the United States is paid.

          Name of Payee                                                        Total Loss*              Restitution Ordered        Priority or Percentage




          TOTAIS                                                      $ _ _ _ _ __                   $ _ _ _ _ _ _ _ __


          □       Restitution amount or~ered pursuant to Plea Agreement $
                                                                                    ---------
          □       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
                  fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
                  to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          ■       The Court detennined that the defendant do~s not have the ability to pay interest and it is ordered that:

                  ■        the interest requirement is waived for the       ■       fine      □      restitution.

                  □        the interest requirement for the      □      fine        □        restitution is modified·as follows:

          •· Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on or
          after September 13, 1994, but before April 23, 1996.


                                                                                                                                        FB0229
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                            Case 5:15-cr-50064-JLV Document 41 Filed 03/04/16 Page 6 of 6 PagelD #.Ji· 119 t P                                                        f
                                                                                                                                                     ucigmen - age 6 o 6

      A0245B            (Rev. 09/14) Judgment in a Criminal Cose
                        Sheet S - Schedule of Payments

          DEFENDANT:                             Karl Jakob Knutson
          CASE NUMBER:                           5:15CR50064-1


                                                                        SCHEDULE OF PAYMENTS
          Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

          A        ■     Lump sum payment of$ 100                              due immediately, balance due

                        □       not later than                                      , or

                        ■       in accordance with        □        C,   □      D,      ■      E, or      □     F below; or

          B        D     Payment to begin immediately (may be combined with                   D     C,        □   .D, or     □       F below); or

          C              PaY1,Dent in equal                         (e.g., weekly, monthly, quarterly) installments of $
                   □                          -----
                         to commence                                                  (e.g., 30 or 60 days) after the date of this Judgment; or

          D              Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $
                   □                          -----
                         to commence                                                  (e.g., 30 or 60 days)   after release from imprisonment to a
                         term of supervision; or
                         Payment of the total fine and other criminal monetary penalties shall be due in regular quarterly installments of 50% of the deposits
          E        ■     in the defendant's imp.ate trust account while the defendant is in custody, or 10% ofthe defendant's inmate trust account while
                         serving custody at a Residential Reentry Center. Any portion of the monetary obligation(s) not paid in full prior to the defendant's
                         release from custody shall be due in monthly installments of$200, ~uch payments to begin 60 days following the defendant's
                         release.

          F        □     Special instructions regarding the payment of criminal monetary penalties:




          Unless the Court has expressly ordered otherwise, if this Judgment imposes imprisonm~nt, payment of criminal monetary penalties is due
          during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
          Financial Responsibility Program, are made to the Clerk of the Court.
                                                                                                                                 .          .
          The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

          □        Joint and Several
                   Defendant and Co-Defendan,t Names and Case Numbers (including defendant number), Total Amount, Joint and Several ft,.mount,
                   and corresponding payee, if appropriate.

          D        The defendant shall pay the cost of prosecution.
          D        The defendant shall pay the following court cost(s):
          D        The defendant shall forfeit the defendant's interest in the following property to the United States:


          Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
          (5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

                                                                                                                                                       FB0230
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                                             UNITED STATES DISTRICT COURT
                                              DISTRICT OF SOUTH DAKOTA
                                                   WESTERN DIVISION                   flt.ED
                                                                                       oc111 im5

                                                                                       ~~
                      UNITED STATES OF AMERICA,               CR 15-50064

                                           Plaintiff,         PLEA AGREEMENT

                            vs.

                      KARL JAKOB KNUTSON,

                                           Defendant.


                           The Defendant, the Defendant's attorney, and the United States Attorney

                     for the District of South Dakota hereby submit the following Plea Agreement to

                     the United States District Court, which Agreement was reached pursuant to

                     discussions between the United States Attorney and the Defendant's attorney.

                     The Agreement is as follows:

                           A.     ACKNOWLEDGMENT          AND     WAIVER      OF    RIGHTS      AND

                     UNDERSTANDING OF MAXIMUM PENALTIES: The Defendant agrees that he

                     has been fully advised of his statutory and constitutional rights herein, and


II                   that he has been informed of the charges and allegations against him and the

                     penalty therefor, and that he understands same. The Defendant further agrees

                     that he understands that by entering a plea of guilty as set forth hereafter, he

                     will be waiving certain statutory and constitutional rights to which he is

                     otherwise entitled.

                            B.    PLEA AGREEMENT PROCEDURE - NO RIGHT TO WITHDRAW

                     PLEA IF COURT REJECTS RECOMMENDATION: The United States and the


                                                                                                FB0231
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                       Case 5:15-cr-50064-JLV Document 24 Filed 10/28/15 Page 2 of 8 PagelD #: 43



                     Defendant agree that this Plea Agreement is presented to the Court pursuant to

                     Rules 1 l(c)(l)(A) and (B) of the Federal Rules of Criminal Procedure, which,

                     among other things, authorize the United States to move for dismissal of other

                     charges and to make recommendations or agree not to oppose the Defendant's

                     request for a particular sentence. Such agreements and recommendations are

                     not binding on the Court, and the Defendant may not withdraw his plea of

                     guilty if the Court rejects them.

                           C.     PLEA OF GUILTY TO CHARGE AND DISMISSAL OF OTHER



I                    CHARGE: The Defendant will plead guilty to Count I of the Indictment filed in

                     this case which charges False Claim, a violation of 18 U.S.C. § 287. The charge

I
1
                     carries a maximum sentence of 5 years in prison, a $250,000 fine, or both, and



I
                     a period of supervised release of 3 years.    If the Defendant is found by a

                     preponderance of evidence to have violated a condition of supervised release,

                     he may be incarcerated for an additional term of up to 2 years on any such

                     revocation. There is also a $100 assessment to the victims' assistance fund.

                     Restitution may also be ordered.

                           Upon acceptance of the plea by the Court and the imposition of sentence,

                     this section shall be treated as a motion to dismiss the remaining count in the

                     Indictment as it pertains to the Defendant pursuant to the terms of this plea

                     agreement.

                           D.     VIOLATION OF TERMS AND CONDITIONS:                The Defendant

                     acknowledges and understands that if he violates the terms of this plea

                     agreement, engages in any further criminal activity, or fails to appear for


                                                           2
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                     sentencing, this plea agreement shall become voidable at the discretion of the

                     United States and the Defendant will face the following consequences:

                           (1)   All testimony and other information the Defendant has provided at

                     any time to attorneys, employees, or law enforcement officers of the United

                     States, to the Court, or to the federal grand jury may and will be used against

                     him in any prosecution or proceeding.

                           (2)   The United States will be entitled to reinstate previously dismissed

                     charges and/ or pursue additional charges against the Defendant, and to use


I                    any information obtained directly or indirectly from him in those additional

                     prosecutions.


I                          (3)   The   United States will        be   released     from   any obligations,

                     agreements, or restrictions imposed upon it under this plea agreement.

                           E.    ACCEPTANCE OF RESPONSIBILITY:                   The United States agrees

                     that based upon the information known to it at this time, the Defendant is

                     entitled to a two-level decrease in his offense level pursuant to U.S.S.G.

                     § 3El.l(a), provided no evidence is disclosed in the presentence report which
l
lI
                     indicates the Defendant has not demonstrated a recognition and affirmative

                     acceptance of personal responsibility for his criminal conduct, and further

                     provided he: (1) complies with the terms of this plea agreement; (2) testifies
i                    truthfully during the change of plea hearing; (3) participates truthfully with the

                     Probation Office in the presentence investigation; (4) does not violate any

                     conditions of pretrial detention or release after he signs this agreement; and (5)

                     continues to exhibit conduct consistent with acceptance of responsibility. Both


                                                             3
                                                                                                     FB0233
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                     the United States and the Defendant otherwise reserve the right to present

                     evidence and make argument regarding sentencing.

                           F.       TIMELY ACCEPTANCE OF RESPONSIBILITY: The United States

                     agrees that the Defendant has timely notified authorities of his intention to

                     enter a plea of guilty thereby permitting the United States and the Court to

                     allocate their resources efficiently. Therefore, if the offense level determined

                     prior to the operation of U.S.S.G. § 3El.l(a) is level 16 or greater and the

                     Defendant qualifies for a two-level decrease under U.S.S.G. § 3El.l(a), this

                     provision shall be treated at the sentencing hearing as a motion pursuant to

                     U.S.S.G. § 3El. l(b) to decrease the offense level by one additional level.

                           G.       GOVERNMENT'S RECOMMENDATION REGARDING SENTENCE

                     - PROBATION: With respect to sentencing, the United States agrees that it

                     will recommend that the Court place the Defendant on probation for such

                     period and upon such terms and conditions as the Court deems best.              The

                     United States may also recommend, to the extent that any presentence

                     investigation report herein might deem appropriate, that the Court order the

                     Defendant to make restitution for losses occasioned to the United States

                     Department of Agriculture,       Food    Distribution   Program on an         Indian

                     Reservation.    The United States reserves the right to present evidence and

                     arguments in support of its position or to rebut or clarify matters raised by the

                     Defendant in mitigation of his sentence. The Defendant understands that he

                     may not withdraw his plea of guilty if the Court rejects any recommendation.




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I                      Case 5:15-cr-50064-JLV Document 24 Filed 10/28/15 Page 5 of 8 PagelD #: 46

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I
I
                          H.    SPECIAL ASSESSMENT:              The Defendant agrees to remit to the


Ii                  U.S. Clerk of Court, 515 9th Street, Rapid City, SD 57701, no later than two

                    weeks prior to sentencing, a certified or cashier's check payable to the "U.S.



I                   Clerk of Court" in the amount of $100, in full satisfaction of the statutory costs

                    pursuant to 18 U.S.C. § 3013.

                          I.    RESTITUTION - AGREEMENT TO PAY:                The Defendant hereby

                    agrees to pay full restitution as ordered by the Court pursuant to 18 U.S.C.



I                   § 3663 and 3663A.

                          J.    FINE - AGREEMENT TO PAY:              The Defendant hereby agrees to

                    pay a fine in the amount of $7,380.04.

                          K.    MONETARY OBLIGATIONS - DEFENDANT'S ONGOING DUTY:

                    If the Defendant does not have sufficient financial resources to immediately

                    satisfy the financial obligations imposed upon him at sentencing the Defendant

                    agrees, if requested by the United States, to promptly execute and return an

                    executed Authorization to Release Financial Records and Documents, an

                    executed Authorization to Release Tax Returns and Attachments and an
)
                    executed Financial Statement.     The Defendant understands that this is an
t
                    ongoing duty which continues until such time as payment is remitted in full.

                    Also the Defendant may be required to furnish the requested information, as

                    well as current earnings statements and copies of his W-2s even if the request

                    is made after he has been sentenced.




                                                             5                                   FB0235
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I                   Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 15 of 158 PageID #: 301
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I
                           The Defendant agrees to assist the United States in identifying, locating,

                     returning, and transferring assets for use in payment of any financial

                     obligations imposed as part of the sentence in this case.

                           The Defendant also agrees that if he is incarcerated, he will participate in

                     the Bureau of Prison's Inmate Financial Responsibility Program during any

                     period of incarceration in order to pay any financial obligations ordered by the

                     Court.     The Defendant's agreement to participate in the Inmate Financial

                     Responsibility Program does not limit the United States' right to pursue

                     collection from other available sources. If there is no period of incarceration

                     ordered, the Defendant agrees that payment of any financial obligations

                     ordered by the Court shall be a condition of probation.

                           L.     RESERVING THE RIGHT TO REBUT OR CLARIFY MITIGATION

                     INFORMATION:        The United States reserves the right to rebut or clarify

                     matters set forth in the presentence investigation report, or raised by the

                     Defendant in mitigation of his sentence, with evidence and argument.

                           M.     BASIS FOR PLEA OF GUILTY:           The Defendant agrees that the

                     statement of facts, signed by the parties and incorporated herein by this

                     reference, provides the basis for his guilty plea in this case, and is a true and

                     accurate statement of his actions or omissions with regard to the charges to

                     which he is entering a plea, and that the Court may rely thereon in determining

                     the basis for his plea of guilty as provided for in this plea agreement.

                           N.     WAIVER OF SPEEDY TRIAL: The Defendant agrees to waive any

                     rights to a speedy trial under either the United States constitution or the


                                                              6
                                                                                                  FB0236
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                     Speedy Trial Act.   This waiver is necessary so that the Court will have the

                     benefit of all relevant information at sentencing.

                           0.    PARTIES BOUND: It is further understood and agreed that this

                     agreement is limited to the United States Attorney's Office for the District of

                     South Dakota, and that this agreement cannot and does not bind other federal,

                     state, or local prosecuting authorities.

                           P.    SCOPE OF AGREEMENT:                This agreement shall include any

                     attachments, exhibits or supplements designated by the parties. It is further

                     understood and agreed that no additional promises, agreements, or conditions

                     have been entered into other than those set forth in this agreement, and this

                     agreement supersedes any earlier or other understanding or agreement.

                           Q.    WAIVER OF DEFENSES AND APPEAL RIGHTS:                The Defendant

                     hereby waives all defenses and his right to appeal any non-jurisdictional

                     issues. The parties agree that excluded from this waiver is the Defendant's

                     right to appeal any decision by the Court to depart upward pursuant to the

                     sentencing guidelines as well as the length of his sentence for a determination

                     of its substantive reasonableness should the Court impose an upward

                     departure or an upward variance pursuant to 18 U.S.C. § 3553(a).

                                          SUPPLEMENT TO PLEA AGREEMENT

                           The United States will file a Supplement to Plea Agreement which is

                     required to be filed in every case in compliance with the Court's Standing

                     Order.




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                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 17 of 158 PageID #: 303
                       Case 5:15-cr-50064-JLV Document 24 Filed 10/28/15 Page 8 of 8 PagelD #: 49



                                                           RANDOLPH J. SEILER
                                                           Acting United States Att rney



                     Date
                                                           Assistant United States Attorney
                                                           515 9th Street #201
                                                           Rapid City, SD 57701
                                                           Telephone: (605)342-7822
                                                           Facsimile: (605)342-1108
                                                           E-Mail: Ben.Patterson@usdoj.gov

                     APPROVED:
                     RANDOLPH J. SEILER


                     ~~y
                     G~
                     Supervisory Assistant U.S. Attorney



                     Date    \                             Karl Jakob Knutson
                                                           Defendant



                     Date\       \




                                                             8
                                                                                               FB0238
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                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 18 of 158 PageID #: 304
                      case 5:15-cr-50064. LV Document45 Filed 03/23/16 Pagl 1 of 1 PagelD #: 133



                                         court Name: District of South Dakota
                                         D1v1s1oo: 5
                                         Receipt Number: SD)(500004380
                                         Cashier IO: kklein
                                         Transaction Date: 03/23/2016
                                         Payer Name: Knutson Irrigation Service Inc
                                         ------------~--------
                                         CRIMINAL DEBT
                                          For: Karl Jakob Knutson
                                          Case/Party: D-SOX-5-15--CR-050064-001
                                          Amount:        $7,300.04
                                         --------------
                                         PAPER CHECK CONVERSION
                                          Check/Money Order Num: 16349
                                          Amt Tendered: $7,380.04
                                         Total Due:      $7,380.04
                                         Total Tendered: $7,380.04
                                         Change Amt:     $0.00
                                         USA v. Knutson; 15-50064




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                                                                                      ••




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(Page 1   of   6)

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                       Case 5:15-~r-50064-JLY Document 38 Filed 02/26/16 Page 1 of 6 PagelD #: 103




                                                   UNITED STATES DISTRICT COURT
                                                                                                        FILED
                                                                                                        FEB _ 2 6 2016

                                                                                                        ~~
                                                 FOR THE DISTRICT OF SOUTH DAKOTA

                                                           WESTERN DIVISION


                     UNITED STATES OF AMERICA,                                        CR 15-50064

                                    Plaintiff,                               VARIANCE MOTION AND
                                                                                                 '
                                                                            SENTENCING MEMORANDUM
                     vs.

                     KARL JAKOB KNUTSON,

                                    Defendant.


                            Karl Knutson urges the court to give him a sentence of probation that substitutes a fine of

                     $7,380.04 for a period of incarceration and contains other terms and conditions geared towards

                     helping him transition into a new career, and productive, law abiding lifestyle.

                            Karl made a huge error in judgment following winter storm Atlas caught up in his father's

                    . and surrounding ranchers' cattle loses resulting from the storm. Both relatives and friends were

                     submitting claims for lost animals through a government program and Karl wrongfully submitted

                     a claim for animals he could not prove belonged to him or were lost in the storm. However, as

                     the claim was processed, circumstances surrounding his situation lead to an investigation into the

                     propriety of his claim. When investigators came and spoke with him about the claim, he

                     provided an interview with them and then promptly withdrew all of his claim paperwork to stop

                     the processing of the same before any amounts were paid.

                            Ultimately, as this matter was prosecuted, Knutson accepted full responsibility for his

                     actions beginning with his guilty plea. Knutson also negotiated an agreement with the

                     government, if the court chooses to accept it, that would provide a fine equal to the amount of



                                                                                                                      FB0240
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                      Case 5:15-cr-50064-JLV Document 38 Filed 02/26/16 Page 2 of 6 PagelD #: 104




                    money it cost to investigate his false claim. As no money was paid under the claim there is no

                    restitution to pay. However, Knutson felt it appropriate and necessary that he fully "pay back"

                    the government for the consequences of his actions and urges the court to accept this joint

                    recommendation as part of the sentence in this case.

                                                                  FACTS

                    A.      Offense Related Facts.

                            The relevant facts of this offense are set forth in the PSR and statement of factual basis.

                    The offense is Knutson's first felony offense and no monetary loss occurred as a result of his

                    conduct. He ultimately accepted full responsibility for his actions and corrected the false claim

                    during the investigation.

                    B.       General Facts about Defendant.

                            As the information in the PSR indicates, Karl Knutson is a young man, just 28 years old.

                    He and his fiance are hard working, ranch raised individuals just starting a life together with

                    plans for a family and work in the area in which they were raised. Karl's only criminal history,

                    beyond minor tickets which do not result in criminal history score, consists of two DUI charges,

                    one of which occurred before he was 21.

                            Knutson grew up in a ranching family and has worked in and around that industry all his

                    life. He has skills in ranch management, mechanics, truck driving, equipment operation, and

                    livestock handling all of which he intends to use to ultimately operate a family ranch property for

                    he and his family. He and his fiance recently relocated to western North Dakota where they are



                    U.S.A. v. Karl Knutson
                    CR 14-50118
                    Variance Motion and Sentencing Memorandum
                    February 26, 2016
                    Page2


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                      Case 5:15-cr-50064-JLV Document 38 Filed 02/26/16 Page 3 of 6 Page ID#:




                    living and working on Karl's father-in-law's ranch. Karl is also working a second job in a nearby

                    community.

                                                  ARGUMENT AND AUTHORITIES

                           Section 3553(a) requires courts to "impose a sentence sufficient, but not greater than

                    necessary. to comply with the purposes set forth in paragraph (2)." (Emphasis added.) Section

                    3553(a)(2) states that such purposes are: (A) to reflect the seriousness of the offense, to promote

                    respect for the law, and to provide just punishment for the offense; (B) to afford adequate

                    deterrence, (C) to protect the public from further crimes of the defendant; and (D) to provide the

                    defendant with needed educational or vocational training, medical care, or other correctional

                    treatment in the most effective manner. This is the "primary directive" of the sentencing statute.

                    United States v. Ranum, 353 F. Supp. 2d 984, 985 (E.D. Wis. 2005).

                           Section 3553(a) further directs sentencing courts to consider (1) the nature and

                    circumstances of the offense and the history and characteristics of the defendant; (2) the kinds of

                    sentences available; (3) the sentencing range established by the guidelines; (4) any pertinent

                    policy statement issued by the Sentencing Commission; (5) the need to avoid unwarranted

                    sentencing disparities among defendants with similar records who have been found guilty of

                    similar conduct; and (6) the need to provide restitution to any victims of the offense.

                           In this case, the relevant factors should result in the court providing a sentence of

                    probation and apply in the following manner. First, the nature and circumstances of the offense

                    are detailed in the PSR. Karl made a serious lapse in judgment when he submitted a false claim

                    but later had the good sense to admit to his conduct and withdraw the claim prior to any actual

                    U.S.A. v. Karl Knutson
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                    February 26, 2016
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                      Case 5:15-cr-50064-JLV Document 38 Filed 02/26/16 Page 4 of 6 PagelD #: 106




                    loss being incurred by the government program. Further, he agrees to repay the costs of

                    investigation necessitated by his actions.

                            Providing a sentence as requested with structured probation is sufficient to reflect the

                    seriousness of the crime, provide just punishment, afford adequate deterrence, and protect the

                    public. Karl has limited need for rehabilitative programs, current employment and a work

                    history, and a supportive family. He can be punished for his conduct by having probation

                    restrictions imposed upon him and paying a monetary fine, but can at the same time, move

                    forward with establishing a productive life with his family and accomplishing the goals he has set

                    for himself.

                            Given the Supreme court's decision in Gall, the kinds of sentences available to the court

                    are limited by only the statutory maximum. The court is not bound by any statutory minimum

                    sentence. The court has the ability, pursuant to§ 3553(a), to provide any sentence the court

                    deems appropriate that combines incarceration, supervision, community correction, treatment,

                    etc. The court must simply reach a reasonable sentence based upon all of the§ 3553(a) factors.

                            Although his advisory guideline range as set forth in the PSR is 12 to 18 months,

                    incarceration would serve no purpose in this case and is not being requested by the government.

                    Knutson is eligible for probation and a sentence of that nature is sufficient but not greater than

                    necessary to provide just punishment. The§ 3553(a) factors fall completely in line with a

                    probationary sentence and one below the guideline recommendation. Also, a sentence as

                    requested above would not create any unwarranted sentence disparity in this case as Knutson has



                    U.S.A. v. Karl Knutson
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                    · Variance Motion and Sentencing Memorandum
                    February 26, 2016
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                    minimal criminal history, is a first time felony offender, and caused no financial loss during

                    commission of his offense.

                                                                CONCLUSION

                           Karl Knutson requests that the court provide him a sentence of24 months probation on

                    terms and conditions determined appropriate by the court that include a fine as set forth by the

                    parties in the plea agreement. For all of the reasons set forth herein above, a sentence of that

                    nature is reasonable. Knutson poses a low future risk to the community, is remorseful for his

                    actions, and has history and characteristics about him that indicate he will likely never be

                    engaged in this or other type of serious criminal conduct again. The court can fashion a sentence

                    below the guidelines which would still promote the goals of sentencing, be consistent with the

                    factors set forth in 18 U.S.C. §3553(a), follow the parties' joint recommendation and will result

                    in a sentence "sufficient but not greater than necessary" to achieve the statutory purposes of

                    punishment.




                    U.S.A. v. Karl Knutson
                    CR 14-50118
                    Variance Motion and Sentencing Memorandum
                    February 26, 2016
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                      Case 5:15-cr-50064-JLV Document 38 Filed 02/26/16 Page 6 of 6 PagelD #: 108




                            Dated this 26th dayofFebmazy, 2016.

                                                           ~tfidly.submitted,

                                                           NEILFULTON
                                                           F:..~-ai Public Defendet
                                                            ~· ...........      ··. .
                                                           By:


                                                           Gary u. lbath, .,         ·sumt. Federal Public Defender
                                                           Attorney raro e
                                                           Offlee ofthe Fe           lic.Deftmder
                                                           Distticts ofSouth.Dakow.and Norin Dakota
                                                           703 Main~ Second Floor
                                                           bpid·City,.SD 51701
                                                           Telephone; (RJS..343-51 to; Facsimilt! 6()5.,343-1493,
                                                           tilin~_SDND@fd.ora:




                    fJ~ ~ Karl lw$o,r.
                    ca 14-101 ta
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                    Page6


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                                                             LAW OFFICES

                                     Lynn, Jackson, Shultz & Lebrun,P.c.
                                   LAWYERS Also ADMITTED 1N M1NNFASOTA, Iow1\, NoRTH DAKOTA AND WYOMING
                                                                 www.lynnjack.son.com                        1JON. lv!lNNESOTA   AVENUB
     909 ST. JOSEPH STREET                                                                                                    SUJTE400
     SurrE.800                                                     Memher uf Lex Mun.di                                  P.O, Box 2700
     P.O. Box 8250                                  A G!r,bl/[ Association of 125 lnde/iendrnt Law Firm,   S!DUK FAU,s, SD 5 il01-2700
     RAPID CITY, SD 57709,8250                                                                                            605-312-5999
     605-.342-2592
     l'AX 605-342,5185
                                                   REPLY TO: Rapid City 605-342-2592                                 FAX 605-33l,4249

                                                                                                           135 E. COLORADO BoUUNARD
                                                 From the offices of Thomtts G. Fritz                        SPF.ARrlsH, SD .57783-27 55
                                                                                                                            605- 722-9000
                                                   e-mail address: ifritz@lynnjack8on.com                             l-1AX 605, 722-9001
                                                   Sender's Direct Line -- 605-791-6497

                                                            January 5, 2017

           VIA E-MAI L (dan@abourezk.com)

           Mr, Daniel E. Ilollow ay
           Aboure zk J,aw Firm, PC
           2020 W. Omaha Street
           PO Box 9460
           Rapid City, SD 57709- 9460

           Re:         Gregers on v. Fann Bureau
                       Our File No. 930033-00071

           Dear Dan:
                                                                                                     and let us
               This is to follow up on my letter of Decemb er 29, 2016. Again, please give me a call
               see if we can get this matter resolved.

               Sincere ly yours,

               LYNN, JACKS ON, SHULT Z & LEBRU N, P,C.
                     e--·
                     ~
               Thoma s G. Fritz

               TGF:fjs




                                                                                                                       FB0248
(Page 1   of   2)

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                                                              LAW OFFICES

                                      Lynn, Jackson, Shultz & Lebrun,r>.c.
                                    LAWYERS Ai.so ADMITTED IN MINNESOTA, IowA, NoKrH DAKOTA AND WYOMING
      909 ST, JOSEPH STRliET                                      www.lynnjacbon.com                        110 N. MINNESOI:&. AVl!NlJll
      SUITE 800
      P.O. Box 8250                                                 Member of Lex Mundi                                      SUITE400
      RAl'lll CJTY, SD 57709,8250                    A Glub.1l As.;odation of 125 Independent Law Firms                 P.O, Bux 2700
                                                                                                          SIOUX FALLS, SD .57101,2700
      605,342,2592
      FAX 605,342-5185                              REPLY TO: Rapid City 605,342,2592                                   605-332.-5999
                                                                                                                    FAX 605-332,4249


                                                 F'rom the offices of Thomas G. Fritz                     135 B. CoWMlJO BOULEVARD
                                                                                                            S1.'EAP-FtSH, SD 57783-2755
                                                   e-mail address: tfritz@lynrijackson.com                               605-722-9000
                                                   Sender's Direct Line -- 605-791-6497                             FAX 605, 722-9001


                                                           January 12, 2017

            VIA E-MAIL (dan@abourezk.com) & U.S. Mi\IL

            Mr. Daniel E. Holloway
            Aboure:zk Law Firm, PC
            2020 W. Omaha Street
            PO Box 9460
            Rapid City, SD 57709-946 0

            Re:       Gregerson v. Fann Bureau
                      Our File No. 930033-00 071

            Dear Dan:

            We have reviewed your demand of January 5, 2017and the policy itself. We believe that your
            client, our insured, is entitled to more than you are demanding. It is our review and calculations
            that bring us to the following:

                      16 Cows@ $1,800/he ad                     $28,800.00

                      27 Calves @ $960/hcad                     $25,920.00

                      Total ACV                                 $54,720.00

                      Less the Policy deductible :              ($1.000~0fil

                      Net payable to Gregerson s                $53,720.00

            Your demand, as set forth in your letter of January 5, 2017, does not consider the policy
            allowance for the additional 20% per head and, in our opinion, your deductible was
            miscalcula ted. I am assuming you have no objection to the same. Thus, I have taken the liberty
            of preparing a Receipt of Payment and Release, which I enclose. Please note that I have




                                                                                                                     FB0249
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           Mr. Daniel E. Holloway
           January 12, 2017
           Page 2


           attempted to artfully craft the receipt and release to include only this claim under the policy for
           the loss and theft of the cattle. If it meets with your and your clients' approval, I would
           appreciate it if you would all sign the same. Ifvve have an agreement, I will order the draft from
           Farm Bureau payable to Leonard Gregerson, Patty Gregerson and the Abourezk Law Firm, PC,
           unless othenvise directed.

           I look forward to hearing from you.

           Sincerely yours,

           LYNN, JACKSON, SHULTZ & LEBRUN, P .C.




           TGF:fjs

           Enclosure




                                                                                                       FB0250
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                                                        ABOUREZK LA"\V FIRi\t1
                    Mike Abourezk                                   PO BOX 9460                            Charles Abourezk
                    **Alicia D. Garcia                                                                     *Robin L. Zephier
                    tDaniel E. Holloway                      RAPID CITY, SD 57709-9460
                                                               (2020 W. OMAHA ST.)                 *Also licensed in Colorado
                    '"*Also licensed in California               TEL (605) 342-0097
                    tAJso licensed in New York                   FAX (605) 342-5170


                                                                  January 12, 2017



                      By US mail and email

                     Thomas G. Fritz
                      Lynn, Jackson, Shultz & Lebrun, PC
                     909 St. Joseph Street
                     Suite 800
                     Rapid City, SD 57709-8250

                     Re:       Leonard and Patty Gregerson, stolen-cattle claim with Farm Bureau


                      Dear Tom,

                     I've received your proposed. release for the Gregerson claim. Your draft release includes "any
                     cause of action which the undersigned could present against Farm Bureau arising out of 01· in
                     any wav related to the loss and/ or theft of cattle."
                         -     ~



                     Please just have rarm Bureau figure out what they think they owe the Gregersons on the claim,
                     and then pay it unconditionally. If it's owed on the insurance claim, then it's the Gregersons'
                     money. I•'arm Bureau should pay that without putting any conditions on it or mixing it up with
                     other isrmes.



                                                                         Thanks,




                                                                      Dan Holloway




                                                                                                                     FB0251
(Page 1   of   1)

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                                            RECEIPT OF PAYMENT AND RELEASE

                           This Receipt of Payment and Release is to acknowledge the payment of
                    $53,720.00 (Fifty-Three Thousand Seven Hundred Twenty Dollars and no/cents) by
                    Farm Bureau Property and Casualty Insurance Company (hereinafter referred to as Farm
                    Bureau) to the undersigned/insured, Larry Gregerson and Patty Gregerson, for
                    themselves, their heirs, personal representatives and assigns, and, further, to acknowledge
                    release of the undersigned/insured's claim (Farm Bureau Claim No. A090314P00) that
                    was made for loss and/or theft of cattle that occurred on or about October 17, 2014.
                           The undersigned hereby acknowledge that the amount of money referred to above
                    has been received by them and understand that, by accepting the payment of said sum,
                    the undersigned have been fully paid and compensated for the claim and any cause of
                    action which the undersigned could present against Farm Bureau arising out of or in any
                    way related to the loss and/or theft of cattle.
                           In witness whereof, the undersigned have signed this document this __ day of
                    January, 2017.




                    Leonard Gregerson                                 Patty Gregerson
                    13765 Lame Jonny Rd                               13765 Lame Jonny Rd
                    Fairburn, SD 57738                                Fairburn, SD 57738

                    Approved by:




                    Mr. Daniel E. Holloway
                    Abourezk Law Firm, PC
                    2020 W. Omaha Street
                    PO Box 9460
                    Rapid City, SD 57709-9460




                                                                                                           FB0252
(Page 1   of   2)

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                                                        ABOUREZK LAW FIRM
                    Mike Abourezk                                   PO BOX 9460                             Charles Abourezk
                    0 Alicia D. Garcia                                                                      *Robin L. Zephier
                    ;Daniel E. Holloway                      RAPID CITY, SD 57709-9460
                                                               (2020 W. OMAHA ST.)                  •Also licensed in Colorado
                    ** Also licensed in California              TEL (605) 342-0097
                    ;Also licensed in New York                  FAX (605) 342-5170


                                                                   January 5,   2017




                        By US mail and email

                        Thomas G. Fritz
                        Lynn, Jackson, Shultz & Lebrun, PC
                        909 St. Joseph Street
                        Suite 800
                        Rapid City, SD 57709-8250

                        Re:    Leonard and Patty Gregerson, stolen-cattle claim with Farm Bureau



                        Dear Tom,

                        I received your letter dated December 29, 2016. I'm sorry for my delay in getting back to you.
                        I've been sick for the last week.

                        As you'll have seen from Leonard and Patty's letter dated May 3, 2016, they lost 16 cows and at
                        least 27 calves to theft in October 2014.

                        According to the declarations pages the Gregersons have given me, in October 2014, the
                        Gregersons' coverage limits were only $1,500 per cow and $800 per calf. And they had a 10%
                        deductible.

                        Please check with Farm Bureau to see if other limits were in effect in October 2014. I know
                        Leonard and Patty increased their coverage in February 22, 201.5. I have them double-checking
                        to make sure they've given me all the declarations pages. Of course I do not mean to waive any
                        payments the Gregerson.'> have coming to them.

                        Based on the information Leonard and Patty have given me, I calculate the claim amount as
                        follows.




                                                                                                                      FB0253
(Page 2   of   2)

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                     lorn Fritz., Esq.   ♦   Re: Gregerson claim   ♦   january s,   2017
                     Page 2of 2


                                             16 cows x $1,500 per cow                                      $24,000

                                             + 27 calves x $800 per calf                                   + $21,600

                                             = Total insured loss                                          = $45,600

                                             - 10% deductible                                              - $4,560




                     Pl.ease send me a check made out to tlll~ Abourezk Law Firm trust account for $41,040 - unless
                     the coverage limits were amended by October 2014 to provide higher coverage.



                                                                                             'I11anks,




                                                                                           Dan Hollo·way




                                                                                                                       FB0254
(Page 1   of   1)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 32 of 158 PageID #: 318
     FARM BUREAU PROPERTY & CASUAL TY INSURANCE COMPANY
                                                                  THIS CHECK IS FOR:

                                                                  P & C CLAIMS -ALL LINES
                                                                  INSURED LEONARD GREGERSON
                                                                  CLAIMANT LEONARD GREGERSON
                                                                  ADJ: Jim Defea


                                                                                        POLICY#       0000000007936007
                                                                                        DATE OF LOS          10/17/2014
                LEONARD GREGERSON                                                                          A090314P0O
                13765 LAME JONNY RO                                                     CLAIM#
                FAlRBURN SC i7738                                                       CHECK NUMBER       0101330227
                                                                                        CHBCKDATB           01/13/2017
                                                                                        CHECK AMT           $27,800.00




           Line             Unit at                 Coverage                Narrative                          Amount
          Number             Risk
      A090314P01       ooWlheifers               FPPS          16 cows@ $1800/head                           $28,800.00
      A090314P01       cow/heifers               FPPS          Deductible                                     $1,000.00




     POLICY07936007 O/L 10117/2014 CLAIM A090314P00
     INSURED LEONARD GREGERSON CLAIMANT LEONARD GREGER
     ADJ: Jim Defea




                     LEONARD GREGERSON




                                                                                                           FB0255
(Page 1   of   1)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 33 of 158 PageID #: 319
     FARM BUREAU PROPERTY & CASUAL TY INSURANCE COMPANY
                                                                  THIS CHECK IS FOR:

                                                                 P & C CLAIMS -ALL LINES
                                                                 INSURED LEONARD GREGERSON
                                                                 CLAIMANT LEONARD GREGERSON
                                                                 ADJ: Jim Defea


                                                                                    POLICY#       0000000007936007
                                                                                    DATE OF LOS          10/17/2014
                LEONARD GREGERSON                                                                      A090314P0O
                13765 LAME JONNY RO                                                 CLAIM#
                FAlRBURN SC i7738                                                   CHECK NUMBER       0101330241
                                                                                    CHBCKDATB           01/13/2017
                                                                                    CHECKAMT            $25,920.00




           Line            Unit at                  Coverage            Narrative                          Amount
          Number            Risk
      A090314P02 calves                          FP?S          27 calves@ $960/head                      $26,920.00




     POLICY07936007 O/L 10117/2014 CLAIM A090314PO0
     INSURED LEONARD GREGERSON CLAIMANT LEONARD GREGER
     ADJ: Jim Defea
     ACV - Actual Cash Value




                     LEONARD GREGERSON




                                                                                                       FB0256
(Page 1   of   2)

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                                                        ABOUREZK LAW FIRM
                    Mike Abourezk                                   PO BOX 9460                            Charles Abourezk
                    "'*Alicia D. Garcia                                                                    *Robin L. Zephier
                    tDaniel E. Holloway                     RAPID CITY, SD 57709-9460
                                                              (2020 W. OMAHA ST.)                  •Also licensed in Colorado
                    ** Also licensed in California              TEL (605) 342-0097
                    tAlso licensed in New York                 FAX (605)342-5170



                                                                  January 171 2017




                      By US mail and email

                     Thomas G. Fr1tz
                     Lynn, Jackson, Shultz & Lebrun, PC
                     909 St. Joseph Street
                     Suite 800
                      Rapid City, SD 57709-8250

                      Re:      Leonard and Patty Gregerson, stolen-cattle claim with Farm Bureau


                     Tom,

                     I just received the letter and claim-payment checks you sent over today by hand delivery.
                     Thank you for that.

                     Your prior letter certainly did not annoy or antagonize me. I'm sorry if I gave the impression
                     that it did. Please rest easy on that score.

                     To explain my prior letter: I objected to asking the Gregersons to waive any claim against Fann
                     Bureau because they shouldn't have to make concessions to get paid what Farm Bureau already
                     owed them. The Gregersons and I certainly want to protect Farm Bureau's ability to recover
                     money from the cattle thief. But that doesn't require the Gregersons to waive claims against
                     Farm Bureau.

                     I agree with you that this was a contested claim, in the sense that Farm Bureau denied it. (I do
                     not think they had a reasonable basis for denying it.) But no issue of calculating damages arose
                     until very recently, since Farm Bureau denied the claim outright.

                     But all that's just commentary. My real reason for writing is to make sure that Fann Bureau has
                     not overpaid the claim.




                                                                                                                     FB0258
(Page 2   of   2)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 35 of 158 PageID #: 321


                     Tom Fritz, Esq. ♦ Re: Gregerson claim ♦ January 17, 2017
                     Page 2 of 2

                     Here's the information I have, from a declarations page dated 5/15/2014, covering the period
                     5/16/2014 to 5/16/2015:

                       Scheduled FarmTRanch Personal Property
                         2 Horses/Ponies• Kyles horses                          $10,000          $1,000
                          Actual -Cash Vallie
                          Special
                          Unit Value $5.000
                          U1,1estock FrlN!zing or Smothering                    $10,000         Larger of 10% oC Los.s.
                                                                                                or tl ;000
                         10 Stock, Bulls • bulls                                S65,000          $1,000
                          Actual Casb Veluct
                          Special
                          Unit Vatue $6,500
                          Live.stock Free.zing or Smothering                    $65,000         Larger of 10% of Loss
                                                                                                or $1,000
                         175 Stock. Calvtis/Steers • calves                     $140,000        $1.,000
                          Actual Cash Value
                          Special
                          .Un.it Value $800
                          live$tock Froei.iog or :Smoth~rlng                    $140.000        Latge,r of 10% of Loa~
                                                                                                or $1,000
                        175 Stock. Cow!l/Heifers • GowlheifMa                   $262,500         $1,000
                         Actual Cash Ve.lue
                         Special
                         Unit Value $1,500
                         Liv"1aook freezir,g ot Smothering                      $262,500        Larger of 10% o:f Lou
                                                                                                or $1,000




                    This provides lower "unit values" than you mentioned in your letter. And this declarations
                    page has a deductible for calves, which your letter does not include.

                    (Incidentally, I see now that I've been misreading the "10% of loss" deductible: I read that as
                    applying to any cattle loss. But looking at this again, I see it applies only to losses from freezing
                    or smothering. So based on this declarations page, the Gregersons' claim amount is $43,600
                    rather than $41,040 as I said earlier.)

                    If the Gregersons amended their coverage, so that the declarations page they gave me does not
                    apply, please send me the correct declarations page. But if these checks do overshoot the claim
                    amount, please send corrected checks, and I'll give these back to you. The Gregersons aren't
                    asking Farm Bureau to overpay their insurance claim.

                    I'll hold these checks for seven days, to give you time to double-check.



                                                                                Thanks,



                                                                        ~~
                                                                                                                      FB0259
(Page 1   of     1)

                      Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 36 of 158 PageID #: 322


                                                                   LAW OFFICES

                                        Lynn, Jackson, Shultz & Lebrun, P.c.
                                      LAWYERS ALSO ADMITTED IN MINNESOTA, IOWA, N0RTlI DAKOTA AND WYOMING
      909 ST.   jOSEP! !   STREHT                               www.lynnj ack.son. rnm                        110 N. tv1JNNESOTA AVENUE
      SUITE 800                                                                                                               SU!TE 400
                                                                 Member of Lex Mundi
      P.O. Bux 8250                                                                                                       P.O. Box 2700
      RArm Cm, SD 57709-8250                          A Global /\ssociatimi of 125 Irulcpcndent La1v fom~   SIOUX FALLS, SD 57101,2700
      605 •342 · 2592                                                                                                     605-332.5999
      FAX 605,342,5185                                REPLY TO: Rapid City 605-342,2592                               FAX 605-332-4249

                                                                                                            135 E. CO!D11.ADO BoULnVAlm
                                                   From the o.{fices of Thomas G. Fritz                        SP~ARf!SH, SD 57783-2755
                                                     e-mail address; {Mtz@lyn1jac:kw11.com                                605-7228000
                                                     Sender's Direct Une -- 605-791-6497                              FAX 605-722-9001




                                                                January 23, 2017

               VIA E~l\fAIL (dan@~abourezk.com) & U.S. MAIL

            Mr. Daniel E. Holloway
            Abourezk Law Firm, PC
            2020 W. Omaha Street
            PO Box 9460
            Rapid City, SD 57709-9460

            Re:             Gregerson v. Farm Bureau
                            Our File No. 930033-00071

            Dear Dan:

            I have yours of January 17, 2017. We have again reviewed your request and we stand by our
            offer set forth in my letter of the same date. We appreciate your concern 1 but we do believe vvc
            have calculated the alleged loss pursuant to the policy. Your client may cash the checks.

            If there is anything further you need from me, please advise.

            Sincerely yours,

            LYNN, JACKSON, SHlJLTZ & LEBRUN, P.C.

                   ~

                      I~
            Thomas G. Fritz

            TGF:~js




                                                                                                                       FB0260
(Page 1   of     1)

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                                                                   LAW OFFICES

                                        Lynn, Jackson, Shultz & Lebrun, P.c.
                                      LAWYERS ALSO ADMITTED IN MINNESOTA, IOWA, N0RTlI DAKOTA AND WYOMING
      909 ST.   jOSEP! !   STREHT                               www.lynnj ack.son. rnm                        110 N. tv1JNNESOTA AVENUE
      SUITE 800                                                                                                               SU!TE 400
                                                                 Member of Lex Mundi
      P.O. Bux 8250                                                                                                       P.O. Box 2700
      RArm Cm, SD 57709-8250                          A Global /\ssociatimi of 125 Irulcpcndent La1v fom~   SIOUX FALLS, SD 57101,2700
      605 •342 · 2592                                                                                                     605-332.5999
      FAX 605,342,5185                                REPLY TO: Rapid City 605-342,2592                               FAX 605-332-4249

                                                                                                            135 E. CO!D11.ADO BoULnVAlm
                                                   From the o.{fices of Thomas G. Fritz                        SP~ARf!SH, SD 57783-2755
                                                     e-mail address; {Mtz@lyn1jac:kw11.com                                605-7228000
                                                     Sender's Direct Une -- 605-791-6497                              FAX 605-722-9001




                                                                January 23, 2017

               VIA E~l\fAIL (dan@~abourezk.com) & U.S. MAIL

            Mr. Daniel E. Holloway
            Abourezk Law Firm, PC
            2020 W. Omaha Street
            PO Box 9460
            Rapid City, SD 57709-9460

            Re:             Gregerson v. Farm Bureau
                            Our File No. 930033-00071

            Dear Dan:

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            offer set forth in my letter of the same date. We appreciate your concern 1 but we do believe vvc
            have calculated the alleged loss pursuant to the policy. Your client may cash the checks.

            If there is anything further you need from me, please advise.

            Sincerely yours,

            LYNN, JACKSON, SHlJLTZ & LEBRUN, P.C.

                   ~

                      I~
            Thomas G. Fritz

            TGF:~js




                                                                                                                       FB0261
  Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 38 of 158 PageID #: 324




                               From the offices of Thomas G. Fritz
                                 e-mail address: tfritz@lynnjackson.com
                                 Sender's Direct Line -- 605-791-6497

                                         January 23, 2017



BY HAND DELIVERY

Mr. Daniel E. Holloway
Abourezk Law Firm, PC
2020 W. Omaha Street
PO Box 9460
Rapid City, SD 57709-9460

Re:    Gregerson v. Farm Bureau
       Our File No. 930033-00071

Dear Dan:

I have yours of January 12, 2017. The purpose of my letter was not to annoy or antagonize
either you or your client. The purpose of my letter was twofold.

First, Farm Bureau has a potential subrogation claim against the alleged thief of the cattle and
we are most interested in verifying that claim, confirming it and, hopefully, working with your
client (our insured) if the prosecution of that claim becomes a reality.

Secondly, as is apparent from the correspondence on this matter, not only was this a contested
claim, but there was uncertainty as to the calculation of the damages. Thus, it was my intent to
confirm an understanding with you as to the amount of the claim and the amount of the check to
pay the claim.

We will proceed as you have directed and pay the claim as we have calculated.




                                                                                       FB0262
  Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 39 of 158 PageID #: 325




Mr. Daniel E. Holloway
January 23, 2017
Page 2


I herewith hand deliver to you Farm Bureau’s checks, made payable as follows:

      Leonard Gregerson, Check No. 0101330227 in the amount of $27,800 for 16 cows
      @ $1,800 head less $1,000 deductible; and

      Leonard Gregerson, Check No. 0101330241 in the amount of $25,920 for 27
      calves @ $960 head.

Sincerely,

LYNN, JACKSON, SHULTZ & LEBRUN, P.C.



Thomas G. Fritz

TGF:fjs

Enclosures




                                                                                FB0263
  Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 40 of 158 PageID #: 326




Mr. Daniel E. Holloway
January 23, 2017
Page 3


bcc:   James DeFea (Claim No. A090314P00)




                                                                          FB0264
(Page 1   of   1)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 41 of 158 PageID #: 327




                                                        ABOUREZK LAW FIRM
                    Mike Abourezk                                   POBOX9460                                Charles Abourezk
                    **Alicia D. Garcia                                                                       *Robin L. Zephier
                    tDaniel E. Holloway                      RAPID CITY, SD 57709-9460
                                                               (2020 W. OMAHA ST.)                   *Also licensed in Colorado
                    **Also licensed in Calil<.)rnia              TEL (605) 342-0097
                    tAiso licensed in New York                  FAX (605)342-5170



                                                                  January 24, 2017



                      By US mail and email

                     Thomas G. Fritz
                     Lynn, Jackson, Shultz & Lebrun, PC
                     909 St. Joseph Street
                     Suite 800
                      Rapid City, SD 57709-8250

                     Re:       Leonard and Patty Gregerson, stolen-cattle claim with Farm Bureau


                     Tom,

                     Thanks for sending the declarations pages. I finally understand how you're calculating the
                     amount owed. I'm a little embarrassed that I missed the provision for paying 120% of the unit
                     value for livestock. I've never dealt with livestock coverage before, but I won't make that
                     mistake again. I'm doubly embarrassed, though, because I see that your January 12 letter
                     referred to "the additional 20% per head." I guess I focused so much on the release you
                     included with that letter, that this reference didn't sink in. Anyhow, I appreciate your correcting
                     me.

                     I gather you're treating the cows and calves as a single category of loss, with a single deductible.
                     As long as you've looked at that and considered it, of course I'm fine with that.

                     I suppose it seems odd that I put up a fight to get you to take money back. It felt a little odd to
                     me, too. But I don't like it when people take advantage of others' mistakes. As long as I didn't
                     understand your calculations, [ felt I had to press the issue.

                      [n any case, thanks again.



                                                                          Yours,




                                                                                                                       FB0269
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                             Final
                                            •=-
                        FARM BUREAU FINANCIAL SERVICES

                                          Casualty E-Report
 Date of Current E-Report:            February 22, 2017
 Current E-Report Prepared By:        Jim DeFea
 Date of Initial E-Report:            October 20, 2016
 Initial E-Report Prepared By:        Jim DeFea
 Business Center:                     SDBU
 BCCC:                                Drew Van Woert
 CCC:                                 Charles Petrik

 Any other Farm Bureau Policies with Potential Coverage for this Claim:  No
 Primary              Excess
 If Yes, Give Policy Type, Policy Number, Claim Number, Adjuster, and BCCC:
••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                                  POLICY INFORMATION
 Policy #:                 7936007
 Claims #:                 A090314P00
 Date of Loss:             10/17/14
 Time of Loss:                   PM
 Date Loss Reported to FBL:11/21/14
 Effective Policy Dates:   5/16/14 to 5/16/15
 Agent:                    Pam Green

 Named Insured:               Leonard Gregerson
 Coverage:                    OTHER
 Coverage Limit:              $140,000.00
 Umbrella:                    No
 Umbrella Coverage Limit:


 Explain Any Coverage Issues/Additional Coverages/Duplicate Coverages: Livestock scheduled
 under blanket coverage. Insured turned over for custom feeding and contracted feeder
 converted portions of herd to his own use.

 Livestock is covered for special perils limited to named 1-10, 30 & 31. On P-3 this livestock is
 shown listed as covered by class, it is in effect "scheduled". Therefore it is subject to conditions
 in both the general sections and the property sections as shown below.

 Special Causes Of Loss
 When the Declarations indicate that Farm/Ranch Personal Property is insured for Special
 Causes of Loss,the following additional provisions apply.
 Livestock
 If insured under this module, we cover "livestock" only for losses "caused by" the Named
 Causes of Loss numbers 1 through 10, 30 and 31.

                                                                                          FB0270
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 Additional Causes Of Loss

 31. Loss to Livestock. We cover direct physical loss to covered "livestock" "caused by":
 a. Accidental Shooting. We do not cover under this cause of loss shootings by any "insured" or
 your employees or tenants;
 b. Attack by Dogs or Wild Animals. We do not cover loss caused directly or indirectly by fright
 or
 by dogs owned by any "insured";
 c. Collapse, meaning collapse of buildings, bridges or culverts;
 d. Drowning, from external causes, including flood, except for "livestock" under 15 days old;
 e. Electrocution; or
 f. Loading or Unloading accidents resulting in their death and occurring while they are being
 loaded or unloaded from vehicles other than contract carriers.

 Named Causes Of Loss Index

 10. Theft

 There is no coverage for:

 g. Loss of "farm/ranch" personal property or "business" personal property by losing,
 misplacing, mysterious disappearance or where the only evidence of loss is a shortage disclosed
 upontaking inventory.

 Scheduled Personal Property Module

 There is no coverage for loss to "livestock" "arising out of":
 A. Fright, or as the direct or indirect result of fright, however caused:
 B. "Suffocation" or "smothering"; or
 C. Escape, wrongful conversion, or embezzlement.

   Livestock/Poultry




       Type             Item Type                I tem Description      %0!/im    Qty         Unit Value    AC\/            '"fr
      Schedllleal      Horses/Ponies            Kyles horses                100           2         5,000           10,000 YES
      Schedllled       Stock, Bll1is            blulls                      100          10         6,500           65,000 YES
      Schedllleal      Stock, Calves/Ste , , , calves                       100         175           800          140,000 YES
      Schedllleal      Stock, Co111isftieifers co111,1Jheifers              100         175         1,500          262,500 YES
      Schedllleal      Stock, Co111•s)Heifer.s Kyles co111,isJheifers       100         180         1,500          270,000 YES
      Schedllleal      Stock, Calves/Ste , , , Kyles calves                 100         180           800          144,000 YES
      Schedllleal      Stock, Bulls             kyles bulls                 100           6         6,500           3,9,000 YES




••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                                   WATCH LIST AND OTHER REPORTING

                                                                                                                            FB0271
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 WATCH LIST / REINSURANCE / ERRORS & OMISSIONS (E&O) / REFORMATION
          Watch List Notified:       Yes           Date Notified:        10/21/16
 Watch List Qualifying Criteria:
             Watch List Code:                      Date Last Updated:

            Watch List Closed:                     Date Closed:
               CCC Notified:                       Date Notified:

          Reinsurance Notified:      No            Date Notified:
          Reinsurance Claim #:
            Retention Amount:
            Recovery Amount:                       Recovery Date:
           Reinsurance Closed:                     Date Closed:


            E&O Committee:           No            Claim #:
        Committee Decision:

        Reformation Committee:       No            If “Yes”, Date:
        Reformation Decision:

 BAD FAITH (BF) / EXTRA CONTRACTUAL OBLIGATIONS (ECO)
               BF / EC Alleged:  No          If “Yes”, Date:
               Who Alleged, How Communicated, and Allegations Made:

               ICPL Carrier:
               Carrier Notified:                    If “Yes”, Date:
               Notified by:
               ICPL Updates:
■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■




                                    LOSS DESCRIPTION
 Location of Loss:           Meade County SD
 Detailed Loss Description: Insured contracted with custom feeder to finish cattle. Insured
                             delivered portions of herd to custome feeder who then converted a
                             portion of that herd for his own use. Conversion of herd took place
                             over a several month timespan and the custom feed llot was located a
                             hundred miles from insured premises.
 Names of all Potential Insureds under Farm Bureau policies who have Potential Liability
 Exposures:                                Relationship to Named Insured:
 Aggravating Issues:         No              BAC:
 Police Photos Available:                    If “Yes”, Have They Been Obtained:
 Citation(s) Issued To:                      For:
 Disposition of Citation:
 Scene Photos Obtained:
 Statements Obtained from all Parties including Witnesses Identified in Police Report:

                              Yes (Insured)

                                                                                        FB0272
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 45 of 158 PageID #: 331




 Non-Waiver Agreement:         Yes            If “Yes”, Date Signed:       11/24/14
 Reservation of Rights:                       If “Yes”, Date Sent:


 Other Party Responsible:                 If “Yes”: Name
                                          Insurance Company
                                          Coverage Limit:
                                          Asset Check Completed:
 SIU Notified:                 Yes        Reason:

 Liability Analysis of all Involved Parties: Coverage determination
■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■




                             INJURED PARTY INFORMATION
 Line Number:                  01
 Name of Injured Party:        Leonard Gregerson
 Address:                      13765 Lame Johnny Rd,
                               Fairburn SD 57738
 Occupation:                   Rancher
 Marital Status:               Married
 Spouse Name:                  Patty


        INJURY BREAKDOWN
                 FRPP Claimed:                $85,439.00
                 FRPP Documented:             Yes

                 Paid Amounts:               $0.00
                 Total Specials:             $85,439.00
                 Additional Comments:        Lost livestock: The insured feels the value of the cows
                               are $2850 each and they weighed 1450 lbs. each 15 @ $2850 is
                               $42,750

                               The insured lost 27 calves and the just sold calves at $1587 each. The
                               calves weigh 570lbs on average. 27 calves @ $1587 is $42, 849.

                               Total claimed is $85,439.00


        PLAINTIFF ATTORNEY IDENTIFICATION
                 Attorney Name:       Dan Holloway
                          Firm:       Abourezek Law Firm
                       Address:       PO Box 9460, Rapid City SD 57709
                        Phone #:      605-342-0097

                                                                                          FB0273
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 46 of 158 PageID #: 332




                                        •=-
                     FARM BUREAU FINANCIAL SERVICES
••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                        RESERVES/EXPENSE/STRATEGY
       RESERVE HISTORY

       Claimant: Leonard Gregerson
             Initial Reserve (Numerical only): $t.00
             Current Reserve:    Date Changed: Reason for Change:
             $500.00              10/1/16            reopened



             Authority Needed?                     Who?
             Reserve Deviation Required: No Date Notified:

       NEGOTIATIONS
             Claim Value Range:                        to
             Authority Requested:
             Authority Granted:                          by:
             Demand:            Date:                  Offer:        Date:




             Personal Liability Exposure Letter Needed (Include All Insureds): No Yes/No
             Date Notified:

             Settlement Amount:                $53,720.00
             Structures Presented:

       ALTERNATIVE DISPUTE RESOLUTION (ADR)
             ADR Attempted:     No     Date:
             Pre-Suit ADR:
             Mediator:
             Demand Going In:
             Offer Going In:
             ADR Result:               If Settled, Amount:
             ADR Expense:
             Total LAE Including Attorney Fees:
             LAE Avoided:
             ADR Comments:



                                                                                FB0274
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 47 of 158 PageID #: 333




         LITIGATION HISTORY
                Claim System Coded to Litigated: N/A                   Date:
                Case Name:                                        v.
                Cause for Suit:                                        (Liab, Dmgs, SOL, etc.)
                LSS Matter #:
                Date Suit Filed:
                Date of Service:
                Answer Date:
                Court Venue:
                Close of Discovery Motion Date:
                Dispositive Motion Date:
                Pre-Trial Date:
                Trial Date:
                Damages Pled:
                Resolution:                                            Amount:
                Date Suit Closed:

               Defense Attorney:
                           Firm:
                       Address:
                        Phone #:


 TOTAL LAE INCURRED TO DATE:                              $0.00
 ESTIMATED FUTURE LAE:                                    $0.00

 TOTAL INDEMNITY INCURRED TO DATE AND TYPE:
 $0.00


 UPDATES:
 10-21-16:

 See attached correspondence and claim file. Insured attorey requested written response to position on
 coverage.

 2/22/17

 Claim has concluded with settlement reached with insured and his attorney in the amount of
 $53720.00

 Paid final legal billing to Lynn Jackson, closed file.

 Closing LSS as well.


                                                                                            FB0275
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 **ATTACH ANY PHOTOS UNDER SEPARATE FILE**




                                                                        FB0276
(Page 1   of     2)

                      Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 49 of 158 PageID #: 335




          ··-®
          . . . FARM BUREAU
                FINANCIAL SERVICES
                                                                                                                                            Farm Bureau Life Insurance Company+•
                                                                                                                                            Western Agricultural Insurance Company+•
                                                                                                                                            Farm Bureau Property & Casualty Insurance Company+•




                       February 2 7 2017

                      US Attorney Benjamin Patterson
                      Via fax: 605-342-1108



                       RE:         Our Insured:              Leonard Gregerson
                                   Our Claim#:               A090314POO
                                   Our Policy#:              7936007
                                   Date of Loss:             10/17/2014
                                   Defendant:                Karl Knutson
                                   Your Case#:               5 :15CR50064-1

                       Dear Mr. Patterson:

                       Farm Bureau Property & Casualty Insurance Company affords coverage for Leonard Gregerson, who
                       reported theft of livestock on 10/17/2014.

                      Settlement has been made with the above-referenced insured. Mr. Gregerson sustained a $1,000
                      deductible loss and Farm Bureau Property & Casualty Insurance Company paid $53,720 under Mr.
                      Gregerson's personal property insurance coverage. Please see enclosed proofs of loss and payment.

                      Farm Bureau Property & Casualty Insurance Company has a subrogation interest in any recovery or
                      restitution ordered. Any information regarding the return, or recovery of said property should be made
                      to this office. If any suspects are arrested and prosecuted, please provide this information to the
                      prosecuting attorney as we request these damages to be included in any restitution order.

                      We thank you for your cooperation.

                      Sincerely,

                       Micah Chaplin
                       Farm Bureau Financial Services
                               Farm Bureau Property & Casualty Insurance Company
                               Western Agricultural Insurance Company
                       5400 University, West Des Moines, IA 50266
                       Ph: 515-226-6440 I Fax: 515-226-6311
                       Email: micah.chaplin@fbfs.com

                       Enclosures




          5400 University Avenue, West Des Moines, IA 50266-5997 • 515.225.5400 • FBFS.com
          Securities & services offered through FBL Marketing Services, LLC:" 877.860.2904, Member SIPC I Advisory services ottered through FBL Investment Management Services, Inc:'"   FB0283
          +Affiliates ·company providers of Farm Bureau Financial Services
(Page 2    of   2)

                     Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 50 of 158 PageID #: 336




                           LEONARD
                           GREGERSON/
                           Scheduled Fann
                           Pr.ml Property -
                           (Per             AO/ - Adu~
           Loss Payment                                                                                                        Yes                       28,800.00 USO
                           Oa:ummce) -      Cash Value
                           01-13765
                           LAMEJOHNNY
                           RD-
                           cow/heifers
                           LEONARD
                           GREGERSON/
                           Scheduled Fann
                           Pr.ml Property -
                           (Per
           Loss Payment                         Deductible           Deductibles                                               Yes                       -1,000.00 USO
                           Oa:ummce)-
                           01- 13765
                           LAMEJOHNNY
                           RD-
                           cow/heifers
                                                                                                               Lynn, Jaclcson,
    V     Payment               Posted                       02/22/2017              0101347886
                                                                                                               Shultz &. LeBnm
                                                                                                                                                      5,716.39 USO       ►
           Finan: :11                           .:::ie,_ .'I :e      Ser. ice 'E,e-ef1t   Ser~• :e 3t::iri   Se--\ 1:::e En:
           CategT          t]a mant      Line   :: eref1t Tt oe      Gro-p                [,ate              =1a:e             ..'.'..ct1 ,.:e          Amount

                           LEONARD
                           GREGERSON/
                           Scheduled Fann
                           Pr.ml Property -
                           (Per             I &.A - Attorney
           Expense
                                            Fees-                                                                              Yes                        5,716.39 USO
           Payment         Occurrence) -
                                            Defendant
                           01- 13765
                           LAMEJOHNNY
                           RD-
                           cow/heifers

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                           LEONARD
                           GREGERSON/
                           Scheduled Fann
                           Pr.ml Property -
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           Loss Payment    (Per                                                                                                Yes                       25,920.00 USO
                                            Cash Value
                           Occurrence) -
                           02- 13765
                           LAMEJOHNNY
                           RD-calves




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(Page 1   of   1)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 51 of 158 PageID #: 337

                           l!!I Complete items 1, 2, and 3. Also complete                      A. Signature                                                               I
                              Item 4 If Restricted Delivery is desired.                                                                                   □   Agent       :
                           11 Print your name and address on the reverse                       X                                                          □   Addressee I
                              so that we can return the card to you.                           B. Received by (Printed Name)                       -, C. Date of Delivery : _
                           11 Attach this card to the back of the mailpiece,
                              or on the front if space permits.
                                                                                               D. Is deliveryaddiessdifferentfrom item 1? D Yes                           'I
                           1. Article Addressed to:                                               If YES, enter delivery add~ss below:    □ No
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                             Leonard & Patty Gregerson                                                                                                                    r
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                             13765 Lame Jonny Rd                                           :                                                                              I
                       '     Fairburn SD 57738
                       :

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                       i                                                                        • Certified Mall"                 D Prio~ty Mall Express'"         I
                                                                                                       □   Registered             D Return Receipt for Merchandise i
                                                                                                       □   Insured Mall           D Collect on Delivery            ;
                       '                                                                       4. Restricted Delivery? (Extra Fee)                        □ Yes         -1


                           2. Article Number                                                                                                                              '
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Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 52 of 158 PageID #: 338



                                            •=
                         FARM BUREAU FTNANCJAL SERVICES


                              Certified Mail - Return Receipt Requested
                                  DISCLAIMER OF COVERAGE



    February 17, 2015


    Leonard and Patty Gregerson
    13765 Lame Jonny Rd
    Fairburn SD 57738


    RE:    Named Insured:         Leonard and Patty Gregerson
           Policy Number:         7936007
           Claim Number:          A090314P00
           Date of Loss:          10-17-14


    Dear Mr. and Mrs Gregerson,


    We received notification of a claim as a result of an incident which occurred on 17th day
    of October, 2014, in Meade County SD.

    You were issued a policy of liability insurance policy, 7936007 by the Farm Bureau
    Property & Casualty Insurance Company of West Des Moines, Iowa, for the period of
    May 16, 2014 to May 16, 2015, and the above claim has been submitted to us for
    coverages under this policy. You policy has scheduled coverage for livestock in the
    amount of $1,812,100.00. This property is listed under the blanket coverage as scheduled
    by class.

    Based upon the information you have given, and our supplemental investigation, this
    letter is to advise you that we hereby deny and disclaim coverage and contend that our
    policy does not apply to the circumstances of this incident.

    The facts, as confirmed to date, indicate that you had turned your livestock over to a
    custom feeder and then notified us of a significant shortage upon the taking of an
    inventory on the date of the loss indicated above.

    The Company also takes this opportunity to set forth its coverage position under the
    policy provisions. While the Company has attempted to be as accurate as possible in
    reproducing policy language, any typographical errors or differences are not intended to
    alter the intent of this letter or the terms of coverage provided



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Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 53 of 158 PageID #: 339
    Page 2 of 8
    February 17, 2015
    Leonard and Patty Gregerson


    Your policy with us contains the following provisions:


    General Section
    Insuring Agreement (PKSD.SGENL.1214)
    In return for payment of the premium and subject to all the terms and conditions of the
    policy, we agree to provide the insurance described in this policy and summarized in the
    Declarations pages.

    Definitions
    Definitions Common to Entire Policy
    Throughout your policy certain words or phrases are given exact meanings. The
    definition of we, us and our as well as the definition for you and your are given below.

    Other words or phrases that are given exact meanings in the policy are shown with
    quotation marks whenever they are used. Each section of this policy has a glossary of
    these definitions, and additional definitions specific to a coverage may be provided at the
    module level. The following words and phrases are common to the entire policy

    "Occurrence"
    An accident, including continuous or repeated exposure to substantially the same general
    harmful conditions

    "Property Damage"
    Physical injury to or destruction of tangible property, including its loss of use. All such
    loss of use shall be considered to start at the time of the "occurrence" that caused the
    “property damage”.

    Reservation of Rights
    No act in connection with the investigation of any loss or claim by our employees or
    representatives shall be considered a waiver of any defense which we might otherwise
    have with respect to any loss or claim. All such acts of investigation shall be considered
    to have been made without compromising the coverages as described in the policy. The
    act of investigation, by itself, is not intended to convey that coverage exists. As the facts
    become known, the policy language will determine if coverage exists or not for the loss,
    and all provisions under the policy are specifically reserved during our investigation.


            *****************************************************

    The below section will addresses the property section of the policy.


    Property Section (PKSD.SPROP.0508)



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Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 54 of 158 PageID #: 340
    Page 3 of 8
    February 17, 2015
    Leonard and Patty Gregerson


    This section, combined with the General Section and property modules, provides the
    property coverages you selected, as identified in the Declarations.

    For each type of property you own or rent, you need specific property insurance
    protection. Dwellings, buildings, and other property are identified in the declarations.
    Personal property is insured on an unscheduled (blanket) basis, except for items you
    have chosen to schedule individually

    Introduction
    Your property coverages are determined by combining the terms and provisions of the
    General Section and Property Section with one or more of the following property
    modules:

    F. Farm/Ranch Personal Property Module for farmers/ranchers, providing blanket
    coverage and/or scheduled coverage for personal property used in the "farm/ranch"
    operation.

    Covered Causes Of Loss
    The scheduled Personal Property Module includes a separate Cause of Loss Index
    applicable only to that module.

    For the other modules (Dwelling; Mobile Home; Household Personal Property; Condo;
    Garages, Outbuildings and Other Structures; and Farm/Ranch Personal Property), the
    Declarations indicate whether property is insured for Named Causes of Loss or Special
    Causes of Loss.

    Under your policy special perils for livestock will apply. Those perils, indicated in the
    policy are, "named 1-10, plus 30 and 31". These perils are shown below as:

    Special Causes of Loss
    When the Declarations indicate coverage for Special Causes of Loss, coverage is
    provided for accidental direct physical loss except as excluded
    Named Causes Of Loss Index
    A. When the Declarations indicate coverage for Named Causes of Loss, we insure your
    property as described in the Declarations for sudden and accidental direct physical loss
    "caused by" the Named Causes of Loss indicated by number in the Declarations. The
    Named Causes of Loss are shown below. The coverage provided is subject to the General
    Section Exclusions, the Additional Exclusions in this Property Section, and any
    applicable property module exclusions.


    Named Causes of Loss
    When the Declarations indicate coverage for Named Causes of Loss, coverage is
    provided for only the causes of loss identified by number in the Declarations. Refer to the
    Named Causes of Loss Index in this section.

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Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 55 of 158 PageID #: 341
    Page 4 of 8
    February 17, 2015
    Leonard and Patty Gregerson




    1. Fire or Lightning
    2. Explosion
    3. Windstorm or Hail
    4. Riot or Civil Commotion
    5. Aircraft
    6. Vehicles
    7. Smoke
    8. Volcanic Eruption
    9. Vandalism or Malicious Mischief
    10. Theft
    We cover direct physical loss to or of covered property "caused by" theft or attempted
    theft. There is no coverage for:
    g. Loss of "farm/ranch" personal property or "business" personal property by losing,
    misplacing, mysterious disappearance or where the only evidence of loss is a shortage
    disclosed upon taking inventory.

    Market Losses
    There is no coverage for loss to household personal property, "farm/ranch" personal
    property or "business" personal property "arising out of" delay, loss of use or loss of
    market.


           *********************************************************

    Farm/Ranch Personal Property Module (PKSD.MFRPP.0508)

    This module is part of the Property Section.
    The provisions in this module, combined with the provisions in the General Section and
    Property Section provide the farm/ranch personal property coverages you selected.

    Farm/Ranch Personal Property Coverages
    You have the following coverages only if they are indicated in the Declarations.

    We cover "farm/ranch" personal property used in the operation of your "farm/ranch" for
    the causes of loss indicated in the Declarations under Blanket Farm/Ranch Personal
    Property Coverage or Scheduled

    Farm/Ranch Personal Property Coverage.
    Farm/Ranch Personal Property Coverages apply when the covered property is on or
    temporarily away from the "insured premises."

    Named Causes Of Loss



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Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 56 of 158 PageID #: 342
    Page 5 of 8
    February 17, 2015
    Leonard and Patty Gregerson


    When identified by number in the Declarations, the following causes of loss apply to
    property covered under this module in addition to the Named Causes of Loss in the
    Property Section.

    30. Collision
    We cover accidental direct physical loss to covered "farm/ranch" personal property
    "caused by" collision with another object or by upset.
    There is no coverage for:
    f. Loss to "livestock" "arising out of" collision involving any vehicle owned or operated
    by any "insured," employee or resident of the "insured premises." We do cover loss to
    "livestock" "caused by" upset or collision of such vehicles when transporting your
    "livestock."

    31. Loss to Livestock. We cover direct physical loss to covered "livestock" "caused by":
    a. Accidental Shooting. We do not cover under this cause of loss shootings by any
    "insured" or your employees or tenants;
    b. Attack by Dogs or Wild Animals. We do not cover loss caused directly or indirectly by
    fright or by dogs owned by any "insured";
    c. Collapse, meaning collapse of buildings, bridges or culverts;
    d. Drowning, from external causes, including flood, except for "livestock" under 15 days
    old;
    e. Electrocution; or
    f. Loading or Unloading accidents resulting in their death and occurring while they are
    being loaded or unloaded from vehicles other than contract carriers.

    Special Causes Of Loss

    When the Declarations indicate that Farm/Ranch Personal Property is insured for
    Special Causes of Loss, the following additional provisions apply.

    Livestock
    If insured under this module, we cover "livestock" only for losses "caused by" the Named
    Causes of Loss numbers 1 through 10, 30 and 31.(Shown above)


           ************************************************************

    Scheduled Personal Property Module (PKSD.MSCHP.0508)

    This module is part of the Property Section. The provisions in this module, combined with
    the provisions in the General Section and Property Section provide the Scheduled
    Personal Property Coverages you selected.

    Scheduled Personal Property Coverage


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Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 57 of 158 PageID #: 343
    Page 6 of 8
    February 17, 2015
    Leonard and Patty Gregerson


    You have the following coverage only for the personal property indicated in the
    Declarations.

    We cover property owned by, rented or leased to you and described individually or by
    class in the Declarations under Scheduled Personal Property for the causes of loss
    indicated in the Causes of Loss Index in this module.

    We also cover property of customers of your "business" if Business Customers' Property
    Coverage is indicated in the Declarations.

    Coverage applies anywhere in the world, except as limited for Business Customers'
    Property Coverage.

    If the description of the item(s) insured is not complete in the Declarations, reference will
    be made to a separate form that provides the complete description.

    Causes Of Loss Index Scheduled Personal Property Module
    We insure your property, other than animals, covered under this module, as indicated in
    the Declarations, for accidental direct physical loss except as excluded under the
    exceptions and limitations outlined below.

    We insure animals covered under this module as indicated in the Declarations for the
    causes of loss indicated under Causes of Loss Applicable to Animals.

    The coverage provided is subject to the General Section Exclusions and the Additional
    Exclusions in the Property Section.

    Causes Of Loss Applicable To Animals
    The causes of loss applicable to animals do not apply to animals insured under the
    Livestock Transportation and Farm Goods Transportation classes of property.

    We cover animals insured under this module for accidental direct physical loss "caused
    by" Named Causes of Loss 1 through 10.

    We also cover "livestock," elk, deer and ostriches insured under this module for
    accidental direct physical loss "caused by":
    A. Collision With Another Object. We do not cover loss "arising out of collision involving
    any vehicle owned or operated by any "insured," employee or resident of the "insured
    premises." We do cover loss "caused by" upset or collision of such vehicles when
    transporting your animals.
    B. Accidental Shooting. We do not cover shootings by any "insured" or your employees
    or tenants.
    C. Attack by Dogs or Wild Animals. We do not cover loss caused directly or indirectly by
    fright or by dogs owned by any "insured."
    D. "Collapse" Of Buildings, Bridges Or Culverts

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Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 58 of 158 PageID #: 344
    Page 7 of 8
    February 17, 2015
    Leonard and Patty Gregerson


    E. Drowning From External Causes, Including Flood
    F. Electrocution
    G. Loading or Unloading accidents resulting in the animal's death and occurring while it
    is being loaded
    or unloaded from a vehicle.

    Additional Exclusions Applicable To Animals
    A. There is no coverage for loss to animals "arising out of":
    5. Infidelity of your employees or other "persons" to whom your animals are entrusted;
    6. Escape, mysterious disappearance, wrongful conversion, or embezzlement; or
    7. Participation in any organized or sanctioned racing, pulling, pushing, rodeo or
    stunting activities.

    B. There is no coverage where the only evidence of loss is a shortage disclosed upon
    taking inventory.

    As indicated previously herein and now specifically again, no coverage is available to
    you from the Policy for claims, or damages associated with those claims, which have
    been previously addressed herein and identified as not being afforded coverage by the
    Policy. Coverage is further rejected for any and all claims, allegations or damages
    otherwise precluded from coverage because they do not meet the Policy’s terms,
    definitions, conditions or limitations or which are specifically excluded by the coverage
    forms or endorsements. The Company will not indemnify you for such claims,
    allegations or damages.

    The Company, by naming the specific grounds for this disclaimer of coverage, does not
    waive any of its right or any of the other provisions or conditions of the above cited
    policy of insurance, and specifically reserves all of its rights and remedies under the
    policy and under the statutes and common law.


    Presently, we can take no further action. If additional information or evidence becomes
    available to you, NOTIFY US IMMEDIATELY. Upon such notification we will review
    the matter once again to determine whether there will be any change in the above-stated
    position regarding coverage under your policy for the claim(s) being made against you.



    Respectfully submitted,


    ____________________

    James M. DeFea, CPCU, AIC, AIS
    SD Business Center Claims Consultant

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Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 59 of 158 PageID #: 345
    Page 8 of 8
    February 17, 2015
    Leonard and Patty Gregerson


    Farm Bureau Property and Casualty Insurance Company
    3500 So Phillips Ave
    Suite 247
    Sioux Falls SD 57105
    605-977-3485 (Office)


    Enc: General Section, PKSD.SGENL.1214
         Property Section, PKSD.SPROP.0508
         Farm/Ranch Personal Property Module, PKSD.MFRPP.0508
         Scheduled Personal Property Module, PKSD.MSCHP.0508




    CC: Pamela Green, Farm Bureau Agent




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(Page 1   of   1)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 60 of 158 PageID #: 346




                              UNITED STATES POSTAL SERVICE




                                                                           FARM BUREAU CLAIMS
                                                                                BOX i397
                                                                             HURON, SD 57350



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                                  item 4 If Restricted Delivel)' Is desired.
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                                  so that we can return the card to you.
                              Iii Attach this card to the back of the mailpiece,
                                  or on the front If space permits.               ·
                                                                                                         _D. Is deHvery address different from Item 1? D Yes
                              1. Article Addressed to:                                                       If YES, enter delivery address below:     D No

                                Leona rd & Patty Grege rson
                                13765 Lame Jonny Rd
                                Fairb urn SD 57738
                                                                                                          3•. ~ice Type                                                    ·
                                                                                                            ~ Certified Mall"           D Priority Mall ExpressN
                                                                                                              D Registered              D Return Receipt for Merchandise
                                                                                                              D Insured Mail            D Collect on Delivery
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                            : PS Form    3811, July 2013                               Domestic Re!urr- Receipt
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(Page 1   of    1)

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               To: P3WorkflowIMAP <p3workflowimap@fbfs.com>


               cc: Jim Defea <jim.defea@fbfs.com>


               From: Cindy Arneson <Cindy.Arneson@fbfs.com>
               Sent on: 04/02/2015 09:56:13 AM
               Subject: A090314P00



               Cindy Arneson

               Administrative Assistant Ill
               SD Business Unit
               Farm Bureau Financial Seivices
               PO Box 1397
               Huron SD 57350
               (605)353-8014 phone
               (605)353-8020 fax
               cindy.arneson@fbfs.com




               Attachments:
               content[l] .pdf




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Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 62 of 158 PageID #: 348



                                               FARM BUREAU FTNANCJAL SERVICES      •=
 Leonard and Patty Gregerson
 13765 Lame Jonny Rd
 Fairburn SD 57738



 RE:           Insured:                                   Leonard and Patty Gregerson
               Policy Number:                             7936007
               Date of Loss:                              10-17-14
               Claim Number:                              A090314P00

 Dear Mr. and Mrs. Gregerson,

 This letter will serve as acknowledgement of receipt of your letter of May 3, 2016, which was
 addressed to my attention for the purpose of reviewing our position as it was originally shared
 with you via our letter of February 17, 2015.

 First of all, I would like to thank you for sharing the additional information regrding this incident
 as it was explained in your recent letter. While there were some details we were unaware of the
 majority of the information you have brought up in this letter had already been developed
 through our initial claims investigation.

 Unfortunately, the facts of this incident have not changed the coverage issues as defined in our
 coverage disclaimer letter to you that was sent in February of last year. For your review I have
 attached a copy of that letter. Regretably, and respectfully, we are unable to reconsider our
 position as it relates to the extension of coverage to you for the loss of these animals under these
 circumstances.

 Sincerely,




 James M. DeFea, CPCU, CLSSGB, AIC, AIS, AINS
 SD Business Center Bodily Injury Specialist
 Farm Bureau Property and Casualty Insurance Company
 PO Box 9168

                       5400 U NIVERSITY AVENUE • W EST DES MOINES, IOWA 50266-5997 • 515.225.5400 • www.fbfs.com
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Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 63 of 158 PageID #: 349



                                               FARM BUREAU FTNANCJAL SERVICES      •=
 Des Moines, IA 50306-9168
 605-977-3485 (Office)


 Enclosure February 2015 coverage disclaimer
           Copy of certified receipt




                       5400 U NIVERSITY AVENUE • W EST DES MOINES, IOWA 50266-5997 • 515.225.5400 • www.fbfs.com
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                       Leonard and Patty Gregerson
                       13765 Lame Jonny Rd
                       Fairburn SD 57738


                       James M. Defea
                       Farm Bureau Property and Casualty Insurance Company
                       3500 So Phillips Ave Suite 247
                       Sioux Falls SD 57105
                       605-977-3485 (Office)


                       May 3, 2016


                       Dear Mr. DeFea,

                       My wife and I sent in a claim for some stolen cows and calves back in 2015. You sent us
                       a letter on March 24, 2015. You said "The facts, as confirmed to date, indicate that you
                       had turned your livestock over to a custom feeder and then notified us of a significant
                       shortage upon the taking of an inventory on the date of the loss indicated above."

                       I don't know if you've confirmed any more facts since your letter, but I'm writing to give
                       you some more facts.

                       Cows and calves lost

                       In February 2014, we sent 135 pregnant cows up to pasture at Karl Knutson's property in
                       Vale. Karl's dad has a house there, with a barn, holding corrals, and a pasture. Karl
                       agreed to calve the cows at that property, and then move them to a large summer pasture
                       a few miles from his house. One cow got hurt during the trip up to Karl's in February,
                       and Karl shot her a few days later. That took us down to 134 pregnant cows at Karl's.

                       In March, Karl told us that five of the cows had lost their calves during or right after
                       birth. We accepted Karl's word on that, and we took those five cows back to our property
                       in Fairburn.

                       So we had 129 adult cows still on Karl Knutson's property in March 2014. We left aJl of
                       them with Karl until we brought them all home in October 2014, after summer pasturing.




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                       In May 2014, we had a branding party up at the summer pasture. We branded 122 calves.
                       Karl said he still had a few cows up at the calving pasture, so that there should have been
                       a few more calves. But we saw and branded 122.

                       So in May 2014, we had 129 cows and 122 calves at Karl Knutson's property.

                       In October 2014, we trucked the cows and calves back home to Fairburn. There were
                       only 113 of our adult cows, and only 95 calves.

                       We were missing 16 cows, and at least 27 calves. We were probably missing a few more
                       calves, from the cows that were still up at the calving pasture when we had the branding
                       party.

                       Evidence of theft

                       In October, when we realized how many cows and calves were missing, we searched the
                       summer pasture extensively. My son Kyle and our friends Duke Buffington and Tanner
                       O'Daniel searched the pasture on four-wheelers. They searched all over the pasture, and
                       they went far outside the pasture, into the surrounding pastures, two or three pastures
                       deep in some areas.

                       The land there is pretty flat and there are almost no trees. There are no deep gulleys or
                       treed areas where cattle could get lost so you wouldn't see them. We didn't find the
                       missing cattle, and we didn't find any carcasses, either. I recently spoke to Karl
                       Knutson's hired man from that time, Josh Schumaker. Josh confirmed that they never had
                       any cattle killed by wild animals.

                       We've spoken to the surrounding land owners, and they confirm that our missing cattle
                       didn't show up in their herds. You wouldn't expect that many cattle to go through fences
                       and wander from their own herd to another. Cattle mostly only go through fences when
                       they're pushed by a snowstorm (or by people). They'll also wander away when fences get
                       washed out or cut or something like that. But none of those things happened, so they
                       wouldn't explain why the cattle would leave the summer pasture on their own.

                       The only explanation for the missing cattle is theft. They didn't die and leave carcasses.
                       There's no evidence they broke through the fences and wandered into another herd.
                       Someone had to have stolen them.

                       I think we've already sent you a letter from the Meade County Sheriffs office,
                       mentioning the police report.




                                                                                                                     FB0300
(Page 3   of   4)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 67 of 158 PageID #: 353




                       The likely thief

                       I don't think we have to prove who stole the cattle for the insurance coverage, but all
                       signs point to Karl Knutson. Karl had a hired man named Josh Schumaker. I talked to
                       him. Josh said that when we delivered our pregnant cows to Karl's calving pasture, Karl
                       told Josh that he had bought those cows - that our cows were Karl's own cows.

                       (Josh also said that our 5 calves that died in birth died from neglect. Josh quit working for
                       Karl because Karl abused and neglected cattle.)

                       We didn't know Karl's reputation at the time, but we now know that a lot of people have
                       had trouble with him, and he's gotten into a lot of shady dealings.

                       Most importantly, he's now in federal prison for trying to steal from a government
                       program for ranchers who lost cattle in the big 2013 blizzard. Here's a news article on
                       that:. ht,mr:tl~J~sft.~Il'lfholl')j/he~.;wht)..ifalset,..claimea..cattJe,..ldues--tets::
                      . l-year-in-,prison-371423891.html.

                       Karl has also cheated a number of people in cattle deals. I spoke to Karen Bryan. She said
                       that she had a deal with Karl to take care of her cattle. She paid him for pasture and feed.
                       When she collected her cattle, it turned out that he hadn't been feeding them. They were
                       starving.

                       In talking to people about Karl, I heard about a lot of other shady deals he got into, too. I
                       won't go into them here, but it supports the idea that Karl was probably the guy who took
                       our cattle.

                       Your investigation

                       I haven't heard from anyone at Farm Bureau since you sent your March 24, 2015, letter
                       about "the facts, as confirmed to date." I don't know what investigation you've done
                       since then. But we want to cooperate with your investigation.

                       You might also want to talk to the following people:

                          ••    Duke Buffington, 605-430-0458 (helped search for cattle)
                           •    Tanner O'Daniel, 605-454-1747 (helped search for cattle)
                           •    Josh Schumaker, 605~431-6232 (Karl Knutson's ex~hired man)
                          ,.,   John Millar, 605-347-0553 (cell) (owns property around Knutson's summer
                                pasture; confirms our cattle didn't end up in their herd)




                                                                                                                   FB0301
(Page 4   of   4)

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                           •   Karen Bryan, 605-645-1767 (had bad dealings with Knutson)



                       Again, my wife and I want to give you all the help you need. We lost 16 cows, and at
                       least 27 calves, to theft. As you can imagine, this was a big loss and it's hit us hard. I
                       want to help you finish your investigation, so we can get this claim paid.

                       Thanks, and let me know what more you need from us.



                       Sincerely,




                                                                                                                    FB0302
(Page 1   of    2)

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               To: P3WorkflowIMAP <p3workflowimap@fbfs.com>


               From: Micah Chaplin <micah.chaplin@fbfs.com>
               Sent on: 05/31/2017 06:55:32 AM
               Subject: A090314P00




               Micah Chaplin, AIC
               Subrogation Specialist
               Farm Bureau Financial Services
                         Farm Bureau Property & Casualty Insurance Company
                        Western Agricultural Insurance Company
               Ph: 515-226-6440 I Fax: 515-226-6311

               FBL Financial Group, Inc. I 5400 University Avenue, West Des Moines, IA 50266


               From: investigations@rycfind.com [mailto:investigations@rycfind.com]
               Sent: Wednesday, May 31, 2017 4:47 AM
               To: Micah Chaplin <micah.chaplin@fbfs.com>
               Subject: Past due on A090314P00

               Micah,

               The attached has come up on the 30 Day + Past Due List. Can you please check to see if payment has been
               issued?

               Any assistance you can offer in helping us to get this invoice paid is greatly appreciated.

               Mailing Address:

               PO BOX647
               ALPHARETTA, GA 30009-0647

               Thank you!

               John Bracey
               RY & C Co. Inc .
               www.RYCfind.com
               Professional Investigators
               PO Box 647
               Alpharetta, GA 30009-0647
               770.804.0000 Phone
               770.671.0716 Fax

               PROVIDING DIRECTION - NOT JUST DATATM

               --------------------
               This email/fax message is for the sole use of the intended
               recipient(s) and may contain confidential and privileged information.

                                                                                                                   FB0303
(Page 2   of    2)

                     Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 70 of 158 PageID #: 356



               Any unauthorized review, use, disclosure or distribution of this
               email/fax is prohibited. If you are not the intended recipient, please
               destroy all paper and electronic copies of the original message.




               Attachments:
               z84272.542.pdf




                                                                                             FB0304
(Page 1   of   3)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 71 of 158 PageID #: 357




                      RY&C
                        COMPl\~JY INC
                     POBOX647
                     ALPHARETTA, GA 30009-064 7
                     (770) 804-0000 OR FAX (770) 671-0716
                      https:/ /www.RYCfind.com/

                      4/21/2017


                     Ms. Micah Chaplin                                           File#:       RYC 84272
                     FARM BUREAU MUTUAL                                          Loss Date:   10/17/2014
                     5400 University                                             Insured:     L. Gregerson
                     West Des Moines, IA 50266                                   Claim#:      A090314P00
                                                                                 Client#:     542-16


                                                            ASSET REPORT


                              SUBJECT:                      Karl Jakob Knutson
                                                            See Below

                              DOB:                          See Below

                              EMPLOYMENT:                   Searched - employment status not confirmed

                              DRIVER'S
                              LICENSE#:                     N/A
                              PLATE#:                       N/A

                              REAL
                              PROPERTY:                     See Below

                              COMMENTARY:

                     The steps of our investigation into the location and assets of Karl Jakob Knutson
                     include the following:

                     We began by contacting the local directory where we found no listing for your
                     subject or (605)391-8030. We have yet to establish contact with residents at the
                     provided telephone number.

                     Verbal contact has not proven feasible. Therefore, we have been unable to
                     disclose any information regarding your subject's current possible employment
                     status and/or insurance coverage for the date of loss.




                                                                                                             FB0305
(Page 2   of   3)

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                     Our inquiry via social networking sites has revealed no verifiable leads regarding
                     your subject's employment status.

                     We contacted the South Dakota State Department of Corrections where we found
                     that Karl Jakob Knutson, DOC number 41759, was reportedly released from state
                     custody 03/18/2016.

                     Although we inquired, we have found no verifiable record of a social security
                     number for your subject based on the provided identifying information.

                      However, from the social security number we have found the following
                      address(es) previously recorded for the only Karl Jakob Knutson in South Dakota,
                      birth date 01/16/1988: 19192 136th Ave. Vale SD 57788-3013. Please note that
                      the information reported in conjunction with the social security number is subject
                      to privacy restrictions (Gramrn-Leach-Bli/ey Act) and is not verification of your
                      subject's current whereabouts.

                     We obtained a listing for Dale E. Knutson of (605)456-2973 at the address of
                     19192 13&h Ave. in Vale, SD, but have received no response to attemtps at
                     contact.

                     According to the Butte County Property Tax Assessor's Office the property at
                     19192 136th Ave., parcel 08-7-30-3, is recorded in the names of Dale E. and Gail
                     D. Knutson and is valued at $157,002.

                      In accordance with the Fair Credit Reporting Act, Section 604, we have not
                      obtained access to credit information for your subject in regards to your loss.

                     We contacted the United States Bankruptcy Court where we found that a. Karl
                     Jakob Knutson of Vale, SD did file Chapter 13 Bankruptcy 03/06/2015 under case
                     number 15-50038. The case was dismissed 08/18/2015.

                     We contacted the Department of Defense in regards to the Service Member's Civil
                     Relief Act, but have been unable to confirm any record of military service and/or
                     active duty.

                     This concludes our investigation.




                                                                                                           FB0306
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                      RY&C
                        COMPl\~JY INC
                     POBOX647
                     ALPHARETTA, GA 30009-064 7
                     (770) 804-0000 OR FAX (770) 671-0716
                      https:/ /www.RYCfind.com/

                      4/21/2017


                     Ms. Micah Chaplin                                        File#:       RYC 84272
                     FARM BUREAU MUTUAL                                       Loss Date:   10/17/2014
                     5400 University                                          Insured:     L. Gregerson
                     West Des Moines, IA 50266                                Claim#:      A090314P00
                                                                              Client#:     542-16


                      BILL FOR SERVICE RENDERED:

                      INVOICE # RYC 84272                         $75.00


                     TOTAL AMOUNT DUE:                            $75.00


                     TERMS:             NET ON RECEIPT

                      FED ID#:          XX-XXXXXXX

                      REMIT TO:         RANDOLPH, YOUNG & CHAPMAN CO., INC.
                                        POBOX647
                                        ALPHARETTA, GA 30009-0647


                                   PLEASE INCLUDE CLIENT AND RYC FILE NUMBER WITH PAYMENT
                                                     Your client number is 542-16

                                                            THANK YOU!




                                                                                                          FB0307
(Page 1   of   1)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 74 of 158 PageID #: 360
     FARM BUREAU PROPERTY & CASUAL TY INSURANCE COMPANY
                                                                       THIS CHECK IS FOR:

                                                                       P & C CLAIMS -ALL LINES
                                                                       INSURED LEONARD GREGERSON
                                                                       CLAIMANT LEONARD GREGERSON
                                                                       ADJ: Micah Chaplin


                                                                                         POLICY#     0000000007936007
                                                                                         DATE OF LOS        10/17/2014
                RANDOLPH YOUNG CHAPMAN CO INC                                            CLAIM#           A090314PO0
                PO BOX647 .
                Alpharetta GA 30009-0647                                                 CHECK NUMBER       0101394684
                                                                                         CHBCKDATB           05/31/2017
                                                                                         CHECK AMT              $75.00




           Line             Unit at                       Coverage           Narrative                         Amount
          Number             Risk
      A090314P01       cow/heifers                     FPPS          RYC8A272.,                                  $75.00




     POLICY07936007 0/L 10117/2014 CLAIM A090314PO0
     INSURED LEONARD GREGERSON CLAIMANT LEONARD GREGER
     ADJ: Micah Chaplin
     I & A - Miscellaneous Expense




                     Randolph Young & Chapman Co Inc




                                                                                                           FB0308
(Page 1   of   1)

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                                                           .F'airmtllQ Sll,517:lf




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                                                                                                                              FB0309
(Page 1   of    1)

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               To: P3WorkflowIMAP <p3workflowimap@fbfs.com>


               cc: Jim Defea <jim.defea@fbfs.com>


               From: Cindy Arneson <cindy.arneson@fbfs.com>
               Sent on: 06/14/2016 10:02:27 AM
               Subject: A090314P00


               Returned mail

               Cindy Arneson

               Administrative Assistant 111
               SD Business Unit
               Farm Bureau Financial Services
               PO Box 1397
               Huron SD 57350
               (605)353-8014 phone
               (605)353-8020 fax
               cindy.arneson@fbfs.com



               Attachments:
               content.pdf




                                                                                             FB0310
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                             Final
                                            •=-
                        FARM BUREAU FINANCIAL SERVICES

                                          Casualty E-Report
 Date of Current E-Report:            February 22, 2017
 Current E-Report Prepared By:        Jim DeFea
 Date of Initial E-Report:            October 20, 2016
 Initial E-Report Prepared By:        Jim DeFea
 Business Center:                     SDBU
 BCCC:                                Drew Van Woert
 CCC:                                 Charles Petrik

 Any other Farm Bureau Policies with Potential Coverage for this Claim:  No
 Primary              Excess
 If Yes, Give Policy Type, Policy Number, Claim Number, Adjuster, and BCCC:
••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                                  POLICY INFORMATION
 Policy #:                 7936007
 Claims #:                 A090314P00
 Date of Loss:             10/17/14
 Time of Loss:                   PM
 Date Loss Reported to FBL:11/21/14
 Effective Policy Dates:   5/16/14 to 5/16/15
 Agent:                    Pam Green

 Named Insured:               Leonard Gregerson
 Coverage:                    OTHER
 Coverage Limit:              $140,000.00
 Umbrella:                    No
 Umbrella Coverage Limit:


 Explain Any Coverage Issues/Additional Coverages/Duplicate Coverages: Livestock scheduled
 under blanket coverage. Insured turned over for custom feeding and contracted feeder
 converted portions of herd to his own use.

 Livestock is covered for special perils limited to named 1-10, 30 & 31. On P-3 this livestock is
 shown listed as covered by class, it is in effect "scheduled". Therefore it is subject to conditions
 in both the general sections and the property sections as shown below.

 Special Causes Of Loss
 When the Declarations indicate that Farm/Ranch Personal Property is insured for Special
 Causes of Loss,the following additional provisions apply.
 Livestock
 If insured under this module, we cover "livestock" only for losses "caused by" the Named
 Causes of Loss numbers 1 through 10, 30 and 31.

                                                                                          FB0311
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 Additional Causes Of Loss

 31. Loss to Livestock. We cover direct physical loss to covered "livestock" "caused by":
 a. Accidental Shooting. We do not cover under this cause of loss shootings by any "insured" or
 your employees or tenants;
 b. Attack by Dogs or Wild Animals. We do not cover loss caused directly or indirectly by fright
 or
 by dogs owned by any "insured";
 c. Collapse, meaning collapse of buildings, bridges or culverts;
 d. Drowning, from external causes, including flood, except for "livestock" under 15 days old;
 e. Electrocution; or
 f. Loading or Unloading accidents resulting in their death and occurring while they are being
 loaded or unloaded from vehicles other than contract carriers.

 Named Causes Of Loss Index

 10. Theft

 There is no coverage for:

 g. Loss of "farm/ranch" personal property or "business" personal property by losing,
 misplacing, mysterious disappearance or where the only evidence of loss is a shortage disclosed
 upontaking inventory.

 Scheduled Personal Property Module

 There is no coverage for loss to "livestock" "arising out of":
 A. Fright, or as the direct or indirect result of fright, however caused:
 B. "Suffocation" or "smothering"; or
 C. Escape, wrongful conversion, or embezzlement.

   Livestock/Poultry




       Type             Item Type                I tem Description      %0!/im    Qty         Unit Value    AC\/            '"fr
      Schedllleal      Horses/Ponies            Kyles horses                100           2         5,000           10,000 YES
      Schedllled       Stock, Bll1is            blulls                      100          10         6,500           65,000 YES
      Schedllleal      Stock, Calves/Ste , , , calves                       100         175           800          140,000 YES
      Schedllleal      Stock, Co111isftieifers co111,1Jheifers              100         175         1,500          262,500 YES
      Schedllleal      Stock, Co111•s)Heifer.s Kyles co111,isJheifers       100         180         1,500          270,000 YES
      Schedllleal      Stock, Calves/Ste , , , Kyles calves                 100         180           800          144,000 YES
      Schedllleal      Stock, Bulls             kyles bulls                 100           6         6,500           3,9,000 YES




■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■




                                   WATCH LIST AND OTHER REPORTING

                                                                                                                            FB0312
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 79 of 158 PageID #: 365



 WATCH LIST / REINSURANCE / ERRORS & OMISSIONS (E&O) / REFORMATION
          Watch List Notified:       Yes           Date Notified:        10/21/16
 Watch List Qualifying Criteria:
             Watch List Code:                      Date Last Updated:

            Watch List Closed:                     Date Closed:
               CCC Notified:                       Date Notified:

          Reinsurance Notified:      No            Date Notified:
          Reinsurance Claim #:
            Retention Amount:
            Recovery Amount:                       Recovery Date:
           Reinsurance Closed:                     Date Closed:


            E&O Committee:           No            Claim #:
        Committee Decision:

        Reformation Committee:       No            If “Yes”, Date:
        Reformation Decision:

 BAD FAITH (BF) / EXTRA CONTRACTUAL OBLIGATIONS (ECO)
               BF / EC Alleged:  No          If “Yes”, Date:
               Who Alleged, How Communicated, and Allegations Made:

               ICPL Carrier:
               Carrier Notified:                    If “Yes”, Date:
               Notified by:
               ICPL Updates:
■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■




                                    LOSS DESCRIPTION
 Location of Loss:           Meade County SD
 Detailed Loss Description: Insured contracted with custom feeder to finish cattle. Insured
                             delivered portions of herd to custome feeder who then converted a
                             portion of that herd for his own use. Conversion of herd took place
                             over a several month timespan and the custom feed llot was located a
                             hundred miles from insured premises.
 Names of all Potential Insureds under Farm Bureau policies who have Potential Liability
 Exposures:                                Relationship to Named Insured:
 Aggravating Issues:         No              BAC:
 Police Photos Available:                    If “Yes”, Have They Been Obtained:
 Citation(s) Issued To:                      For:
 Disposition of Citation:
 Scene Photos Obtained:
 Statements Obtained from all Parties including Witnesses Identified in Police Report:

                              Yes (Insured)

                                                                                        FB0313
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 80 of 158 PageID #: 366




 Non-Waiver Agreement:         Yes            If “Yes”, Date Signed:       11/24/14
 Reservation of Rights:                       If “Yes”, Date Sent:


 Other Party Responsible:                 If “Yes”: Name
                                          Insurance Company
                                          Coverage Limit:
                                          Asset Check Completed:
 SIU Notified:                 Yes        Reason:

 Liability Analysis of all Involved Parties: Coverage determination
■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■




                             INJURED PARTY INFORMATION
 Line Number:                  01
 Name of Injured Party:        Leonard Gregerson
 Address:                      13765 Lame Johnny Rd,
                               Fairburn SD 57738
 Occupation:                   Rancher
 Marital Status:               Married
 Spouse Name:                  Patty


        INJURY BREAKDOWN
                 FRPP Claimed:                $85,439.00
                 FRPP Documented:             Yes

                 Paid Amounts:               $0.00
                 Total Specials:             $85,439.00
                 Additional Comments:        Lost livestock: The insured feels the value of the cows
                               are $2850 each and they weighed 1450 lbs. each 15 @ $2850 is
                               $42,750

                               The insured lost 27 calves and the just sold calves at $1587 each. The
                               calves weigh 570lbs on average. 27 calves @ $1587 is $42, 849.

                               Total claimed is $85,439.00


        PLAINTIFF ATTORNEY IDENTIFICATION
                 Attorney Name:       Dan Holloway
                          Firm:       Abourezek Law Firm
                       Address:       PO Box 9460, Rapid City SD 57709
                        Phone #:      605-342-0097

                                                                                          FB0314
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                                        •=-
                     FARM BUREAU FINANCIAL SERVICES
••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                        RESERVES/EXPENSE/STRATEGY

       RESERVE HISTORY

       Claimant: Leonard Gregerson
             Initial Reserve (Numerical only): $t.00
             Current Reserve:    Date Changed:Reason for Change:
             $500.00              10/1/16           reopened



             Authority Needed?                     Who?
             Reserve Deviation Required: No Date Notified:

       NEGOTIATIONS
             Claim Value Range:                        to
             Authority Requested:
             Authority Granted:                          by:
             Demand:            Date:                  Offer:        Date:




             Personal Liability Exposure Letter Needed (Include All Insureds): No Yes/No
             Date Notified:

             Settlement Amount:                $53,720.00
             Structures Presented:

       ALTERNATIVE DISPUTE RESOLUTION (ADR)
             ADR Attempted:     No     Date:
             Pre-Suit ADR:
             Mediator:
             Demand Going In:
             Offer Going In:
             ADR Result:               If Settled, Amount:
             ADR Expense:
             Total LAE Including Attorney Fees:
             LAE Avoided:
             ADR Comments:



                                                                                FB0315
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         LITIGATION HISTORY
                Claim System Coded to Litigated: N/A                   Date:
                Case Name:                                        v.
                Cause for Suit:                                        (Liab, Dmgs, SOL, etc.)
                LSS Matter #:
                Date Suit Filed:
                Date of Service:
                Answer Date:
                Court Venue:
                Close of Discovery Motion Date:
                Dispositive Motion Date:
                Pre-Trial Date:
                Trial Date:
                Damages Pled:
                Resolution:                                            Amount:
                Date Suit Closed:

               Defense Attorney:
                           Firm:
                       Address:
                        Phone #:


 TOTAL LAE INCURRED TO DATE:                              $0.00
 ESTIMATED FUTURE LAE:                                    $0.00

 TOTAL INDEMNITY INCURRED TO DATE AND TYPE:
 $0.00


 UPDATES:
 10-21-16:

 See attached correspondence and claim file. Insured attorey requested written response to position on
 coverage.

 2/22/17

 Claim has concluded with settlement reached with insured and his attorney in the amount of
 $53720.00

 Paid final legal billing to Lynn Jackson, closed file.

 Closing LSS as well.


                                                                                            FB0316
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 **ATTACH ANY PHOTOS UNDER SEPARATE FILE**




                                                                        FB0317
(Page 1   of    1)

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               To: P3WorkflowIMAP <p3workflowimap@fbfs.com>


               From: Kevin McCoy <kevin.mccoy@fbfs.com>
               Sent on: 07/18/2018 01:19:05 PM
               Subject: A090314P00
               From: Kevin McCoy
               Sent: Wednesday, July 18, 2018 1:18 PM
               To: Jim Defea <jim.defea@fbfs.com>; Drew Van Woert <drew.vanwoert@fbfs.com>
               Cc: Mike Ensley <Mike.Ensley@fbfs.com>
               Subject: FW: Gregerson Complaint - Claim# A090314P00


               Jim and Drew,
               As you can see, we received notice of this new suit.           There is a count for Bad Faith.     We
               will need an updated E-report.
               Jim, I attached the last version that I had.          It was dated 2-22-17.


               We will be scheduling a conference call soon.


               Thank you




               From: Lana Deering
               Sent: Wednesday, July 18, 2018 11:03 AM
               To: Mike Ensley <Mike.Ensley@fbfs.com>
               Cc: Karl Olson <Karl.Olson@FBLFinancial.com>; Janet Reiter <janet.reiter@fbfs.com>; Kevin
               McCoy <kevin.mccoy@fbfs.com>
               Subject: Gregerson Complaint


               Please find attached a copy of the Gregerson Complaint which was filed against Farm Bureau
               Property     &   Casualty Insurance Company in the U.S. District Court for South Dakota. Service on
               Farm Bureau was accepted by the South Dakota Insurance Commissioner on July 16, 2018.            It is a
               first-party property loss claim arising out of the alleged theft of cattle.          The Complaint
               alleges breach of contract and bad faith and includes a claim for punitive damages based on
               alleged improper claims handling ..         There is also a request for attorney's fees.   This lawsuit
               needs to be reported to both the Watch List and the Bordereau.
               I will interoffice a hard copy as well today.



               Lana S. Deering
               Legal Assistant
               Parker   &   Geadelmann, P.L.L.C
               5400 University Avenue, West Des Moines, IA 50266
               Ph:    515-225-5649     I   Fax: 515-453-3324



               Attachments:
               Gregerson Complaint.pdf
               Closing E-Report - Gregerson, A090314P00 , 2-22-17.docx




                                                                                                                FB0318
(Page 1   of   17)

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                         SOUTH DAKOTA                                                   DIVISION OF INSURANCE


      ~I                 DEPT. OF LABOR
                         & REGULATION
                                                                                       Tel: 605.773.3563   I Fax: 605.773.5369
                                                                                        dlr.sd.gov/insurance




                     July 16, 2018
                                                                                    VIA CERTIFIED MAIL

                     Farm Bureau Property and
                     Casualty Insurance Company
                     Attn: Legal Department
                     5400 University Avenue
                     West Des Moines, IA 50266


                     Re: . 18-SC-0033
                           Patricia Gregerson vs. Farm Bureau Property & Casualty Insurance Company



                     Pursuant to SDCL 58-6-39, we are enclosing a copy of a Summons and Complaint, a
                     complaint in the above-entitled action in which your company is a party. Service was
                     admitted on the 16th day of July, 2018, at 9:00 a.m.

                     Should the matter be resolved through a settlement agreement, the Division requests
                     that the settlement agreement not contain a confidentiality agreement that would
                     preclude our obtaining information pertinent to the suit, so as to avoid conflict with the
                     Division's broad statutory mandate allowing us to obtain any information we ask from
                     licensees.                                                      ·

                     Please contact Eva Briggs at (605)773-4104 should you have any questions.

                     Sincerely,




                     Larry Deiter, Director
                     S.D. Division of Insurance




                                          124 South Euclid Avenue, 2nd Floor   I   Pierre, SD 57501
                                                                                                                        FB0319
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               AO 440 (lle1·. 06/12) Swnmons hi a CMt Atliun


                                                      UNITED STATES DISTRICT COURT
                                                                               for the
                                                                    District of Soulh Dakola      (2)
                                PATRICIA GREGERSON                               )
                                                                                 )
                                                                                 )
                                                                                 )
                                           PltiintJJ/(s)                         )
                                                                                 )
                                                v.                                       Civil Action No. 5:18-CV-05044-JLV
                                                                                 )
                      FARM BUREAU PROPERTY AND CASUALTY                          )
                              INSURANCE COMPANY
                                                                                 )
                                                                                 )
                                                                                 )
                                                                                 )

                                                               S1,JMMONS IN A CIVIL ACTION

               To: <Dcfcndam·snanic a1tdaddrcssJ FARM BUREAU PROPERTY AND CASUALiY INSURANCE COMPANY
                                                 VI.A: ITS DESIGNATED AGENT          .
                                                 LARRY DEITER, DIRECTOR
                                                 DIVISION OF INSURANCE
                                               . SOUTH DAKOTA DEPARTMENT OF LABOR AND REGULATION
                                                 124 SOUTH EUCLlD AVENUE, 2ND FLOOR
                                                 PIERRE, s·D 57501
                         A lawsuit hns been filed against you.

                        Within 21 days after service of this summons on you (not e.ounting the day you received it)~ or 60 days if you
               are the United States or a Unitaj States agency, or an officer or employee of the United States described in Feel R. Civ.
               P. 12 (a)(2) or (3) ~ you must ~rve on the plaintiff ah answer to the ~hed complaint or a motion under Rule 12 of
               the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's oltomey,
               whose name and a~dress are:
                                               DANia BRENDTRO
                                                       BRENDTRO LAW FIRM
                                                       P.O~ BOX 2583      .
                                                       SIOUX FAL~S. SD 57101



                         If you fail to respond, judgment ~Y default will   be entered against you for ~e relief demanded in the complaint.
               You also must f}le your answer or motion with the court                                  .,                ·




                                                                                                 SUMMONS ISSUED:
                                                                                                   10:47 am, Jul 03, 2018
                                                                                                 MATTHEW W. THELEN, Clerk
                                                                                                               2:-+
                                                                                                 By: _ _ _ _ _ _ _ __
                                                                                                              Deputy Clerk




                                                                                                                                       FB0320
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                                              UNITED STATES DISTRICT COURT
                                               DISTRICT OF SOUTH DAKOTA
                                                               WESTERN DIVISION


                       PATRICIA GREGERSON
                                                                                      CIV."18-:-5044- JLV
                                  · .... · Pla.intiff, .

                       vs.                                                         COMPLAINT.
                                                                                  ANDDEMAND
                        FARM BUREAU PROPERTY AND                                 FOR JURY TRIAL
                        CASUALTY INSURANCE COMPANY,

                                         Defendant.


                               Patricia Gregerson~ the Plaintiff, brings this action for herself;
                                         •                 '        '        •               I




                     indiyidually, as        well as on behalf of the Estate ofher late ·h~sband, :1&.onard
                     Gregerson. For her Complaint, she states ~d alleges as follows:

                                                               Nature of tbe Action

                              : Patricia Greger$on and her late hus~and, Leonard, wer~ the victims

                     of ~attle theft. Their insurer wrongfully denied their claim for two years

                      witho~t a legitimate basis or any m_eanb1gful inyestigation.               Pa~cia bririgs

                      this diversity suit against the Fann Burea~ to _recover general, special, and

                      punitive damages for its wrongfui 900-duct, as well as to'.recover attorney's

                      fees.



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                                                             Parties

                        1.      Plaintiff, Patricia Gregerson, is a resident and citizen in South

                               Dakota. She is also the Personal Representative of the Est_ate of

                               .Leonard
                                 .
                                        Gregerson. She brings
                                                          .
                                                              this action on behalf of herself and
                                                                                   .     .




                               · the Estate.

                        2,     Leonard Gregerson's estate is being informally probated in Custer

                               County, Sou~ Dakota.

                        3.     Farm Bureau Property and Casualty Insurance Company is an Iowa

                               ~orporation~ · Its principal place of business is at 5400 U~iversity

                               Avenue, West Des Moines, Iowa, 5026_6. Itwillbe referred to in this

                               .pleading as "Farm Bureau Insurance.,,

                        4.     Farm Bureau Insurance is authorized by the South Dakota Division

                               of Insurance to do busin~~-s in this State a_nd has appc,inted the

                               Director of the Division of In~urance as their attorney to receive legal

                               process issued against them in South Dak_ota. _

                                                  · Jurisdiction anq Venue

                        5. ·   Plaintiff invokes the jurisdiction of this Court pursuant to 28 U.S.C §

                               1332 based upon diversity of the parties.

                      · 6.     Complete diversity exists between Plaintiff and Defendant.


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                      7.    The amount in controversy exceeds $75,000.

                      8.   . A, substantial part of the eve_nts or omissions giving rise to this action

                            occurred in South Dakota.. Venue is prop~ in this Court pursuant to

                            28 p.s~c. § 139l(b)(2) or (3).
                                                    .    .

                                                  Factual Backgro~d
                                  ~         .                                               '




                      9.    Oil or about February 10, 2014; Patricia Grege~on., arid her husband,
                            Leonard Gregerson (now 4eceased),.transported th~ir 135 bred cows

                            to Karl Knutson's property in Vale, South Dakota, for calving an.d

                            sum.mer pasture. C>f these cows, one was euthanized after an injury

                            and five others were returned to the Gregersons to be re-bred after

                            the death of their calves.

                     10.    In the spring, the·Greger~ons traveled to the summer pasture site for

                            a branding party, during which 1i1new calv~s were branded with the

                            family's brand and tagged wj,th green tags in the left eai:: Karl

                            Knutson tQld the Gregersoils that a fe~ other cows wer~ still on the

                           -· "calvhig pasture," so ~e Gregersons believe they also owned a few
                                            .                      .

                            more calves which were not ~randed.at that time.

                     11.    Therefore, as of May 2014, th~ Gregersons owned 129 cows and at

                            least 127 calves which they pastured at the Karl Knutson property.


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                      12.   When the Gregersons returned in mid-September 2014 to vaccinate

                            their herd, a substantial number of cows and calves were missing.

                      13.   The value of the ·missing livestock was in the tens of thousands of

                            dollars, and, therefore, on several different days over the course of

                            several weeks, the Gregersons conducted a careful and exhaustive

                            search to attempt to locat~ and recover the animals. The search -

                            included the entirety of the summer pasture, ~e surrounding areas,

                            and discussions with neighboring ranche·rs. They searched for strays

                            and carcass~s, examined the fencing for cuts or washouts, and

                            checked the remaining cattle for signs ofinjury from loose fencing.

                            They used four-wheelers to aid the search. They observed that the

                            Knutson summer pasture terrain is flat, with almost no trees; there

                            are no deep gullies or wooded areas where cattle could get lost. They

                            confirmed with the hired man that no cattle had been killed by wild

                            animals. The exh~1:-1stiye search yielded rione of the missing cattle.

                      14.   By the following month (October 2014), the Gregersons concluded

                            that theft was the only plausible explanation for the missing cattle.

                            They also believed that Karl Knutson was acting suspiciously. The

                            Gregersons filed a report with local law enforcement for the theft of


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                            16 cows and 27 calves, and the Meade County Sheriff's office began

                            investigating Case Report #14-10385. The Sheriff's office received

                            the Gregersons, full cooperation, and they were never considered or

                            treated as suspects. The Gregersons also reported the stolen cattle

                            via the South Dakota Brand Board,s November 2014 newsletter

                            alert.

                      15.   Shortly thereafter, the Gregersons then reported the theft of 16 cows

                            and 27 calves to Farm Bureau Insurance, making a claim for

                            payment.

                      16.   At the time., the Gregersons' farm and ranch policy included

                            scheduled coverage -for livestock, including loss from theft. Their

                            premiums had been paid in full, and the Policy was in full force.

                      17.   Farm Bureau Insurance denied the claim, via a February 17, 20l5,
                            letter, referencing Claim A090314P00 under Policy# 7936007.

                      18.   It is uncle~r:what, ff any, investigation Farm ~ureau Insui]mce

                            performed_ptior to denying the claim.

                      19.   Farm Buteau Insurance issued a nearly i_dentical denial letter a month

                            later, in March 2015, again disclaiming coverage of any kind~




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                       20.    For the next two years, the Gregersons continued their attempts to

                              recover payment upon their claim. In May 2016, the Gregersons sent

                              the first ofwhat would eventually be Im. foHow-up letters attempting
                                                                                      .   .    .




                              to get their claim.paid. Their May 3, 2016, letter (i.e., the 1st letter}
                                    .            "



                             . reiterated their request for payment of their claim, and they

                              attempted t9 explain the claim in further detail. In response, on May

                              20, 2016, Farm Bureau Insurance repeated its denial, writing that

                              '' the facts of this incident have not changed the coverage issues.,,

                              Th~ cC>mpany's denial letter included courtesy copy ofits original

                              February 17,. 2015, letter.

                      21.     The Gregersons ultima_tely retained an attorney regarding the

                             · coverage issue. To begin, their attorney wrote a l~tter on September

                             2, 2916, .(i.e., the 2nd letter), in which he explained that he ~ad.
                              revi~wedthe company's prio~ correspondence and found no

                             ·. explanati~.n about the reasons for the denial; he therefore asked for

                              an explicit explanation of the denial, in writing. Inresponse, Farm

                              Bureau Insurance wrote a letter on September 27, '2016, but this

                              letter did not provide an explanation for the denial.




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                       22.    On October 31 2016, the Gregersons' attorney responded again (the

                              3rd letter), pointing out that the insurance company 1s September 27th

                              response still did not discuss or describe the basis for the denial, and,

                             :again asked for "a written statement explicitly_laying out the exact

                              reasons why Farm Bureau denies the Gregers.on~' daim.,,

                       23.    Hearing nothing, the Gregersons' attorney wrote additional follow-

                              up letters on October 12, 2016, October 21, 2016, and November 1,

                              2016, seeking the same ii,forrnation (the 4th , 5th and 6th letters).

                       24.    On November 7, 2016, Fann Bureau Insurance wrote that it had

                              hired an attorney'who was so busythat he would need until "near the

                              end of the month ... to get back to· you."

                       25.    Hearing nothing from Farm Bureau 1 s attorney by "the end of the

                              month,,, the Gregersons' attorney then sent several more letters

                              asking about the status of the daim 1 including on December 5, 20l6,

                             . December 12, 2016, December 19, 2016 1 and December 28, 20_16 (the



                       26.    Finally, Farm Bureau Insurance responded to the tenth letter (sent

                              on December 28 th). On December 29, 2016, Farm Bureau Insurance

                              sent a very short letter, saying that it had determined that there m


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                             indeed coverage under the PglicJ and that it was now willing to get

                             the claim "paid promptly.,, In its entirety, the letter said that, "In

                             reference to the Gregerson>s claim, Fam:i Bureau has concluded its

                             investigation am;i made the determination that there is coverage

                            . ·under
                                .  '
                                     the policy.
                                          .
                                          .
                                                 Please give me a call. Perhaps we can get this
                                                  .


                             matter adjusted and paid promptly." .

                      27. · However, two weeks later,and prior to.issuing payment, Farm

                             B1:1feau Insurance sent a ''release,, for the Gregersons to sign in

                             order to get their claim paid, which would require th~ril to giv~ up

                             "any cause of action which [the Gregersons] could present against

                             Farm Bt;ireau arising out of or in ·any way r~lated to the loss and/ or

                             theft of cattle.,,
                                              .                                         .
                      28.    The Gregersons's· attorney responded by pointing out thatthe

                             insurance company has a duty tq pay claims without the need for a

                             release, and asked, "_Please just have Farm Bureau figure out what

                            · they think they owe the Gtege_rsons on the claim and then pay it

                             un~onditionally. Hit's Qwed on the insurance claim, then it's the

                             Gregersons' money. Farm Bureau should pay that with~ut putting

                             any conditions on it or mixing it up with other issues."


                                                             8

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                       29.     Fann Bureau Insurance finally paid the claim without conditions.

                       30.     On January 13, 2017, Farm Bureau Insurance issued checks for

                              · $53,720 (an amount wtiich include~ $960per head for 27 stolen _

                               calves~· and $1,800 per heac;l for. 16 cows, less the $1,000 deductible):
                                                                         '   '                               '




                       31.    This payment was issued over two .years following the dat~ upon .· ·
                                                          .                      .
                              which the Qregersons first reported their loss to Fann Bureau

                              ·Insurance. .

                                                                  Count I.
                                                       Breach of Contract

                      . 32.    Patricia Gregerson and Leonatd Gregerson We1:"f insureds under_ ~e·

                               Policy. ·

                       33.     Farm Bureau ~sµratjce refused or failed to timely pay or provide
                                                              .                      .


                              benefits as ·required under the P~li¢y and_refused or faile~ to honor

                               its duties 1.-.nde·r the P9licy, and ~ts statut_ory duties, i~~luding those

                              .set forth in SDCL.58·33•67.
                                                      . . .Such refusals or failures
                                                                                . .  constitute a. .....




                              breach of th~ :ins~nce eontract

                       "34.   Fann J3ureau Insurance also &iled to timely investigate the claim or

                              to explain to Patricia Gregerson and Leonard Gregerson why Farm

                              Bureau Insurance was refusing to pay their claim.



                                                                     9

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                      35.    The Gregersons were damaged in an amount to be determined at

                             trial.

                                                          Count 2.
                                                         Bad Faith
                                                          .                                    .
                      36.    The Policy was a ·valid contract for insuran~e between the parties.

                      37 ~   The Gregersons ,: theft claim was compensable under the terms of the

                             P~licy.

                      38.    Iri Sou~ Dakota, insurers have a duty to give equal consideration to

                             the interests of ~e.ir insureds throughout the entirety of the claim·

                             process.

                      39.    Farm Bureau Insurance consciously engaged in wrongdoirig by
                             denying avalid claim, and by otherwise delaying the investjga~on,

                             the_ processing, and the payment of the claim.

                      40.    Farm Bureau Insurance's conduct was unreasonable; and F~

                             Bureau ~ew o~ should have knqwn its conduct was~unreasonable, or,

                             it acted in reckless disregard of.the existence of coverage, its duty to -

                             investigate, its duty to process claims, its statutory duties~· and its

                             dutr to pay the claim in a timely manner.

                      41.    Farm Bureau failed to properly and promptly investigate;

                             communicate available coverage; pay the amounts due; provide

                                                              10


                                                                                                          FB0330
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                               benefits per the Policy; and failed to otherwise act in a manner that

                               gives equal consideration to the Gregersons 1 interests as Fann

                               :aureau's.

                      · 42.    These·and other s·uch acts and omissions breached Fann Bureau·'s

                              . tluty of go·od faith it owed to the Gregersons, under the Policy. _

                       43.     Upon information and belief, Farm Bureau Insurance designed its ·

                              . claims handling pr_ocess to unfairly deny valid claims, thereby forcing
                                        .   .       .                                     .
                               its insureds to take extra steps to obtain payme~t while hoping that

                               .enough people would be discouraged fro~ pursuing benefits to

                               enable Farm Bm:eau to realize a profit at the expense of1ts insureds.

                       44.     In addition to violating the letter and spirit of the Policy language~

                               FQrm Bureau Insurance's conduct constituted unfair or deceptive

                               pr~ctices and were a violation of its statutory duties; including those

                               set f~rth in SDCL 58~33-67.

                       45.     The Gregersons. were damaged in an amount to be determined at

                               trial.




                                                               11


                                                                                                          FB0331
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                                                          Count 3.
                                             Remedies for Statutory Misconduct

                      46.       Farm Bureau Insurance, s conduct, described above, was vexatious or

                                without reasonable cause, entitling the Gregersons to an award of

                                attorney's fees pursuant to SDCL 58-12--3.

                      47.       Farm Bureau's conduct, including the foregoing, amounts to unfair

                                and/or deceptive acts or practices in the business ofinsurance as

                                proscrib¢d by SDCL 58-33-5 and Chapter 58-33 generally.

                      48.       The Gregersons are entitled to recover all their actual and

                                consequential damages as a result of Farm Buteau 's unlawful acts or

                                practices, as provided by SDCL 5~-33-46.1.

                      49. -Included in that calculation of damages are their reasonable attorney

                                fees to be set by the court, also provided by _SDCL 58-33-46.1.

                                                           Count 4.
                                                       Fraud apd Deceit
                            -          -

                      SO.       Farm Bureau~ by and through agent James M. DeFea, its Claims

                                Consultant, advised Patricia and Leonard, via a letter to them in

                                Fairburn, South Dakota, that there was no coverage for their claim.
                                             -                                                    -



                      51.       This statement was untrue, and Farm Bureau knew or should have

                                known it was untrue.


                                                               12


                                                                                                       FB0332
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                        52.    Patricia and Leonard relied upon this statement to their detriment,

                                and Farm Bu~au intended for them to so rely.

                        53.    Farm Bureau owes Patricia the legal duty whi_~h is due from every

                               man to his feliow, to respect her rights of .prop.erty
                                                          .                    -.
                                                                                      and refrain from
                                                                                           '




                               ·invading them_ by fraud.

                        54.    __ Farm Bureau breached that common l.a~ duty, and/or those

                               statements made by Farm Bureau constituted statutory deceit und~r ·

                               SDCL 20-16-1 and SPCL 20-10-2(1)'."-(3) •

                      . .55.   The actio11s and statements _of Fann Bureau ~ere conducted by and

                               ratifi_ed by its agents, acting in concert with each other.

                               The Gregersons were damaged in ·an amount to be determined at .
                               trial.·                           ··

                                                              Damages·

                        56.    As a. ~suit of Farm Bu_reau Insurance's acts and oIIll~sions, the
                                           .          .   .                            .

                               Gregersons suffere~ ,h~rins and losses, including direct and

                               consequential damages~-including:

                                     a. Delays in payment of money owed to them under the

                                       . Policy; ·

                                     b. Consequential harm .to their farm operations arising from

                                         the deprivation of the use of the money owed;

                                                                13

                                                                                                         FB0333
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                                   c. Unnecessary frustration, aggravation, annoyance, and

                                      anxiety from the effort to deprive them of the money owed;

                                      and

                                   d. Attorneys' fees.
                                                   .           .

                                                   Punitive Damages

                      57.   Farm Bureau is guilty of oppression, fraud, actual malice, and/or

                            presumed malice; it acted intentionally, engaged in willful and

                            wanton misconduct, in disregar~ for the rights of others, and in a

                            manner which was oppressive to its policyholders.

                      58.   The Gregersons are en_titled to punitive damages to punish Farm

                            Bureau and   for the sake of example, under SDCL 21-3-2.
                                                       Prayer for Relief

                            Patricia requests that this Court:

                            A.    Enter amoney judgment in her favor for her and Leonard's

                                  hanns and losses, including, actual and consequential

                                  compensatory damages, and punitive damages.

                            B.    Award her costs and disbursements herein.·

                            C.    Award all actual and consequential damages suffered by them,

                                  and reasonable attotney>s fees, under SDCL 58-33-46.1.


                                                              14

                                                                                                   FB0334
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      "     iii.                   ..




                                             D.            Award attorney's fees under SDCL 58-12-13.

                                             E.            Provide such other further relief as the Court deems jlist"and

                                                           eqqitable_. _-


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                                               FARM BUREAU FTNANCJAL SERVICES      •=
 September 27, 2016



 DAN HOLLOWAY
 ABOUREZK & GARCIA
 P.O. Box 9460
 Rapid City, SD 57709


 RE:           Insured:                                   LEONARD GREGERSON
               Policy Number:                             7936007
               Date of Loss:                              10/17/2014
               Claim Number:                              A090314P00

 Dear DAN,

 This letter will serve as a cknowledgement of receipt of your notice of representation of the
 above person and incident as captioned above as well.

 Dan, once you receive this letter please do feel free to giving me a call to discuss this claim. If
 there are any documents you require in advance to assess the coverage issue please let me know
 and I will gladdly send the same as soon as available.

 I believe Mr. Gregerson has supplied us with all of the information suppording the claim so we
 most likely have all we need to understand the occurrence. If it should turn out that we are
 missing any documentation we can determine that once you and I have discused.

 I can be reached at the below number.

 Sincerely,




 James M. DeFea, CPCU, CLSSGB, AIC, AIS, AINS
 SD Business Center Bodily Injury Specialist
 Farm Bureau Property and Casualty Insurance Company
 PO Box 9168
 Des Moines, IA 50306-9168
 605-977-3485 (Office)


                       5400 U NIVERSITY AVENUE • W EST DES MOINES, IOWA 50266-5997 • 515.225.5400 • www.fbfs.com
                                      I                                                     I                                        I
 Fam1 Bureau Life Insurance ComP3.oy• Frum !Jure.au PropertJ' & Cnsunhy Insurance Comp.u1y• Western Agricultural lnsumncc Company• •Compony pro, i der-s of Farm !Jmcau 1:inanciol Scn•iccs
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                                               FARM BUREAU FTNANCJAL SERVICES      •=




                       5400 U NIVERSITY AVENUE • W EST DES MOINES, IOWA 50266-5997 • 515.225.5400 • www.fbfs.com
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                                       **   SIU BILLINGTON CLOSING SUMMARY**

                     RECEIVED REFERRAL FROM: SIU Referral Desk.

                     REASON FOR REFERRAL:

                        •   Assist Claims in determining coverage.

                     ISSUES   &   FOCUS: Confirm or rule out the facts of this claim.

                     INVESTIGATION STATUS: Closed.

                     CLOSING SUMMARY AS FOLLOWS: SIU assistance was requested in
                     determining coverage through reaching out to law enforcement.
                     SIU spoke with the Investigator in charge of a criminal
                     investigation; the information was relayed to Claims for their
                     decision.

                     REFERRAL TO DEPARTMENT OF INSURANCE: No.




                                                                                             FB0338
(Page 1   of   1)

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                                    **   SIU BILLINGTON INITIAL ACTION PLAN**


                     ISSUES:

                        •   Coverage,

                        •   Status of the criminal investigation.


                     INITIAL ACTION PLAN:

                        •   Discuss claim with Field Claims Representative Mike
                            Elliott, (completed),

                        •   Review file,    (completed),

                        •   Conduct pertinent database checks on all involved parties,

                        •   Liaison with the Meade County Sheriff's Office,
                            (completed) .



                     INVESTIGATIVE FOCUS:

                        •   Assist claims in ascertaining whether there is coverage in
                            this claim.


                     REQUEST FOR FCR:

                        •   Let's keep talking, Mike.




                                                                                             FB0339
                                                                          Page 1 of 1
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A new claim has been assigned to you. A task has been sent to your workflow queue.

Claim number:   A090314P00   (FBL Claim number)
Insured Name: LEONARD GREGERSON     (First Named Insured)
Insured Address: 13765 LAME JONNY RD,
FAIRBURN, South Dakota, United States, 57738.   (First Named Insured Address)



Batch print attachment          FNOL snapshot attachment             (Both attachments will be attached to the claim)




                                                                                                         FB0340

https://tools.fblfinancial.com/WorkplaceXT/getContent?objectStoreName=PropertyCasualt...                    8/3/2018
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 Carl Oberlitner
 Policy: A090314P00
 Page 1 of 5

 This is Mike Elliott I’m speaking with Carl Oberlitner we’re discussing an incident that
 occurred on the 17th of October 2014, today’s date is Monday November 24th 2014,
 the time is 10:22 a.m. Carl do you realize that I’m recording this interview?

 A.   Yes I do.

 Q.   Do I have your permission to do so?

 A.   Yes.

 Q.   Could you tell us your full name please?

 A.   Carl Oberlitner.

 Q.   How do you spell your last name?

 A.   O-B-E-R-L-I-T-N-E-R.

 Q.   Okay what’s your phone number?

 A.   605-255-5750.

 Q.   And your home address?

 A.   72 Fairgrounds Place, Hermosa.

 Q.   Okay and um do you have a cell phone number?

 A.   Yes ah 890-1357.

 Q.   Okay what’s your date of birth?

 A.   Ah June 22nd 1943.

 Q.   Are you married?

 A.   Yes.

 Q.   What’s your wife’s name?

 A.   Carol.

 Q.   And what’s your occupation?



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 Carl Oberlitner
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 A.   Ah I’m, I guess maybe retired I have been in several businesses throughout ah
      my life span. I was concessionaire at ah Wind Cave National Park for around
      25 years. I built and owned and operated a bowling alley in Hot Springs which I
      sold ah in 2010. Tried to retire and ah got involved in a little saloon in Hermosa.
      Moved to Hermosa ah I’ve been there Hot Springs ah for about ah 14, 15 years
      and kind of enjoyed, enjoyed that but also enjoyed moving away from it ah a lot
      of stress goes along with that. Um other than that I was raised on a farm out
      near Gettysburg, South Dakota.

 Q.   Okay. How do you know Leonard Gregerson?

 A.   Just ah socially he came into ah the bar there in Hermosa that’s where I met
      him initially um and been invited down to brandings and such on his ranch.

 Q.   Okay and um are you a business partner with him or how are you guys
      involved in regards to his cattle?

 A.   Ah he’d say kind of a—I, I don’t know what I’d call it; it’s not a formal
      partnership at all. It’s ah I loaned or provided the money to buy ah cattle and
      ah, ah there’d be a reward for me at the end of the deal if everything turned out
      okay.

 Q.   Okay and when did you loan this money to him?

 A.   Ah it provided in ah, ah January ah starting in January of this year, 2014 and
      then periodically throughout the summer.

 Q.   Okay how much have you loaned to him?

 A.   Ah approximately $330,000.

 Q.   Okay and then what, what’s the stipulation then um—how do you get
      reimbursed or when, when does that happen?

 A.   Ah I get reimbursed on the sale of the, the cattle and um that’s, yeah that’s
      when I get paid back.

 Q.   Okay, okay and can you walk us through um to what you know about these
      cattle that he’s purchase and sent up there, were you involved with the
      purchase of the cattle or?

 A.   Well I was involved from the standpoint that I you know provided the funding
      and so forth but ah he, he bought the cattle from a fellow ah down in Nebraska
      who had bought these ah or had ah, ah sources up in Montana. They came
      from Montana and ah they were ah, brought to Leonard’s ranch there ah near

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 Carl Oberlitner
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      Fairburn. That’s where they were dropped and ah, ah Leonard ah um then had
      them transported ah oh within a couple of weeks it seems like, I kind of forget
      just exactly time tables but within a couple of weeks of that why they were
      taken up to ah, ah Carl Knutson’s dad’s place there east of Vail where they
      were calved um the, ah it was kind of impressive to myself because ah where’d
      they’d taken them initially ah they had a terrific corn crop the year prior and of
      course in October of 2013 with that storm with the massive snow storm there
      that corn all kind of fell down so they were unable to harvest it so this was kind
      of the calving area and the area those cattle went so they did very well and
      looked nice and then ah later the latter part of May or early June why he ah, ah
      Carl moved them from ah that home building site or the whole place out onto
      this ah, um grazing land east of Sturgis.

 Q.   You, you know how many cows were brought up to Knutson’s place?

 A.   134.

 Q.   Okay and do you know what kind of cows they were?

 A.   They were ah for the most part Angus, they were black.

 Q.   Okay.

 A.   There was—there was a couple of baldies in there but for the most part it was
      Angus.

 Q.   Do you know how many calves were bred out there?

 A.   How many of the cows were bred?

 Q.   Or how many calves came or were born out there?

 A.   Not exactly ah I know that Carl ah had ah shared with me a log that he was
      doing when he was—when the calves were born and ah he had ear tags that
      he was putting on the calves and he was matching them up with the cows and
      ah so he was keeping a daily diary of what was happening.

 Q.   Okay and then when did you find out that there were some cows or calves
      missing?

 A.   It would have been ah when they were returned back to Leonard’s place in, in
      about the 10th of October and ah at that time why there was ah there was only
      ah 95 calves and ah then there was ah, ah I think 112 or so cows that had



 JP
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 Carl Oberlitner
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      came from up north because Leonard had ah kept two and that ah he had also
      picked up five dry cows up there.

 Q.   Okay so how many cows do you think were missing and how many calves
      were missing?

 A.   Ah cows ah we’re pretty certain or I’m pretty certain there’s 15 cows and
      calves ah based on branding was ah 122 there was 95 brought back to
      Leonard’s place ah person also has to ah be aware that there was ah 134
      cows initially went up there so ah I’m not 100% sure how many calves—what
      percentage you should have a calf crop but ah there was ah undoubtedly 12
      calves or cows that had lost calves based on that point to when the branding
      was and whether or not that a realistic or ah common I would guess it probably
      is it’s you know about a 10% loss with the calving process.

 Q.   Okay do you have an idea on the value of the cows or the calves?

 A.   Ah well calves ah based on the recent sale was almost 1600 ah, ah an average
      ah and then the cows. I know that there’s guesstimates around $2800 for, for
      the cows if they’re ah pregnant; if they’re not why I know that ah just recently
      some ah, ah cows that were ah open and ah were elderly very old, they call
      them broken jaw or broken mouth sold for right at $2,000. So they are very
      expensive so I’d say ah the cows that are missing if they were bred they’d be
      worth ah upward to $3000.

 Q.   Okay. Okay and then all, all the calves that came back have those all been
      sold then?

 A.   Ah there’s a couple of scrubs that weren’t but yeah they were.

 Q.   Okay and um have you ever heard of anyone that had difficulties with the
      Knutson’s before with, with cattle being run on their ah pasture and
      disappearing or?

 A.   Ah innuendos but no I really haven’t.

 Q.   Okay. Okay and then what do you feel happened to the cows and the calves?

 A.   It’s real mysterious ah it’s hard to imagine ah a, ah death loss simply because
      there’s no evidence. I know that ah we had encountered one that had been
      struck with lightning and I mean poor devil it killed it instantly but here it was, it
      was laying there so I mean, there’s no question in my mind that ah there, they
      have to be someplace and ah whether they wandered off onto a neighbor and
      they just haven’t gotten back it’s hard for me to even imagine that because of
      the price and the value of cattle ah for the neighbors ah, ah their integrity—ah I

 JP
 9/24/2018
                                                                                         FB0344
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 Carl Oberlitner
 Policy: A090314P00
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      come from a background where people go out of their way to see that things
      like that are returned because ah, ah hoping it will never happen to them.

 Q.   So do you, do you have any feeling of who you think could have taken the
      cattle or?

 A.   That I really, you know I’d hate point a finger at anybody but ah you have to
      think of the person that is in custody of em ah he would be—he’d have the
      better idea than anyone.

 Q.   Okay. okay Is um—do you know um if there was a sheriff’s ah report filed or do
      you know if anybody spoke to the sheriff?

 A.   Yes ah, ah Leonard’s wife and, and his son Kyle ah went to the sheriff’s office
      in Meade County.

 Q.   Okay and then um is there anything else about this that you think is important
      for us to understand?

 A.   No, it just kind of a sad deal and it is unfortunate because everything else really
      seems to work nice you know and I feel bad about this. Ah I have a brother that
      ah has got an awful lot of cattle. He has upward of 1500 head of cows and ah
      over the years I only know of ah 7 or 8 cows that turned up missing on his and
      his is ah he lives there at Gettysburg but ah he ranches or I mean he um
      employs grazing over around on the Indian Reservation there in Cheyenne
      over around Isabel and Dupree areas and ah these are remote, very remote
      areas but ah people—there just seems to be a lot of integrity in the ranching
      community so I don’t know. It bothers a guy.

 Q.   Sure, sure. Have you understood all my questions?

 A.   I think so.

 Q.   Have all your answers been true and correct to the best of your knowledge?

 A.   Best of my knowledge yeah.

 Q.   Thank you very much for your time and I’ll turn off the recording.

 A.   Thank you.




 JP
 9/24/2018
                                                                                      FB0345
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                              UNITED STATES POSTAL SERVICE




                                                                           FARM BUREAU CLAIMS
                                                                                BOX i397
                                                                             HURON, SD 57350



                                          DeFea #A090314POO .


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                                  item 4 If Restricted Delivel)' Is desired.
                            - lll Print your name and address on the reverse
                                  so that we can return the card to you.
                              Iii Attach this card to the back of the mailpiece,
                                  or on the front If space permits.               ·
                                                                                                         _D. Is deHvery address different from Item 1? D Yes
                              1. Article Addressed to:                                                       If YES, enter delivery address below:     D No

                                Leona rd & Patty Grege rson
                                13765 Lame Jonny Rd
                                Fairb urn SD 57738
                                                                                                          3•. ~ice Type                                                    ·
                                                                                                            ~ Certified Mall"           D Priority Mall ExpressN
                                                                                                              D Registered              D Return Receipt for Merchandise
                                                                                                              D Insured Mail            D Collect on Delivery
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                              2. Article Number
                                 (Transfer from service /abeQ
                                                                               7012           346 □          0002 1445 1493
                            : PS Form    3811, July 2013                               Domestic Re!urr- Receipt
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                             Final
                                            •=-
                        FARM BUREAU FINANCIAL SERVICES

                                          Casualty E-Report
 Date of Current E-Report:            February 22, 2017
 Current E-Report Prepared By:        Jim DeFea
 Date of Initial E-Report:            October 20, 2016
 Initial E-Report Prepared By:        Jim DeFea
 Business Center:                     SDBU
 BCCC:                                Drew Van Woert
 CCC:                                 Charles Petrik

 Any other Farm Bureau Policies with Potential Coverage for this Claim:  No
 Primary              Excess
 If Yes, Give Policy Type, Policy Number, Claim Number, Adjuster, and BCCC:
 ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                                  POLICY INFORMATION
 Policy #:                 7936007
 Claims #:                 A090314P00
 Date of Loss:             10/17/14
 Time of Loss:                   PM
 Date Loss Reported to FBL:11/21/14
 Effective Policy Dates:   5/16/14 to 5/16/15
 Agent:                    Pam Green

 Named Insured:               Leonard Gregerson
 Coverage:                    OTHER
 Coverage Limit:              $140,000.00
 Umbrella:                    No
 Umbrella Coverage Limit:


 Explain Any Coverage Issues/Additional Coverages/Duplicate Coverages: Livestock scheduled
 under blanket coverage. Insured turned over for custom feeding and contracted feeder
 converted portions of herd to his own use.

 Livestock is covered for special perils limited to named 1-10, 30 & 31. On P-3 this livestock is
 shown listed as covered by class, it is in effect "scheduled". Therefore it is subject to conditions
 in both the general sections and the property sections as shown below.

 Special Causes Of Loss
 When the Declarations indicate that Farm/Ranch Personal Property is insured for Special
 Causes of Loss,the following additional provisions apply.
 Livestock
 If insured under this module, we cover "livestock" only for losses "caused by" the Named
 Causes of Loss numbers 1 through 10, 30 and 31.

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 Additional Causes Of Loss

 31. Loss to Livestock. We cover direct physical loss to covered "livestock" "caused by":
 a. Accidental Shooting. We do not cover under this cause of loss shootings by any "insured" or
 your employees or tenants;
 b. Attack by Dogs or Wild Animals. We do not cover loss caused directly or indirectly by fright
 or
 by dogs owned by any "insured";
 c. Collapse, meaning collapse of buildings, bridges or culverts;
 d. Drowning, from external causes, including flood, except for "livestock" under 15 days old;
 e. Electrocution; or
 f. Loading or Unloading accidents resulting in their death and occurring while they are being
 loaded or unloaded from vehicles other than contract carriers.

 Named Causes Of Loss Index

 10. Theft

 There is no coverage for:

 g. Loss of "farm/ranch" personal property or "business" personal property by losing,
 misplacing, mysterious disappearance or where the only evidence of loss is a shortage disclosed
 upontaking inventory.

 Scheduled Personal Property Module

 There is no coverage for loss to "livestock" "arising out of":
 A. Fright, or as the direct or indirect result of fright, however caused:
 B. "Suffocation" or "smothering"; or
 C. Escape, wrongful conversion, or embezzlement.

   Livestock/Poultry




       Type             Item Type                I tem Description      %0!/im    Qty         Unit Value    AC\/            '"fr
      Schedllleal      Horses/Ponies            Kyles horses                100           2         5,000           10,000 YES
      Schedllled       Stock, Bll1is            blulls                      100          10         6,500           65,000 YES
      Schedllleal      Stock, Calves/Ste , , , calves                       100         175           800          140,000 YES
      Schedllleal      Stock, Co111isftieifers co111,1Jheifers              100         175         1,500          262,500 YES
      Schedllleal      Stock, Co111•s)Heifer.s Kyles co111,isJheifers       100         180         1,500          270,000 YES
      Schedllleal      Stock, Calves/Ste , , , Kyles calves                 100         180           800          144,000 YES
      Schedllleal      Stock, Bulls             kyles bulls                 100           6         6,500           3,9,000 YES




 ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                                   WATCH LIST AND OTHER REPORTING

                                                                                                                            FB0348
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 WATCH LIST / REINSURANCE / ERRORS & OMISSIONS (E&O) / REFORMATION
          Watch List Notified:       Yes           Date Notified:        10/21/16
 Watch List Qualifying Criteria:
             Watch List Code:                      Date Last Updated:

            Watch List Closed:                     Date Closed:
               CCC Notified:                       Date Notified:

          Reinsurance Notified:      No            Date Notified:
          Reinsurance Claim #:
            Retention Amount:
            Recovery Amount:                       Recovery Date:
           Reinsurance Closed:                     Date Closed:


            E&O Committee:           No            Claim #:
        Committee Decision:

        Reformation Committee:       No            If “Yes”, Date:
        Reformation Decision:

 BAD FAITH (BF) / EXTRA CONTRACTUAL OBLIGATIONS (ECO)
               BF / EC Alleged:  No          If “Yes”, Date:
               Who Alleged, How Communicated, and Allegations Made:

               ICPL Carrier:
               Carrier Notified:                    If “Yes”, Date:
               Notified by:
               ICPL Updates:
 ■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■




                                    LOSS DESCRIPTION
 Location of Loss:           Meade County SD
 Detailed Loss Description: Insured contracted with custom feeder to finish cattle. Insured
                             delivered portions of herd to custome feeder who then converted a
                             portion of that herd for his own use. Conversion of herd took place
                             over a several month timespan and the custom feed llot was located a
                             hundred miles from insured premises.
 Names of all Potential Insureds under Farm Bureau policies who have Potential Liability
 Exposures:                                Relationship to Named Insured:
 Aggravating Issues:         No              BAC:
 Police Photos Available:                    If “Yes”, Have They Been Obtained:
 Citation(s) Issued To:                      For:
 Disposition of Citation:
 Scene Photos Obtained:
 Statements Obtained from all Parties including Witnesses Identified in Police Report:

                              Yes (Insured)

                                                                                        FB0349
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 Non-Waiver Agreement:         Yes            If “Yes”, Date Signed:       11/24/14
 Reservation of Rights:                       If “Yes”, Date Sent:


 Other Party Responsible:                 If “Yes”: Name
                                          Insurance Company
                                          Coverage Limit:
                                          Asset Check Completed:
 SIU Notified:                 Yes        Reason:

 Liability Analysis of all Involved Parties: Coverage determination
 ■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■■




                             INJURED PARTY INFORMATION
 Line Number:                  01
 Name of Injured Party:        Leonard Gregerson
 Address:                      13765 Lame Johnny Rd,
                               Fairburn SD 57738
 Occupation:                   Rancher
 Marital Status:               Married
 Spouse Name:                  Patty


        INJURY BREAKDOWN
                 FRPP Claimed:                $85,439.00
                 FRPP Documented:             Yes

                 Paid Amounts:               $0.00
                 Total Specials:             $85,439.00
                 Additional Comments:        Lost livestock: The insured feels the value of the cows
                               are $2850 each and they weighed 1450 lbs. each 15 @ $2850 is
                               $42,750

                               The insured lost 27 calves and the just sold calves at $1587 each. The
                               calves weigh 570lbs on average. 27 calves @ $1587 is $42, 849.

                               Total claimed is $85,439.00


        PLAINTIFF ATTORNEY IDENTIFICATION
                 Attorney Name:       Dan Holloway
                          Firm:       Abourezek Law Firm
                       Address:       PO Box 9460, Rapid City SD 57709
                        Phone #:      605-342-0097

                                                                                          FB0350
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                                        •=-
                     FARM BUREAU FINANCIAL SERVICES
 ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                        RESERVES/EXPENSE/STRATEGY
       RESERVE HISTORY

       Claimant: Leonard Gregerson
             Initial Reserve (Numerical only): $t.00
             Current Reserve:    Date Changed: Reason for Change:
             $500.00              10/1/16            reopened



             Authority Needed?                     Who?
             Reserve Deviation Required: No Date Notified:

       NEGOTIATIONS
             Claim Value Range:                        to
             Authority Requested:
             Authority Granted:                          by:
             Demand:            Date:                  Offer:        Date:




             Personal Liability Exposure Letter Needed (Include All Insureds): No Yes/No
             Date Notified:

             Settlement Amount:                $53,720.00
             Structures Presented:

       ALTERNATIVE DISPUTE RESOLUTION (ADR)
             ADR Attempted:     No     Date:
             Pre-Suit ADR:
             Mediator:
             Demand Going In:
             Offer Going In:
             ADR Result:               If Settled, Amount:
             ADR Expense:
             Total LAE Including Attorney Fees:
             LAE Avoided:
             ADR Comments:



                                                                                FB0351
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         LITIGATION HISTORY
                Claim System Coded to Litigated: N/A                   Date:
                Case Name:                                        v.
                Cause for Suit:                                        (Liab, Dmgs, SOL, etc.)
                LSS Matter #:
                Date Suit Filed:
                Date of Service:
                Answer Date:
                Court Venue:
                Close of Discovery Motion Date:
                Dispositive Motion Date:
                Pre-Trial Date:
                Trial Date:
                Damages Pled:
                Resolution:                                            Amount:
                Date Suit Closed:

               Defense Attorney:
                           Firm:
                       Address:
                        Phone #:


 TOTAL LAE INCURRED TO DATE:                              $0.00
 ESTIMATED FUTURE LAE:                                    $0.00

 TOTAL INDEMNITY INCURRED TO DATE AND TYPE:
 $0.00


 UPDATES:
 10-21-16:

 See attached correspondence and claim file. Insured attorey requested written response to position on
 coverage.

 2/22/17

 Claim has concluded with settlement reached with insured and his attorney in the amount of
 $53720.00

 Paid final legal billing to Lynn Jackson, closed file.

 Closing LSS as well.


                                                                                            FB0352
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 119 of 158 PageID #: 405



 **ATTACH ANY PHOTOS UNDER SEPARATE FILE**




                                                                         FB0353
(Page 1   of    1)

                     Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 120 of 158 PageID #: 406



               To: P3WorkflowIMAP <p3workflowimap@fbfs.com>


               From: SD Storm Claims <SDStormClaims@FBFS.com>
               Sent on: 02/05/2015 11:11:38 AM
               Subject: A090314P00



               From: Megan Frasier
               Sent: Wednesday, February 04, 2015 10:04 AM
               To: SD storm Claims; DJ Wittrock; Monte McQuigg; Jim Defea; Michael Elliott; Rich Duryea
               Subject: Gregerson #7936007


               I attached a statement from the investigator at Meade County Sheriff's Office on the Gregerson
               claim from October 2014 policy#7936007 claim #A090314P00.
               Thanks,

               Megan J Frasier
               Service Associate
               Farm Bureau Financial Services
               109 N Chicago st #2
               Hot Springs, SD 57747
               (605)745-4868
               (605)745-4808 fax
               Megan.Frasier@fbfs.com


               Farm Bureau Property &Casualty Insurance Company+*
               Western Agricultural Insurance Company+*
               Farm Bureau Life Insurance Company+*
               +Affiliates   *Company providers of Farm Bureau Financial Services




               Attachments:
               Gregerson Investigator Statement.pdf




                                                                                                          FB0354
(Page 1   of    3)

                     Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 121 of 158 PageID #: 407



          Michael Elliott

          From:                            Gregerson, Kaycie Jay < Kaycie.Gregerson@coyotes.usd.edu>
          Sent:                            Wednesday, November 26, 2014 5:47 PM
          To:                              Michael Elliott
          Subject:                         Regarding Karl Knutson



          Mike,
          It wouldn't let me attach it so I snipped it into this email. We are missing 15 cows and 27 calves from this
          whole ordeal. Thank you for your time.
          Sincerely,
          Kaycie Gregerson




                           Chronological order of events related to missing
                                               cattle
                                     Dates                                     Events
                                 1/22/14 and 1130/U           Bought cattle fmmB& W Land am Cattle
                                                              Company. Thegentleman'snameisehalfie
                                                              Fostec.
                                    0:2/10/:2014              CadQbdmlpaidbis fmt: pa:It ofbis lease
                                                              and this: Wll ll day before the e:tttle were
                                                              b:aaspod:ed andpul:into KadKnutson'scue.
                                     02/11/U                  3 cattletmcbanivedatKadKnutson'spbce.
                                                              ThetmdcN'snames areGles!Johuon,Dewey,
                                                              andMadl:Fhillips. The cattlewereunloadedat
                                                              his f'athec's JJlaoe (Dale Knutson) andhis fa.la:
                                                              andmothel"were instrumental in calving out
                                                              andt.wngcaeofthe cows and calves.
                                     02127/14                 Kall was paid.
                                     0.t/13/H                 Kall w.upaid.
                                     05/GS/H                  Kadw.upaid.
                                     05129/14                 On this: day, we bmnded122 headof calva.
                                                              Then:unes: ofthepeofde that we brought :u
                                                              help .are: Kasey llmidl,. Ge&eFaguson, Gies!
                                                              Johnson, Daiyf Faguson,. Ted Wdlwns, ltop
                                                              UR-. Hemrni:Bmkley,JohnPeck, Tom
                                                              CizsdilH.t TamB"Q'J)jlDid DonQuinn,.Dul:e
                                                              Buffington,~~Kyle
                                                              ~Leonud~andCad
                                                              Oz-- This lmuwlingtookplaceaff:« Kall
                                                              hadhaded(Wlthbis owntruckand"counl::ecf'
                                                              themonhis own} the cattle to Slllllll&"pulure
                                                              ne:xtto Milar's place. So there was no an
                                                              accma.te count ofthe pecise head ofcattle.
                                                              Kall had"help.,. (SethMonson,DeweyO'Dea,
                                                              andBn.dMouague)forthebnming.




                                                                    1
                                                                                                                  FB0355
(Page 2   of   3)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 122 of 158 PageID #: 408


                                   0d/04/14           K.ulw.upaid_
                                   09/15/14           On this: day,theeatlewere~entlafal
                                                      vaccinations (preooncitioninR). Thepeopledm:
                                                      waetheletoheljl wae: Clint Go,odman,
                                                      Leonani~Kyle~Cad
                                                      Qbdiml.:( andKadKnutson.
                                   09122/14           Spent the whole day ofSepteniJa:the 22nc1
                                                      lo,oiingfol" ounnmng ca.tde, wbidl were
                                                      nevedouncl_ K.ulKnutsonstatedthathewu




                                                      going to hire a pilot to flyhimova:to look for
                                                      om:catde.Hesaidtm.thecouldn'tseethem
                                                      andthattheycoddbeinthetrees(thele aRa't
                                                      anytee.seveamnotdy dose to tbeuea.).
                                   10/04/14           Went to lookfo1",ourc:ittle\\ihetlK.ul wasn't
                                                      thee. Once again thee wasn't any sign of our
                                                      cattle. Thisis thefiot: andonlytimethatwe
                                                      wae peonittedonthe plac:e'Witbouthim,
                                                      wbidlw.uv...... -icioustous_
                                   10/08/14           This is the day before we bmught: our cattle
                                                      bad:homeandLeonaol~Kyle
                                                      ~and~~wm:and
                                                      moved the cattle, that were left:, into the p.uue
                                                      where theywouldbeloadingthemout. We
                                                      then also wem: andlookedforourmis:sing
                                                      cattlethatday,andonoeag.iin,.cameout~
                                                      handed.




                                                            2
                                                                                                          FB0356
(Page 3   of   3)

                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 123 of 158 PageID #: 409



                                                                      wae 95 c:ilires: :md 113 cows_ 'Th.etmcl::esllm
                                                                      hauled foruswere Glen .Johnson (he made 2
                                                                      bip:s that da.y). ltoiyIM:6klRA :mdPa.d
                                                                      Mlmkb.
                                         10/23/U                      On the23 ofOctober,Kyle~ Dub
                                                                      Buffin§:OD, Tama:QJ.w;ai:j.,a.ndI.eonatd
                                                                      ~left:wil:b 3 hig:stod:tmleo, to
                                                                      Vale, to haulourcattlehomethat: KadKnutsm.
                                                                      claimed thathe found_ Uponthm amval,, thee
                                                                      WNen't any cattle insight :mdheclaimedthit
                                                                      hedidn'Umowwhathappeoedto thEmb,ecme
                                                                      "'lheyweenght hee"_All 3mih:scune
                                                                      home         ,a ·
                                         11/03/14                     10: 16 AM,a. reco1£declvoioemaiilfmm Kad
                                                                      Knutsona.houthmgingtheinsm:mce a ~
                                                                      to check evaythingout up amuidthe Vale
                                                                      area. 'Thie message is d reoonled on I.eonatd
                                                                                  ' hone.



                       This is purely ~ h u t a brmdinspectodom:St_2D= Sale Bam(Wllliam Da.vie:s)claimed
                       that KadKnutsonhad shown up onemomingofa sale with 11 ~un-lmwchlhahy
                       c:ilire:s.Kad claimedthat:hiscattlehad 11 setsoftwins, whimmadeeves:yoneinvolved
                       IIUSpDOUS.

                       lnsmnmaa:y, two 00\YSwereleft: hereat the ~cmch_Onecowhadlo:sthem:calf:mdthe
                       othel:onehada. caffthat:wastoo yowgto tnmpoa. Whmthetmcb amvedat Vale to Kad




                     Knutson's care, thee wasa.cowthathaddied'llildein tnmpoid:. lheewa.:s a. calf that was bom
                     andnotbnnleclyetthat:haddiedfmmheinghitbyigbtning,:mdpmof(c.an::as)wasshoffll_
                     'Thenext:week, Kad bmught:5 dly cows home that had "lo:stc:ilire:s" (whimwa.:sneva:pmven)_




                                                                            3
                                                                                                                        FB0357
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 124 of 158 PageID #: 410




                                             First Notice of Loss
         Report

          Snapshot Date                    11-21-2014

          Snapshot Time                    12:26 PM

          Claim Number                     A090314P00

     Policy Details
            Policy Information

                                            Policy Number    7936007
                                             Policy Status   In Force
                                            Effective Date   05/16/2014
                                           Expiration Date   05/16/2015
                                               Policy Type   Personal
                                           Producer Name     PAMELA GREEN
                                           Producer Phone    (605)-745-4868


            Coverage Information

                          13765 LAME
                          JOHNNY RD,
                          FAIRBURN,
           Covered
                          South Dakota,
              Item
                          Custer County,
                          United States,
                          57738-5028.
 I

     Coverage             Coverage                             Ded.                  Parent       Parent       Min        Max
                                             Limits    Ded.             Currency
     Type                 Level                                Type                  Limit        Ded.         Ded.       Ded.

     Livestock
     Freezing or          Per Occurrence     1500      0                USD          0            0            0          0
     Smothering:

     Scheduled
     Farm Prsnl           Per Occurrence     262500    1000    1        USD          0            0            0          0
     Property:


                          13765 LAME
                          JOHNNY RD,
                          FAIRBURN,
            Covered
                          South Dakota,
               Item
                          Custer County,
                          United States,
                          57738-5028.

         Coverage         Coverage                              Ded.                     Parent       Parent       Min        Max
                                             Limits     Ded.              Currency
         Type             Level                                 Type                     Limit        Ded.         Ded.       Ded.
     I
         Livestock
         Freezing or      Per Occurrence     800        0                 USD            0            0            0          0
         Smothering:




                                                                                                                              FB0358
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 125 of 158 PageID #: 411




  Scheduled
  Farm Prsnl       Per Occurrence       140000      1000      1        USD       0         0         0       0
  Property:



      Policyholder

                                           Full Name     LEONARD GREGERSON
                                             Address     13765 LAME JONNY RD, FAIRBURN, South Dakota, United
                                                         States, 57738.
                                            SSN/TIN      ***-**-3956


  Loss Details
      Loss Details

                                        Date of Loss     10/17/2014
                                        Time of Loss
                                      Date Reported      11/21/2014
                                        Reported By      Agent
                     Person who reported the claim
                                        Reported To      Will Roeber
                                          Storm Loss     False
                     Person who reported the claim       SA Megan
               If there is a contact for the insured :

                                           Loss Type     Auto-Property
                                       Cause Of Loss     Property Damage
                                            File Type    Normal
                                        Claim Group
                                    Loss Description     Insured best # 605-255-4609. 15 cows and 27 calves
                                                         were stolen from the insured's property, caller does not
                                                         know of any evidence other than inventory shortage.


      Loss Location

                                        Intersection     No
                                             Address     Sturgis, South Dakota, United States.
                                Location Description



      Key Facts

                                       Who / What?
                                             Where?
                                           Did What?
                                  To Whom / What?
                  If the Third Party has Insurance:
                                             Where?
         Was there any damage to another party's
                                      property?
                              Was anybody injured?       No




                                                                                                            FB0359
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 126 of 158 PageID #: 412



    If there was any faulty product or workmanship
   involved in the incident, what was the product or
                                     workmanship?
                          Were there any witnesses?       No
  If authorities were at the scene or contacted, what
                             was the Authority Name?
                                                          Meade County Sheriff
  If authorities were at the scene or contacted, what
                             was the Report Number?
                                                          14-10398
                                Additional Comments
      Is there a third party responsible for this loss?
                           What is the property loss?



   Vehicle Damages


        Property Damage / Other Liability

                              Identifying Description     cow/heifers
                                              Address     13765 LAME JOHNNY RD, FAIRBURN, South Dakota,
                                                          Custer County, United States, 57738-5028.
                                Damages Description       15 cows missing, presumed stolen.
              Do you want to add detailed damages?
                       Can the property be occupied?
                          Additional Living Expenses
      Is the damaged property borrowed or rented?
                         What is the livestock count?     15
                What is the assignment complexity?        Moderate
                                    Coverage Type - 1     Scheduled Farm Prsnl Property
                                      Type of Loss - 1    Theft - on premise
                                     Cause of Loss - 1    Theft - on premise
                                    Coverage Type - 2
                                      Type of Loss - 2
                                     Cause of Loss - 2
                                    Coverage Type - 3
                                      Type of Loss - 3
                                     Cause of Loss - 3




        Damage Detail

                                        Applicable To     cow/heifers
                                    Damage Category
                                       Damage Detail
                                           Description
                                     Claimed Amount       0
                                   Estimated Amount       0
                                       Actual Amount      0
                                    Repair Start Date
                                      Repair End Date



        Property Damage / Other Liability




                                                                                                      FB0360
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 127 of 158 PageID #: 413




                          Identifying Description   calves
                                         Address    13765 LAME JOHNNY RD, FAIRBURN, South Dakota,
                                                    Custer County, United States, 57738-5028.
                            Damages Description     27 calves missing, presumed stolen
           Do you want to add detailed damages?
                   Can the property be occupied?
                       Additional Living Expenses
     Is the damaged property borrowed or rented?
                     What is the livestock count?
              What is the assignment complexity?    Moderate
                               Coverage Type - 1    Scheduled Farm Prsnl Property
                                 Type of Loss - 1   Theft - on premise
                                Cause of Loss - 1   Theft - on premise
                               Coverage Type - 2
                                 Type of Loss - 2
                                Cause of Loss - 2
                               Coverage Type - 3
                                 Type of Loss - 3
                                Cause of Loss - 3




      Damage Detail

                                    Applicable To   calves
                               Damage Category
                                  Damage Detail
                                     Description
                                 Claimed Amount     0
                               Estimated Amount     0
                                  Actual Amount     0
                                Repair Start Date
                                 Repair End Date



  Participants
      Contact Information
  KYLE GREGERSON
      Preferred Name

                                           Name     KYLE GREGERSON
                                            Type    Legal
                                     Description



      Preferred Address

                                         Address    13765 LAME JONNY RD, FAIRBURN, South Dakota, United
                                                    States, 57738.
                                            Type
                                     Description




                                                                                                 FB0361
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     Preferred Phone

                                 Phone    6052098722
                                   Ext
                                  Type    Home - Voice
                            Description



     Preferred E-Mail

                         E-Mail Address
                                  Type
                            Description



     Roles

                                 Roles    Insured


     Injury Details



  LEONARD GREGERSON
     Preferred Name

                                 Name     LEONARD GREGERSON
                                  Type    Legal
                            Description



     Preferred Address

                               Address    13765 LAME JONNY RD, FAIRBURN, South Dakota, United
                                          States, 57738.
                                  Type
                            Description



     Preferred Phone

                                 Phone    6052554609
                                   Ext
                                  Type    Home - Voice
                            Description



     Preferred E-Mail

                         E-Mail Address
                                  Type
                            Description



     Roles

                                 Roles    Claimant, Driver, First Named Insured




                                                                                       FB0362
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     Injury Details



  FIRST NATINAL BANK OF GORDON
     Preferred Name

                                 Name     FIRST NATINAL BANK OF GORDON
                                  Type
                            Description



     Preferred Address

                               Address    P O BOX 290, GORDON, Nebraska, United States, 69343.
                                  Type    Business
                            Description



     Preferred Phone

                                 Phone
                                   Ext
                                  Type
                            Description



     Preferred E-Mail

                         E-Mail Address
                                  Type
                            Description



     Roles

                                 Roles    Mortgagee


     Injury Details



  PAMELA GREEN
     Preferred Name

                                 Name     PAMELA GREEN
                                  Type
                            Description



     Preferred Address

                               Address    % FARM BUREAU OFFICE, 109 N CHICAGO ST #2HOT
                                          SPRINGS SD,, United States, 57747-0000.
                                  Type    Business
                            Description




                                                                                        FB0363
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     Preferred Phone

                                 Phone    6057454868
                                   Ext
                                  Type    Other
                            Description



     Preferred E-Mail

                         E-Mail Address
                                  Type
                            Description



     Roles

                                 Roles



     Injury Details



  KAYCIE GREGERSON
     Preferred Name

                                 Name     KAYCIE GREGERSON
                                  Type    Legal
                            Description



     Preferred Address

                               Address    13765 LAME JONNY RD, FAIRBURN, South Dakota, United
                                          States, 57738.
                                  Type
                            Description



     Preferred Phone

                                 Phone
                                   Ext
                                  Type    Other
                            Description



     Preferred E-Mail

                         E-Mail Address
                                  Type
                            Description



     Roles




                                                                                       FB0364
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                                 Roles    Insured


     Injury Details



  GE CAPITAL
     Preferred Name

                                 Name     GE CAPITAL
                                  Type
                            Description



     Preferred Address

                               Address    332 MINNESOTA ST, SUITE W 600, ST PAUL, Minnesota,
                                          United States, 55101.
                                  Type    Home
                            Description



     Preferred Phone

                                 Phone
                                   Ext
                                  Type
                            Description



     Preferred E-Mail

                         E-Mail Address   seema.prabhu@fblfinancial.com
                                  Type
                            Description



     Roles

                                 Roles    Other


     Injury Details



  FORD MOTOR CREDIT
     Preferred Name

                                 Name     FORD MOTOR CREDIT
                                  Type
                            Description



     Preferred Address

                               Address    BOX 390910, MINNEAPOLIS, Minnesota, United States,
                                          55439-0910.




                                                                                        FB0365
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 132 of 158 PageID #: 418



                                  Type    Home
                            Description



     Preferred Phone

                                 Phone
                                   Ext
                                  Type
                            Description



     Preferred E-Mail

                         E-Mail Address   seema.prabhu@fblfinancial.com
                                  Type
                            Description



     Roles

                                 Roles    Other


     Injury Details



  UNION BANK & TRUST
     Preferred Name

                                 Name     UNION BANK & TRUST
                                  Type
                            Description



     Preferred Address

                               Address    PO BOX 82535, LINCOLN, Nebraska, United States, 68501-
                                          2535.
                                  Type    Home
                            Description



     Preferred Phone

                                 Phone
                                   Ext
                                  Type
                            Description



     Preferred E-Mail

                         E-Mail Address   seema.prabhu@fblfinancial.com
                                  Type
                            Description




                                                                                        FB0366
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     Roles

                                 Roles    Other


     Injury Details



  PATTY GREGERSON
     Preferred Name

                                 Name     PATTY GREGERSON
                                  Type    Legal
                            Description



     Preferred Address

                               Address    13765 LAME JONNY RD, FAIRBURN, South Dakota, United
                                          States, 57738.
                                  Type
                            Description



     Preferred Phone

                                 Phone
                                   Ext
                                  Type    Other
                            Description



     Preferred E-Mail

                         E-Mail Address
                                  Type
                            Description



     Roles

                                 Roles    Insured


     Injury Details



  BANK OF AMERICA
     Preferred Name

                                 Name     BANK OF AMERICA
                                  Type
                            Description



     Preferred Address




                                                                                       FB0367
Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 134 of 158 PageID #: 420




                               Address    4001 W 41ST STREET, SIOUX FALLS, South Dakota,
                                          United States, 57101.
                                  Type    Business
                            Description



     Preferred Phone

                                 Phone
                                   Ext
                                  Type
                            Description



     Preferred E-Mail

                         E-Mail Address
                                  Type
                            Description



     Roles

                                 Roles    Other


     Injury Details




                                                                                       FB0368
                            Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 135 of 158 PageID #: 421



         Date                  Type                                       Title                                             Description                                                           Attachments
           8/2/2018 16:30 File Notes    File reassigned to Crystal Kaus                     File rec1ssigned to Crystal Kaus to handle pendlng lawsuit
                                                                                            From: Kevin McCoy
                                                                                            Sent: Wednesday,July 18, 20181:18 PM
                                                                                            To: Jim Defea <jim.defea@fbfs.com>: Drew Van Woert
                                                                                            <drew.vanwoert@fbfs.com>
                                                                                            Cc: Mike Ensley <Mlke.Ensley@fbfs.com>
                                                                                            Subject: FW: Gregerson Complaint• Claim# AD90314POO


                                                                                            Jim and D·ew,
                                                                                            As you can see, we received notice of this new suit. There is a count
                                                                                            for Bad Faith. We wlll need an updated E-report.

                                                                                            Jim, I attached the last version that I had. It was dated 2-22-17.


                                                                                            We will be scheduling a conference call soon.


                                                                                            Thank VOL




                                                                                            From: Lana Deering
                                                                                            sent: Wednesday, July 18, 2018 11:03 AM
                                                                                            To: Mike Ensley <Mike.Ensley@fbfs.com>

                                                                                            Cc: Karl Olson <Karl.Olson@FBLFinancial.com>; Janet Reiter
                                                                                            <janet.reiter@fbfs.com>; Kevin McCoy <kevi n.mccoy@fbfs.com>
                                                                                            Subject: Gregerson Complaint


                                                                                            Please find attached a copy of the Gregerson Complaint which was
                                                                                            filed against Farm Burec1u Property & Casualty Insurance Company in
                                                                                            the U.S. District Court for South Dakota. Service on Farm Bureau was
                                                                                            accepted by the South Dakota Insurance Commissioner on July 16,
                                                                                            2018. It is a first-party property loss claim arising out of the alleged
                                                                                            theft of cattle. The Complaint alleges breach of contract and bad faith
                                                                                            and includes a claim for punitive damages based on alleged improper
                                                                                            claims handling .. There is also a request for attorney's fees. This
                                                                                            lawsuit needs to be reported to both the Watch List and the
                                                                                            Bordereau.
                                                                                            I will interoffice a hard copy as well today.




                                                                                            Lana S. Deering
                                                                                            Legal Assistant
                                                                                            Parker & Geadelmann, P.L.LC
                                                                                            5400 University Avenue, West Des Moines, IA 50266
         7/18/201814:00 FIie Notes     New Law Suit- Gregerson v. FB                        Ph: 515-22S-5649 I Fax: 515-4S3-3324
         7/18/2018 13:20 Flle Notes    Email - 07 /18/18                                                                                                     7/18/2018 Email-pdf

         7/18/201813:19 File Notes     Email - 07 /18/18. Closing E-Report - Gregerson, A   07/18/18 - Closing E-Report - Gregerson, A090314PDO, 2-22-17.dooc          Closing E-Report - Gregerson, A090314POO, 2-22-17-docx
FB0369




         7/18/2018 13:19 File Notes    Email • 07 /18/18 • Gregerson Complaint.pdf          07 /18/18 - Gregerson Complaint.pdf                                        Gregerson Complaint-pdf
         6/16/2017 14:32 File Notes    Subro - Chaplin                                      NCS file #0000172226
                            Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 136 of 158 PageID #: 422



                                                                                            Sent to NCS to see if they can solicit any recovery.
         6/lS/2017 14:26 File Notes     Subro - Chaplin                                     Paid: $27,800 (01) + $2S,920 (02) + $1,000 (deductible}
            6/1/2017 5:38 File Notes    Check101394664                                      Check                                                                      101394664-1469725-3-1156187-tif
           5/31/2017 6:58 File Notes    Su bro• Chaplin                                     Paid RYC for asset check.
           5/31/2017 6:55 File Notes    Email- 05/31/17                                                                                                     S/31/2017 Email-pdf
          5/31/2017 6:55 File Notes     Email- OS/31/17- 284272.542.pdf                     05/31/17- 284272.542.pdf                                                   284272-542-pdf
                                                                                            No respo.,se on letter sent to US Attorney re: criminal case.

         4/19/201711:02 FIie Notes     Subro - Chaplin                                      Requesting assets check through RYC to see if suit is appropriate.

                                                                                            State: SD// SOL: 10-17-2020 // Claimant allegedly stole COWS and
                                                                                            calves from the insured. Pleaded guilty in court. Sentenced to a year in
                                                                                            prison and three years probation.// Meade County Sheriff's Office,
                                                                                            Case #5:15CR50064-1, Judge Jeffrey L. Viken, US Attorney, Benjamin
                                                                                            Patterson, fax: 605-342-1108 // Will request restitution, but it may be
                                                                                            too late to add that to his judgment. We may need to send to NCS. //
          2/27/2017 8:09 File Notes    Su bro - Chaplin                                     Paid: $27,800 (01) +$25,920 (02) // Diary set for follow up.               A090314POO - letter to US attorney.pdf
         2/24/201716:11 File Notes     Reopened Subro - Seeley                              Subro assigned to Micah Chaplin
          2/23/2017 5:27 File Notes    Check101347886                                       Check                                                                      101347886-1416487-3-1102726-tif
                                                                                            to Lynn Jackson, $5716.39


                                                                                            Closing e-report loaded as well.


                                                                                            Sent the same to CCC, BCCC & PCM


                                                                                            Will advise subro our portion concluded and see lf they wish to pursue final legal billing.pelf,, E-Reporc - Gregerson, A090314POO, 2-22-
          2/22/2017 9:01 File Notes    Paid final legal billing                             person who allegedly stole critters.                                   17.doo:
         2/13/201710:11 Flle Notes     File remains open for final legal billing            File remains open for final legal billing
         l/25/201713:49 File Notes     Email• 01/25/17                                                                                                      1/25/2017 Email-pdf
         1/25/2017 13:49 File Notes    Email - 01/25/17- Holloway 12417.PDF                 01/25/17- Holloway 124 17.PDF                                              Holloway 12417-PDF
         1/25/2017 13:49 FIie Notes    Email - 01/25/17- DeFea & Petrik.pdf                 01/25/17- DeFea & Petrik.pelf                                              DeFea & Petrik-pelf

                                                                                            Mr. Holloway had advised of some questions regarding the settlement
                                                                                            and checks. We have reviewed and provided response to Mr. Fritz. He Holloway.DOC., Holloway 11717.PDF,, Petrik DeFea 11817.PDF,,
         1/23/201714:37 File Notes     Current                                              has in turn advised mr. Holloway of the result. All docs loaded in file. Holloway 12317.PDF
         1/23/2017 14:35 File Notes    Email - 01/23/17                                                                                                     1/23/2017 Email-pdf
         1/23/2017 14:35 File Notes    Email - 01/23/17- Holloway 12317.PDF                 01/23/17 - Holloway 123 17 .PDF                                            Holloway 12317-PDF
          1/14/2017 6:21 File Notes    Checkl01330241                                       Check                                                                      101330241-1396764-3-1082851-tif
          1/14/2017 6:21 File Notes    Check101330227                                       Check                                                                      101330227-1396750-3-1082836-tif
                                                                                            See attachments
                                                                                                                                                                       Holloway 11217.PDF,, l 5 17 Gregerson demand.PDF,, Holloway l S
                                                                                            Agreed we will issue the payments separately for the cows and the          17 response with amount of damages claimed by Gregersons.PDF,,
                                                                                            calves, deductible applies to cow loss. sending the Tom Fritz. for         Holloway ls 17.PDF,, check cover.doc, , Holloway response.PDF,,
         1/13/2017 13:26 FIie Notes    Payments                                             forward to insured counsel.                                                Receipt of Payment and Release.pelf
           1/3/2017 8:25 File Notes    Email - 01/03/17                                                                                                      1/3/2017 Email-pdf
           1/3/2017 8:25 File Notes    Email - 01/03/17 - Judgment in a Criminal Case - K   01/03/17 - Judgment in a Criminal Case· Karl Knutson.PDF                   Judgment in a Criminal Case• Karl Knutson-PDF
                                                                                            01/03/17 • Receipt for payment of Judgment by Knutson Irrigation           Receipt for payment of Judgment by Knutson Irrigation Service for Karl
           1/3/2017 8:25 File Notes    Email - 01/03/17 - Receipt for payment of Judgment   Service for Karl Knutson.PDF                                               Knutson-PDF
                                                                                            01103117 • Variance Motion and Sentencing Memorandum - Karl
           1/3/2017 8:25 File Notes    Email - 01/03/17-Variance Motion and Sentencing      Knutson.PDF                                                                Variance Motion and Sentencing Memorandum - Karl Knutson-PDF
           1/3/2017 8:25 File Notes    Email - 01/03/17 - Plea Agreement - Karl Knutson.P   01/03/17 - Plea Agreement - Karl Knutson.PDF                               Plea Agreement - Karl Knutson-PDF
FB0370




           1/3/2017 8:25 File Notes    Email - 01/03/17 - Factual Basis Statement - Karl    01/03/17 - Factual Basis Statement - Karl Knutson.PDF                      Factual Basis Statement - Karl Knutson-PDF
                            Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 137 of 158 PageID #: 423



                                                                               Reserved to exposure $50,000 each line. Coverage out to defense
          12/12/2016 8:26 File Notes    Reserve changes                        counsel for review .and opinion.
                                                                               Reviewed file with Charles. Discuss same POA as discuss with KM.
                                                                               Agreed to assigned to Tom Fritz at Lyrin Jackson.




                                                                               Sending iom certified copy of policy and copy of claim file. Opened in
          l0/2S/2016 8:15 File Notes   PC CCC                                  lSS.

                                                                               Discussed this loss with Jim Defea today. Jim has suggested that we
                                                                               retain attorney, Tom Fritz, to respond to insured's atty. It was also
                                                                               suggest t:i file a dee action. I would agree with this course of action.
         10/21/2016 ll:27 File Notes   Conference call Jim Defea - KMM         CCC- Ch~rles Petrik will be involved as well. KMM
          10/4/2016 15:35 File Notes   PC Holloway                             Called Dan Holloway 605-342-0097, Dan was out LMTC.
           9/27/2015 9:07 File Notes   Ack rep letter                          letter to insured attorney                                                  Gregerson repack.doc
                                                                               Reopeneu c,aim as insureu is now ueing represente~ ~Y tne AoourzeK
                                                                               firm out of Rapid. They have sent letter of rep. Responding to that
                                                                               letter.



                                                                               Updating e-reporc and submitting to CCC for further discussion.

                                                                               Have also alerted defense counsel of this representation, Lynn
                                                                               Jasckson Schultz & Lebrunn. Have asked that they confirm no conflicts
           9/27/2016 8:24 File Notes   Reopened claim                          if we need for opinion or defense.
         5/14/2015 10:05 File Notes    Email - 06/14/16                                                                                      6/14/2016 Email-pdf
         6/14/2016 10:05 File Notes    Email - 06/14/16 - content.pdf          05/14/16- content.pdf                                                   content-pdf
                                                                               Insured has written to us asking for reconsideration of the initial
                                                                               coverage determination.



                                                                               Reviewed the letter: it contains additional details but does not add any
                                                                               additional facts to reconsider the initial coverage decision.



                                                                               Drafted letter to insured and explained original decision will stand.


         5/20/2016 15:36 File Notes    correspondense from insured             Sent copy of original letter to insured.                                    Gregerson.pdf,, follow up letter, 5-20-16.doc,, 2220 001.pdf
           4/3/2015 8:43 File Notes    Certified letter rec'd by insured       Certified letter rec'd by insured                                           content[l] gregerson.pdf
           4/2/2015 9:58 File Notes    Email - 04/02/15                                                                                         4/2/2015 Email-pdf
           4/2/2015 9:58 File Notes    Email - 04/02/15 • content[l].pdf       04/02/15- content[l].pdf                                                    content[l]-pdf
                                                                               Disclaime· of coverage reviewed with kevin McCoy. Draft approved
                                                                               and sent to insured.
                                                                                                                                                           DENIAL OR DISClAIMER OF COVERAGE TO INSURED gregerson 3-26-
         3/25/2015 13:42 File Notes    Disclaimer                              Closed file                                                                 15.doc
         3/24/2015 16:25 File Notes    Email - 03/24/15                                                                                        3/24/2015 Email-pdf
         3/24/2015 16:25 File Notes    Email - 03/24/15 - content.pdf          03/24/15- content.pdf                                                       content-pdf
          3/4/2015 10:04 File Notes    ~~   SIU BILLINGTON CLOSING SUMMARY u   See attached pdf.                                                           A090314POO- CLOSING SUMMARY.pdf

                                                                               On 3/4/15 at 0948 hours, I called Field Claims Representative Mike
                                                                               Elliott. I learned Mike was out at training all week. I left a voice mail
FB0371




           3/4/2015 9:54 File Notes    *'" SIU BILLINGTON FCR CONTACT*"        message, reviewing the investigation to this point, and next steps.
                            Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 138 of 158 PageID #: 424



                                                                                     1un :./4/ 1:, at 0905 nours, I receive Cl a call trom Business center Claims
                                                                                     Consultant Jim De Fea; we discussed the investigation to this point,
           3/4/2015 9:51 File Notes    0
                                           SIU BILLINGTON BCCC CONTACT u               and next steps.
                                                                                     I •.rn -, -71 l5 at lu24 11ours, I ca11eu Business Center 1..IaIms 1..0nsu-Itant
                                                                                     Jim De Fea and left a voice mail message for him, asking him to call me
         2/27/201510:30 File Notes     0
                                           SIU BILLINGTON BCCC CONTACT*"             back.

                                                                                     I receivec a phone call from Investigator Williams of the Meade County
                                                                                     Sheriffs Office a few minutes after I called him. Investigator Williams
                                                                                     talked wi:h me about his case, and said he believed it to be a cattle
         2/27/201510:28 File Notes     ** SIU BILLINGTON LAW ENFORCEMENT CONTACT""    rustling, but was unable to prove it at this time.
                                                                                     Iun -, _71:, at 1010 hours, I called Investigator Chris Williams of the
                                                                                     Meade County Sheriff's Office. Investigator Williams' mail box was full,
         2/27/201510:12 File Notes     u SIU BILLINGTON LAW ENFORCEMENT CONTACT*"    so I e-ma·led him, and asked him to call me.
                                                                                     I was att.1e Sioux Faus Business u,,Ice on 2/2S/14 and L/Lo114.
                                                                                     Business Center Clalms Consultant Jim De Fea and I talked about this
         2/27 /201S 10:09 File Notes   u SIU BILLINGTON BCCC CONTACT o                claim, and next steps.
                                                                                      DJ,




                                                                                     I just got off the phone with Mr. Gregerson, 1 rlour long conversation.
                                                                                     He now understands there is no coverage forth ls clalm. He was very
                                                                                     pollte on trle phone and very nice. He did say to me that Pam
                                                                                     promised him, when he came over from DaSmet, that "everything" is
                                                                                     covered, he was adamant that was rlow the coverage was explained.
                                                                                     He also said srle did not encourage him to insured rlls cows to full
                                                                                     value rather to put an average of what the ranchers in the area are
                                                                                     insuring their livestock at, not the market value. He essentially
                                                                                     confirmed witrl me the rasults of Mike's recorded statement. He
                                                                                     agrees that the most llkely scenario is that Knutson converted the
                                                                                     livestock to his own use. I explained the below covercige limitations,
                                                                                     specifical y the loss upon the taking ofan inventory. I advised him that
                                                                                     since the Meade County Sheriff's office has not yet completed their
                                                                                     investigation and not yet provided us with an official report that our
                                                                                     disclaimer will be based on what we know to date. I told him when and
                                                                                     if that report is available we would share the same with him and his
                                                                                     counsel if rle secures the same. He is not represented by counsel at
                                                                                     this time. He has an attornay who he may talk to about the event and
                                                                                     what his options are in light of the gap in coverage. I encouraged him
                                                                                     to share our pending disclaimer and policy info with his attorney and
                                                                                     for them to call me if they have any questions. Short of completion of
                                                                                     trle disclaimer and forwarding trle same trlis matter should be
                                                                                     concluded. I did not make any mention of a potential E & 0 but based
                                                                                     on trle conversations witrl Leonard the possibility exists trlat trlis is a
          2/25/2015 9:4S File Notes    PC insured                                    potential. I will leave that to you and Monte to decide.
                                                                                     Business Center Claims Consu tantJim De Fea ami I talKeel about ti Is
                                                                                     claim over the phone on the afternoon of 2/19/15. We reviewed the
          2/20/2015 7:48 File Notes    u SIU BILLINGTON BCCC CONTACT••               investigation, and discussed next steps.

                                                                                     On 2/19/15 at 13SS hours, I called Business Center Claims Consultant
         2/19/2015 13:56 File Notes    •• SIU BILLINGTON BCCC CONTACT••              Jim De Fea, and left a message, asking him to call me on this matter.
FB0372




                                                                                     On 2/19/lS at 1209 hours, I called Investigator WIiiiams of the Meade
                                                                                     County Sheriff's Office, (MCSO}. His voice mail was full.
                            Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 139 of 158 PageID #: 425



                                                                                            I sent Investigator WIiiiams an e-mail at 1209 hours, asking him to
         2/19/2015 12:1 1 File Notes   ** SIU   BILLINGTON LAW ENFORCEMENT CONTACT*•        contact me on this matter.

                                                                                            Client/Member, (C/M), Leonard has 2 entries in the Insurance Services
                                                                                            Organization, (ISO), d,otabase by name and Social Security Number,
         2/19/2015 12:0 1 File Notes   ** SIU   BILLINGTON ISO REVIEW   *"                  (SSN). C/M Patty has no entries by name and SSN.
                                                                                            The Client/Members, (C/Ms), Gregerson are in their 1st term with
         2/19/2015 11:S2 File Notes    n SIU BILLINGTON P3 REVIEW ••                        Farm Bureau, and have 2 losses, including this one.
                                                                                            On L./L,~. at lu45 rours, I ca11eo F1e10 1..1a1ms Representative Mi~e
                                                                                            Elliott; we reviewed the Investigation to this point and considered next
         2/19/2015 10:5 l File Notes   u   SIU BILLINGTON FCR CONTACT u                     steps.
         2/16/2015 15:08 FIie Notes    •• SIU BILLINGTON INITIAL ACTION PLAN*"              See attached pdf.                                                          A90314POO • INITIAL ACTION PLAN.pdf

                                                                                            On 2/16/lS at l1S3 hours, I e-mailed an immunity exchange letter to
         2/16/2015 11:55 File Notes    *" SIU BILLINGTON LAW ENFORCEMENT CONTACT*"          Investigator Chris Williams of the Meade County Sheriff's Office.
                                                                                            On 2/16/15 at 1111 hours, Field Claims Representative Mike Elliott anc
                                                                                            I talked about this investigation over the phone, and discussed next
         2/16/2015 11:51 File Notes    •• SIU BILLINGTON FCR CONTACT o                      steps.
                                                                                                      l~ 8"l   nours, ca11eo nvesi:1gai:or c..nr1s vv1111ams OT i:ne
                                                                                            '"'                 1
                                                                                             Meade County Sheriff's Office. Investigator Williams is conducting an
                                                                                            Investigation on this matter. Investigator Williams said he cannot
                                                                                            discuss the specifics of this investigation without an Immunity
                                                                                            Exchange letter.


                                                                                            I let him know I could send him one, and would discuss this possibility
         2/16/2015 10:52 File Notes    0
                                           SIU BILLINGTON LAW ENFORCEMENT CONTACT"*         with others involved in this matter.
                                                                                            on tne morning 01 2/16/15, I revieweo tris claim. At 1040 rours, 1
                                                                                            called Field Claims Representative Mike Elliott, and le~ a message,
         2/16/2015 10:41 File Notes    *" SIU BILLINGTON FILE REVIEW/FCR CONTACT*"          asking him to call me.
         2/12/2015 18:30 File Notes    +" SIU BILLINGTON ACKNOWLEDGEMENT""                  I received this case for review on 2/12/15 at 1434 hours.

                                                                                            RECVD NEW REFERRAL FROM JIM, RAN DATA BASE CHECKS FOR 51
                                                                                            BILLINGTON (ISO, TLO AND GOOGLE CHECK ON KARL KNUTSON}
         2/12/2015 14:57 File Notes    SIU REFERRAL TO JOHN BILLINGTON (M KENNEDY)          EMAILED RESULTS TO SI BILLINGTON FOR FURTHER INVESTIGATION.
          2/5/201511:17 File Notes     Email - 02/05/15                                                                                                     2/5/2015 Emall-pdf
          2/5/201S 11:17 File Notes    Email - 02/05/15 - Gregerson Investigator 5tatemen   02/05/15 • Gregerson Investigator Statement.pdf                            Gregerson Investigator Statement-pdf


          2/5/201510:17 File Notes     Transcribed stmt of Carl Oberlitner.                 Transcribed stmt of Carl Oberlitner. Transcribed by Jean Perkins.          Carl Oberlitner recd 2-04-2015.doc
                                                                                                                                                                       Leonain Andrew Gregerso11·{31 r€a:1 2-04-2015.doc,, Leonard Andrew
                                                                                                                                                                       Gregerson (1) recd 2-04-201S.doc,, Leonard Andrew Gregerson (2) recd
          2/5/2015 10:16 File Notes    Transcribed stmts of Leonard Gregerson.              Transcribed stmts of Leonard Gregerson. Transcribed by Jean Perkins. 2-04-2015.doc
                                                                                            Stmt of Leonard Gregerson l, 2, 3 & Carl Oberlltner Is attached with Gregerson, Leonard 3.WMA,, Oberlitner, Carl.WMA,, Gregerson,
          2/4/201512:28 File Notes     Stmt of Leonard Gregerson 1, 2, & 3, C. Oberlitner   this file note.                                                            Leonard 1.WMA,, Gregerson, Leonard 2.WMA

                                                                                            I spoke to the insured and explained to him that we are re11iewing
                                                                                            coverage and as soon as we make a decision we will be in contact with
                                                                                            him. He again repeated that he feels Karl Kunetson stole his cattle. He
         1/13/201515:06 File Notes     Spoke to insured                                     also stoted that he wan!S to be paid as soon as possible.
FB0373
                            Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 140 of 158 PageID #: 426




                                                                           Spoke to Maureen Roberts at American family. She satd that they are
                                                                           denying t1e claim because the cattle were ln the care custody and
                                                                           control of their insured at the time of the loss. He also purchased a
                                                                           policy witl, them after the cows were missing. So he did not have a
                                                                           policy with them at the time of the loss. He told the adjuster not to
                                                                           worry because he was meeting with another adjuster Jason Welter of
                                                                           Farm Bureau America who told them that they were going to pay for
                                                                           everything. American family could not find this insurance company or
                                                                           adjuster and does not believe this to be a true statement. He
                                                                           previously had insurance with Desmit where he had 50 cows killed in a
                                                                           blizzard and that was denied. However they have not been able to
                                                                           find that he has had any insurance in the last year before he purchased
                                                                           a policy with them. Maureen said that her insured has gone into
         1/13/201S 11:37 File Notes   Spoke to claimant Carrier            hiding and Is not returnlng phone calls.
                                                                           Left message for Maureen Roberts at American Family {800)692-6326
          1/9/2015 11:10 File Notes   Left message for Maureen Roberts     ext 58834 their claim 00-225-098682



                                                                           I called Nathan Talrud who works for SIU for American Family (505)759
                                                                           6013. He said that Karl Kunetsonjust opened up a policy with them
                                                                           on Oct 31st 2014 and tried to insure the Gregersons cows on the
                                                                           policy. This was after the cows were missing. SIU told us that they
                                                                           were not going to cover the loss because the policy was purchased
                                                                           after the date of loss. The Karl told SIU that was OK as he had another
                                                                           insurance company that would pay for everything however Nathan
                                                                           does not :hink that is true. Nathan fourid that Karl Kunetson was
                                                                           insured with Desmit in 2013 however he was no renewed then and
                                                                           could not find any evidence of having any other irisurance sirice.
                                                                           When he applied for Insurance with American Family he told the agent
                                                                           that he was insured with Desmit however that was a year prior to
                                                                           purchasing this policy. Nathan told us that their adjuster Maureen
                                                                           Roberts {800)692-6326 ext 58834 may have additional information for
                                                                           us in regards to the care custody and control that the Kunetsons had
                                                                           of the insureds cows. The American Family claim number is 00-22S-
                                                                           098682. Nathari told me that he did not have any evidence of rustling
          1/9/2015 11:02 FIie Notes   Called Nathan Talrud                 and did not have copy of the books or records of the cows.

                                                                           He said there was an on going investigation and a case report number
                                                                           14-10385. He told me he thinks the case will be open for a while and
                                                                           the report will not be available untll they have concluded their
                                                                           investigation. He said he has also had trouble coritacting Karl
                                                                           Kunetson and he is trying to follow up with his employees. They have
                                                                           not recie\'ed ariy of the books or paperwork for the cows from him.

                                                                           He did sav that Nathan Talrud has been investigating this for American
          1/9/201S 10:52 File Notes   Spoke to Sheriff Williams            Family he encouraged me to contact him.
                                                                           We left message for officer williams to see if we could get the sheriff's
         1/7/201517:25 FIie Notes     Left message for Meade Co. 5herrif   report.
                                                                           We left a message for Karl Kunetson asking ifwe could take a
         l/7/201517:24 File Notes     Left message for Karl Kunetson       statement from him.
                                                                           I have reviewed and discussed this claim with Mike e.
FB0374
                             Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 141 of 158 PageID #: 427




                                                                                There Is a possibility that the loss of these critters may be the subject
                                                                                 of a coverage gap in that the loss !s the results of notke on an
                                                                                 lIwentory and if not that the may be a conversion involved. In either
                                                                                 event I have asked Mike to completed his investigation under the
                                                                                 confines of a non-waiver and to complete an e-report as this clalm w!II
                                                                                 need to be submitted to CCC and PCM for review.



                                                                                To supportt this contention there is no definitive proof that these
                                                                                cattle were stolen as the result of a russeling activity. The allegation
                                                                                taht the custom feeder that the Insured contracted with may
                                                                                somehow be involved supports the possibility of the conversion issue
                                                                                as such we will need to conduct some additional investigation prior to
            1/6/2015 16:53 File Notes   File status                               acceptin6 or declining this daim for loss of llvestock.
                                                                                I we Ien: message TOr aoJUSter IvIoreen r10oerts ,u.,.,,..,.,,_. .,., .. ., ext.
                                                                                58834. Thelrclalm Ts 225098682. A claim has be.en turned into Karl
                                                                                Kunetson's insurance carrier and we have left message for a status to
         12/16/201415:41 File Notes     Spoke to claimant carrier               see if they have accepted liability.
            12/3/2014 9:05 File Notes   ISO Report                              150                                                                                ISO Match Report
            12/3/2014 9:05 File Notes   ISO Report                              150                                                                                150 Match Report
                                                                                The insured has provided us with de.tails of the cow theft which we
          12/1/2014 10:52 File Notes    Details of the theft from the insured   have attached to the file                                                          Events.pdf
                                                                                 ne insure" ee s c,,at .. an .. une1son ,---,-------- wr10 was ,ee, mg
                                                                                the cows and calves and calved them for the Insured is involved with
                                                                                the theft of his cows. Karl Kunetson has told the insured that his
                                                                                insurance Ameican Family and agent Wade In spearfish will cover this
                                                                                loss.



                                                                                The insured is conserned that this may not be the case as Karl
                                                                                Kunetson currently has a criminal case pending 46C13-146AO. Karen
                                                                                Bryan (605)645-1767 and her attorney Rhonda Miller (605)723-0678
         11/24/2014 13:22 File Notes    Subrogation                             have been persuTng a similar cattle loss agairist Karl Kunetson.
                                                                                The irisured contacted the meade co. Sherriff who is conducting an
                                                                                investigation.


         11/24/2014 13:07 File Notes    meade Co. Sherriff                      We will ask for a report from them.
                                                                                , , e to OK recoroea stai:ement rrom insure□. Me i:OOK ~-·, neao or cai:ue
                                                                                to Karl Kunetson's(60S)39l-8030 pasture 20 miles east of Sturgis.
                                                                                They lost one cow in the transportation up there ancl one during
                                                                                calving.


                                                                                They have 15 cows that are missing when they brought down cows on
                                                                                the 9th of October.


                                                                                They also had 122 calves and brought 95 back so they also had 27
                                                                                missirtg calves.


                                                                                The insured feels the value of the cows are $2850 each arid they
                                                                                weighed 1450 lbs. each
                                                                                15@ $2850 Ts $42,750
FB0375




                                                                                The insured lost 27 calves and the just sol cl calves at $1587 each. The           Gregerson, Leonard 2.WMA,, Gregerson, Leonard 1.WMA,, Gregerson,
         11/24/201413:06 Flle Notes     Recorded statement Insured              calves weigh 570Ibs an average. 27 calves@ $1587 is $42,849,                       Leonard 3.WMA
                             Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 142 of 158 PageID #: 428



                                                                              Carl Oberlitner loaned insured :;,350,000 to purchase cows. We have
         11/24/2014 12:54   File Notes   Recorded statement Carl Oberlitner   enclosed Is recorded statement.                                        Oberlitner, Carl.WMA
         11/24/2014 12:51   File Notes   Non Waiver                           Non Wai•ter                                                            non waiver.jpeg
          ll/24/2014 9:09   File Notes   ISO Report                           ISO                                                                    !SO Match Report
          11/24/2014 9:09   File Notes   ISO Report                           ISO                                                                    ISO Match Report

                                                                              Said he would meet me on Monday and show me where the cows
                                                                              were stolen. He said he rents a pasture from Carl Kuntuson in Meade
                                                                              co. That is where the cows were taken from. He says he thinks Carl
                                                                              may ho!ve taken them but he does not have any evidence of this. He
                                                                              asked me to call him sunday night at 8:00pm to set up a time to meet
         ll/21/201415:06 File Notes      spoke to insured                     on monday. His cell is (605)209-2800
         ll/21/201414:33 FIie Notes      Left message for insured             Left message for the insured.
         11/21/2014 14:26 File Notes     Claim Assignment                     Clalm assigned to Mike Elllott... caa
                                                                                                                                                     1::.eno AcKnow1eogement to Perrormer,,
                                                                                                                                                      FIRST_REPORT_SNAPSHOT_c7d22563-b17a-4cff-Bf2a-
         ll/21/201412:26 File Notes      Send Acknowledgement to Performer                                                                            14ebl4f8611e.html
                                                                                                                                                      F!RST_REPORT_SNAPSHOT_c7d22563-bl 7a-4cff-8f2a-
         11/21/2014 12:26 File Notes     First Report Snapshot                                                                                        14eb14f8611e.html
FB0376
(Page 1   of   1)

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                        OfL:e ;n St, g>, Sou ch .iJal:ora.

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                    Case 5:18-cv-05044-JLV Document 26-4 Filed 11/05/19 Page 144 of 158 PageID #: 430
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(Page 1   of   2)

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                     ISO CLAIMSEARCH MATCH REPORT SUMMARY

                     k\. claim report identified by ClaimSearch identification number 8Q003763092 was received by ISO
                     ClaimSearch on 11/23/2014. Submission of this claim report initiated a search for similar claims. The
                     ~laim(s) listed below appear(s) to be similar to the claim submitted. Reasonable procedures have been
                     iadopted to maximize the accuracy of this report. Independent investigations should be performed to
                     ievaluate the relevant data provided.

                     [f you have any questions concerning your report, please contact Customer Support at (800) 888-4476.

                     0CNITIATING CLAIM INFORMATION
                     Claim Number: A090314P01                                                Date of Loss:    10/17/2014
                     !Policy Num her: 0000000007936007                                       ISO File Number: 8Q003763092

                     SUMMARY FOR EACH SEARCHABLE PARTY

                     LEONARD GREGERSON, BOTH CLAIMANT &INSURED
                     !No matches for this party

                     Coverage:       Property                                              Loss Type:          Theft



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                      ISO CLAIMSEARCH MATCH REPORT DETAILS

                     Initiating Claim                                                        File Number: 8Q003763092
                      Company:              F09200001
                      Claim Num her:        A090314P01
                      Date/Time of Loss:    10/17/2014 00:00
                      Policy Num her:       0000000007936007
                      Policy Type:          Personal Property Farm
                      Inception Date:                                                        Expiration Date: 05/16/2015
                      Policy Renewed?:      N
                      Company Received
                      Date:                 11/21/2014
                      ISO Received Date:    11/23/2014
                      Loss Description:     INSURED BEST# 605-255-4609. 15 COWS AND 27 CALVES
                      Location of Loss:     SD

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                                        us
                       volved Party     Both Claimant &Insured
                      Name:             LEONARD GREGERSON
                      Address:          13765 LAME JONNY RD
                                        FAIRBURN, SD *
                      DOB:              09/07/1959
                      Gender:           Male
                      Home Phone:       (605) 255-4609
                      SSN:              XXX-XX-3956 was issued between 1962 and 1963 in SD

                      roperty Coverage Information
                      Loss Type:          Theft
                      Claim Status:       Open
                      Adjuster Company: FARM BUREAU PROPERTY &CASUALTY INSURANCE CO
                      Adjuster:           ELLIOTT, MIKE
                      Fire incendiary in
                      nature?:            N
                      Theft Location:     Residential
                      Property
                                          Other
                      Lost/Stolen:
                                                           Use and
                                        Building Contents           Stock Other/Scheduled
                                                          Occupancy
                       Policy           -        -         -       -          -


                       Estimated Loss   -        -         -       -          -


                       Reserve          -        -         -       -         2,099
                       Paid             -        -         -       -          -




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                     ISO CLAIMSEARCH MATCH REPORT SUMMARY

                     k\. claim report identified by ClaimSearch identification number 2T003755371 was received by ISO
                     ClaimSearch on 11/23/2014. Submission of this claim report initiated a search for similar claims. The
                     ~laim(s) listed below appear(s) to be similar to the claim submitted. Reasonable procedures have been
                     iadopted to maximize the accuracy of this report. Independent investigations should be performed to
                     ievaluate the relevant data provided.

                     [f you have any questions concerning your report, please contact Customer Support at (800) 888-4476.

                     0CNITIATING CLAIM INFORMATION
                     Claim Number: A090314P02                                                 Date of Loss:    10/17/2014
                     !Policy Num her: 0000000007936007                                        ISO File Number: 2T003755371

                     SUMMARY FOR EACH SEARCHABLE PARTY

                     LEONARD GREGERSON, BOTH CLAIMANT &INSURED
                     !No matches for this party

                     Coverage:       Property                                               Loss Type:          Theft



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                      ISO CLAIMSEARCH MATCH REPORT DETAILS

                     Initiating Claim                                                         File Number: 2T003755371
                      Company:                 F09200001
                      Claim Number:            A090314P02
                      Date/Time of Loss:       10/17/2014 00:00
                      Policy Number:           0000000007936007
                      Policy Type:             Personal Property Farm
                      Inception Date:                                                         Expiration Date: 05/16/2015
                      Policy Renewed?:         N
                      Company Received
                      Date:                    11/21/2014
                      ISO Received Date:       11/23/2014
                      Loss Description:        INSURED BEST# 605-255-4609. 15 COWS AND 27 CALVES
                      Location of Loss:        SD

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                                           us
                       volved Party        Both Claimant &Insured
                      Name:                LEONARD GREGERSON
                      Address:             13765 LAME JONNY RD
                                           FAIRBURN, SD *
                      DOB:                 09/07/1959
                      Gender:              Male
                      Home Phone:          (605) 255-4609
                      SSN:                 XXX-XX-3956 was issued between 1962 and 1963 in SD

                      roperty Coverage Information
                      Loss Type:           Theft
                      Claim Status:        Open
                      Adjuster Company:    FARM BUREAU PROPERTY &CASUALTY INSURANCE CO
                      Adjuster:            ELLIOTT, l'v1IKE
                      Fire incendiary in
                      nature?:             N
                      Theft Location:      Residential
                      Property
                                           Other
                      Lost/Stolen:
                                                             Use and
                                        Building Contents             Stock Other/Scheduled
                                                            Occupancy
                       Policy              -         -          -       -          -


                       Estimated Loss      -         -          -       -          -


                       Reserve             -         -          -       -        2,099
                       Paid                -         -          -       -          -




                      o Matches




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 Leonard Andrew Gregerson (1)
 Policy: A090314P00
 Page 1 of 5

 This is Mike Elliott I’m speaking with Leonard Gregerson. We’re discussing an
 incident that occurred on October 17th 2014. Today’s date is ah Monday November
 24th 2014 the time is 9:58 a.m. Leonard, do you realize that I’m recording this
 interview?

 A.   Yeah, yes I do.

 Q.   Do I have your permission to do so?

 A.   Yeah.

 Q.   Okay could you tell us your full name please?

 A.   Ah Leonard Andrew Gregerson.

 Q.   How do you spell your last name?

 A.   G-R-E-G-E-R-S-O-N.

 Q.   What’s your address at home?

 A.   Ah 13—13765 Wayne John Road.

 Q.   Okay and is that in Fairburn?

 A.   Yeah it’s Fairburn.

 Q.   Okay and um what’s your home phone number?

 A.   605-255-4609.

 Q.   Do you have a cell number?

 A.   Yeah 209-2800.

 Q.   Okay what’s your date of birth?

 A.   Oh September 7th 1959.

 Q.   Are you married?

 A.   Yes.

 Q.   What’s your wife’s name?


 JP
 9/24/2018
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 Leonard Andrew Gregerson (1)
 Policy: A090314P00
 Page 2 of 5

 A.   Patricia Jo Gregerson.

 Q.   Okay what’s your occupation?

 A.   Ranching.

 Q.   Okay. How long have you done that?

 A.   All my life.

 Q.   Okay. We are discussing an incident that occurred on October 17th 2014 um
      can, can you tell us about ah the cows and, and um just kind of walk us
      through when, when you purchased them and where you placed them?

 A.   Well we purchased them in ah oh we bought them in January but we never got
      them home till in February and then ah we didn’t have a lot of feed so anyhow
      this guy could winter them cheaper than I could and he said he kept them out,
      he’d take care of them and we moved them up there like the middle of like the
      middle of February sometime and he’s calved them out and stuff like that and
      then we took them to summer pasture right around the 1st of June and we
      branded 122 head of calves and he said there’s five pairs in the neighbors and
      he said he had the rest of them at home that hadn’t calved yet. So anyhow we
      run them through the summer up there and then my son, he took up 50 head of
      pairs too right around the 1st of June and he run his up there and then in ah
      end of September why we ah got them in, gave them their fall shots and
      everything. We realized we were short quite a bunch of cattle then and then
      when we finally brought them home we only had 95 calves and let’s see, what
      did I say for cows? I’ve been through this so many times. Yeah we brought
      home like a 112, 13 head of cows and we had 100 and well let me go back on
      this too. We brought five drys home in March and we took a 134 up there and
      we lost two cows up there; one on the truck when we went up and one—I don’t
      know when we lost it. I never did see the cow but anyhow why we only came
      home with 113 or 12 cows; I think it was 112 but anyhow why and 95 calves
      out of 134 cows which anyhow why that’s kind of the story there so.

 Q.   Okay what kind of cows were they that you purchased?

 A.   They’re all black cows pretty much except for ah there’s a few black baldies in
      there, black bronco faces. Maybe eight head of them.

 Q.   Okay they were Black Angus?

 A.   Yeah.



 JP
 9/24/2018
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 Leonard Andrew Gregerson (1)
 Policy: A090314P00
 Page 3 of 5

 Q.   And then who is the person that you ah moved them up to and who was
      responsible for calving them?

 A.   Carl Knutson.

 Q.   You know the address up there?

 A.   I don’t know his address. We always paid him whenever we went up there for
      the pastures or whatever. I don’t know if he ever give me an address but he
      took them to his dad’s place and that would be Darrell Knutson to start with and
      I think him and his dad owned the summer pasture together. That’s the way I
      gotten told.

 Q.   Okay and um what um do you have a phone number for either of them or?

 A.   Well you’ve got it on there. That would be ah—what is it? 605-391—I can’t see
      it, I don’t have my glasses.

 Q.   Okay it’s 8030. Okay, okay and um so that’s Carl’s phone number, 605-391-
      8030 and um what—did you have any difficulties with Carl while you were um
      running the cows up there?

 A.   No, not really. I mean he was always there whenever we went up there. We
      called him you know so we could look at things together and I guess that’s, that
      would be about it. No, we never really had a cross word or anything.

 Q.   When did you first realize there was some missing cows?

 A.   Well in September when we got em in to give the shots to the calves, their fall
      shots but you know you miss four or five pairs you know, they get in the
      neighbors, whatever but we knew we were missing quite a bunch of cattle then
      so anyhow we came home and ordered trucks and went up the next week and
      picked everything up.

 Q.   And then how many um how many calves did you have up there from these
      cows?

 A.   You know I never ah I just took his word for it and he said he didn’t lose very
      many calves you know out of a bunch like that you know you lose five or six
      calves why you know that would be about it unless you’d have a heck of a
      storm or something.

 Q.   So he told you how many cows he’d—calves that he delivered up there then?

 A.   Yeah.

 JP
 9/24/2018
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 Leonard Andrew Gregerson (1)
 Policy: A090314P00
 Page 4 of 5

 Q.   Okay did he tell you how many there were?

 A.   Well when we went to pasture everything wasn’t calved out and we branded ah
      122 head of calves; me and my son and our crew went up there and he had
      some help and anyhow why he said there was five in the neighbors and the
      rest of them was at home at his dad’s or his place or I can’t really say where
      they was because I didn’t see them but he told me they were there.

 Q.   Okay and then how many, how many cows do—are you missing and how
      many calves do you think are missing?

 A.   We’re missin 15 cows and 27 head of calves.

 Q.   Okay and um do you have an idea on the value of the cows?

 A.   Well I just figured we’re gonna sell them here in December and I figured they’d
      bring home 2850 clear and that’s ah with everything out if their bred; if they’re
      not bred well they’re probably worth about 17 to 1800 bucks but we’ll know
      when we bred check which we’re doin tomorrow. Anyhow we’ll know how many
      dry cows we got and stuff and you always got like a five percent dry cows and
      the calves why they, we sold our calves they average about 570 pounds and—
      but our money take home money a piece on them was 1500 and 87 dollars.

 Q.   Okay do you remember what you paid for the cows originally when you bought
      em?

 A.   Yeah it was between 1900 and 2000 bucks.

 Q.   Where did you buy them from?

 A.   They came out of Montana. I’m trying to think of that ah—Great Falls, Montana.

 Q.   Okay, okay. Have, have um has anybody told you that they’ve had any
      difficulties with the Knutson’s’ before you know suggesting that there was
      missing cows that they had?

 A.   Yeah well they never told me but my wife checked into it and evidently whether
      he’s up with with a few charges or whatever and I can’t tell you the rest of it. My
      wife’s got all the paperwork on it and so. She’ll fax that to you or whatever.

 Q.   Okay. Um what do you feel is the reason that these cows went missing, why—
      why do you think that they’re gone?




 JP
 9/24/2018
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 Leonard Andrew Gregerson (1)
 Policy: A090314P00
 Page 5 of 5

 A.   Well we can’t find them no place up there and they’re just like they left the
      country overnight and that’s about all I can say. We looked all over, we’ve been
      up there four or five times and looked all over and my son had a bunch of his
      buddies too and anyhow—

 (End of tape 1)




 JP
 9/24/2018
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 Leonard Andrew Gregerson (2)
 Policy: A090314P00
 Page 1 of 4

 This is Mike Elliott I’m um still speaking with Leonard Gregerson ah we’re discussing
 an incident that occurred on ah, ah October 17th 2014 um the date today is Monday,
 November 24th the time is 10:09 a.m. and um Leonard, do you realize that we’re
 recording this again?

 A.   Yes, yes I do.

 Q.   Can we have your permission to do so?

 A.   Yes.

 Q.   Okay ah we were discussing a little about um, um Carl Knutson and Dale
      Knutson um who um is the owner of the land where your cows were being
      pastured and if you may have heard of anyone else that had some difficulties
      ah with them?

 A.   Yeah that’s what we were doin I guess, yeah. I did hear some other stuff but ah
      my wife’s got all that on paper and she will send it, she’ll send it to, the adjuster
      here and anyhow why that’s about all I can do for right now. You got anymore
      questions?

 A.   I do. Um have um have you had any conversation with Carl since this
      happened? Have you discussed um you know your missing cows and—

 A.   Yes about every day there for a while and he keeps saying he’s got insurance,
      had American Family and I talked to him on the way up here this morning. He
      swears he’s got insurance so anyhow why that’s where we’re at but he did offer
      to get the plat of the land and everything too. So I guess that’s about all I can
      say. I’ve probably talked to him 75 times since then.

 Q.   Does, does he keep any kind of records for the cows? Does he know how
      many cows that you brought to him and how many calves that you had?

 A.   Yeah he kept calving records and we did take ah 134 cattle up there to start
      with and we brought home five drys and then the rest of them are up or
      supposedly up there.

 Q.   Okay and have you discussed with him how many ah cows and calves that you
      feel are missing?

 A.   Yes I have.

 Q.   And did he agree to that number or?

 A.   Yes, yes he did.

 J
 9/24/2018
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 Leonard Andrew Gregerson (2)
 Policy: A090314P00
 Page 2 of 4

 Q.   And did he say that he was going to have his insurance pay you for those or?

 A.   Yes he did.

 Q.   Okay and his insurance—who’s his agent there?

 A.   Wade somebody from ah American Family in Spearfish, South Dakota.

 Q.   Okay.

 A.   And I don’t have his last name my wife’s got all that at home.

 Q.   Okay. And then did you report this to the police or to the sheriff?

 A.   Yes my wife, my son went up to Sturgis, Meade County Sheriff and they ah
      they made ah what do you call it? Anyhow where they filed for the cattle theft
      because they’re missin and they had to make out a sheriff’s report I guess is
      what he’d called it and they know about everything that we’ve talked about right
      here today so.

 Q.   Do you think there’s a way that these cows could have just died maybe and ah
      um or do you think they were stolen?

 A.   I think they had to be stolen, excuse me I think they had to be stolen cause
      they’re no place around there. That many dead cattle why you would smell em
      or find em or you know what I mean and I don’t think there’s a dam big enough
      well not, not sure that they could get in but cattle do float when they’re dead so.
      Somebody should have noticed it if his neighbors or somebody. I think they’re
      stolen so.

 Q.   Okay who do you think stole them?

 A.   I don’t know if it’s the guy that run em. I kind of got it in my head that he had
      something to do with it because you know nobody goes in your pasture and
      takes that many cattle without you noticing it and that’s about all I can say
      there.

 Q.   Okay and then guy that run em what was his name again please?

 A.   Carl Knutson.

 Q.   Are there any neighbors nearby that you found some cows in or you thought
      could have been involved in this?



 J
 9/24/2018
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 Leonard Andrew Gregerson (2)
 Policy: A090314P00
 Page 3 of 4

 A.   No, the neighbors I’m pretty sure wasn’t involved. We ah, you know cattle did
      get out, I mean we’d get in a bull or bull or whatever when we went up there
      but ah and supposedly, they are supposed to be in his neighbor on the west
      last name’s Castile, I don’t know the guy’s first name cause it’s kind of out of
      my country but anyhow why after he got everything all rounded up why we did
      find my son’s cows. He runs 50 head up there, we got back 50 head of calves
      and 50 head of cows and—no but there’s just gone out of that country because
      my son and his buddies and I’ve been up there a couple of times too and I
      mean we rode a lot of that country probably 25, 30,000 acres up there and
      never saw nothin.

 Q.   Okay did you son lose any of his cows or calves?

 A.   Nope, he got every one of them back.

 Q.   Okay.

 A.   50 cows, 50 calves.

 Q.   Okay, okay and um do you know of anybody else that lost some cows that
      were um keeping up there at the Knutson’s pasture?

 A.   I’ve heard stories but I couldn’t, I couldn’t say for sure.

 Q.   Okay. Is ah is there anything else about this that you think would be important
      for us to understand?

 A.   Not really but I will help all that I can to try to get this deal figured out but I think
      they’re gone and there isn’t much else I can do about it really.

 Q.   Okay, could you give us some ballpark dollar figure that you feel that you’ve
      lost because of this?

 A.   Well let’s see probably lost about $85,000 worth of cattle.

 Q.   Okay, okay and that’s the 15 cows and 27 calves, right?

 A.   Yes sir.

 Q.   Um have you understood all my questions?

 A.   Yes I have.

 Q.   Have all your answers been true and correct to the best of your knowledge?


 J
 9/24/2018
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 Leonard Andrew Gregerson (2)
 Policy: A090314P00
 Page 4 of 4

 A.   Best of my knowledge, yes, yeah.

 Q.   Okay thank you very much ah for your time, with your permission I’ll turn off the
      recording.

 A.   Yeah that’s fine. Thank you.

 Q.   Okay.




 J
 9/24/2018
                                                                                   FB0391
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 Leonard Andrew Gregerson (3)
 Policy: A090314P00
 Page 1 of 1

 This is Mike Elliott again, I’m speaking again with Leonard Gregerson um I have one
 more additional question ah for Leonard. Ah the date is still ah Monday November
 24th the time is 10:18 a.m. um Leonard, are you the owner of these cows that were
 stolen?

 A.   Yes I am.

 Q.   Do you have a partner with these cows?

 A.   Not really I borrowed the money from another guy, Carl Oberlitner.

 Q.   Okay and um—

 A.   I guess you could kind of say he’s kind of in it too but I mean I borrowed the
      money from him to buy the cattle and then he’s supposed to get paid off this
      fall or after the first of the year when we sell the rest of the cattle.

 Q.   Okay how much money did you borrow from him?

 A.   I suppose with everything probably about 340 grand.

 Q.   Okay wow.

 A.   And then um—

 Q.   How do you know Carl?

 A.   Oh just kind of an old time friend. He lives near Hermosa and we got to be
      friends.

 Q.   Okay, okay do you know his phone number?

 A.   Its 890—what is that 1320—

 Q.   7.

 A.   1357.

 Q.   Okay have—

 (End of tape 3)




 JP
 9/24/2018
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